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                  Work with Ms. S. Freeman in follow up to meetings with
                  Debtors and all Committees

08-08-2006        M. Schoenike                                                        1.2                   216.00
                  Work on Agenda for Committee Meeting , circulate to
                  Committee Members (.3); edit notes of meeting, prepare, edit
                  and finalize minutes (.9)

08-09-2006        S. Freeman                                                          2.8              1,428.00
                  Review materials for committee meeting (.3); participate in
                  telephonic committee meeting (2.5)

08-09-2006        R. Charles                                                          2.6              1,001.00
                  Forward materials to the Committee from Mesirow after
                  redacting (.1); work with Mr. D. Walker on meeting
                  preparation (.1); work with Ms. S. Meskell on materials for
                  meeting (.1) ; prepare for and participate in Committees'
                  meeting (2.2); telephone call from Mr. J. Bauer of the
                  Committee (.1)

08-10-2006        R. Charles                                                          0.2                    77.00
                  Read and respond to memo from Mr. R. Santwer on FA
                  information and update on committee information and website

08-11-2006        R. Charles                                                          0.3                   115.50
                  Work with Mr. Don Walker on loan summary and appraisal
                  (.1); return call to Mr. E. Johnston (direct lender) (.1); draft
                  memo to Mr. Walker on interim fees; work with Mr. Walker on
                  the draft order on the distribution motion (.1)

08-12-2006        R. Charles                                                          0.1                    38.50
                  Draft memo to committee members on interim fee applications

08-13-2006        R. Charles                                                          0.2                    77.00
                  Read and respond to diverted principal lender inquiry (.2); read
                  memo from Ms. P. Rieger on fees (.1)

08-14-2006        S. Freeman                                                          0.4                   204.00
                  Review materials circulated for meeting (.2); discuss meeting
                  and strategy with R. Charles (.2)

08-14-2006        R. Charles                                                          0.1                    38.50
                  Work with Mr. Don Walker on scheduling

08-16-2006        R. Charles                                                          0.1                    38.50
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                  Read memo from Mr. R. Hagmaier and forward issues on the
                  court call in system to counsel for Debtors (.1); work with Mr.
                  Hagmaier on committee meeting

08-17-2006        R. Charles                                                          0.6                   231.00
                  Discussions with Mr. M. Levinson and Ms. L. Ernce after plan
                  meetings (.2); work with Ms. M. Schoenike on committee
                  meeting schedule; work with Ms. P. Rieger on claims against
                  USAIP and insiders (.1); return call to Ms. A. Nounna (.2);
                  work on meeting notes to Mr. Walker and Ms. Freeman (.2)

08-18-2006        S. Freeman                                                          0.2                   102.00
                  Review draft minutes and agenda and revise

08-18-2006        R. Charles                                                          1.5                   577.50
                  Draft agenda for Committee's August 21 meeting (.7); read
                  memo from Mr. M. Yoder on his participation (.1); work with
                  Ms. M. Schoenike on committee meeting arrangements (.1);
                  read memo from Mr. R. Santwer and work on committee page
                  (.1); work on minutes from the Committee's prior meeting (.4);
                  follow up on changes from Ms. S. Freeman (.1); draft memo to
                  committee with minutes, agenda and attachments (.1)

08-19-2006        R. Charles                                                          0.2                    77.00
                  Draft memo to committee with meeting materials after
                  reviewing and assembling attachments on interim fees, balance
                  sheet and minutes (.2)

08-21-2006        S. Freeman                                                          3.3              1,683.00
                  Committee meeting by conference call

08-21-2006        R. Charles                                                          3.3              1,270.50
                  Prepare for and participate in committee call (2.3) and continue
                  meeting after a short break (1.1) ; work with Ms. M. Schoenike
                  on minutes and with Mr. R. Hagmaier on his participation (.1);
                  call from Ms. S. Nounna on insurance (.1)

08-21-2006        M. Schoenike                                                        0.3                    54.00
                  Respond to Mr. P. Merrifield re address for filing of proofs of
                  claim (.2); review e-mail from Ms. K. Cooper, forward to Mr.
                  R. Charles re response (.1)

08-23-2006        R. Charles                                                          1.5                   577.50
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                  Draft memo to committee on August 23 all committees
                  meeting (.3); call with Mr. Burr and Mr. Walker on strategy
                  following up meetings (1.1); call to Mr. Walker to follow up on
                  USAIP issues (.1); work on memo to committee on today's
                  meetings (.1)

08-24-2006        R. Charles                                                             0.4                   154.00
                  Work with Ms. M. Schoenike on an investor's inquiry about
                  claims and interest (.1); finalize memo to committee on recent
                  meeting (8/2) (.1); read memo from Ms. A. Nounna re
                  committee issues (.1); update Ms. Freeman on developments
                  (.1) (NC); return call to Mr. Mobin, a lender, on his claim (.1)

08-24-2006        M. Schoenike                                                           0.2                    36.00
                  Letter to Mobin enclosing proof of claim form and instructions
                  re filing

08-25-2006        R. Charles                                                             0.1                    38.50
                  Work with Mr. Don Walker on review of offer and plan issues
                  (.1); arrange meeting

08-26-2006        R. Charles                                                             0.8                   308.00
                  Work with Mr. Don Walker, Ms. S. Freeman, and Mr. T. Burr
                  on plan and sale issues (.8)

08-28-2006        S. Freeman                                                             1.1                   561.00
                  Participate in debtor-committees call re sale plan and hearing
                  issues

08-28-2006        R. Charles                                                             0.3                   115.50
                  Call to Mr. D. Walker; work with Ms. P. Rieger on prepaid
                  interest as an asset (.1); telephone call from Mr. J. Bauer re
                  committee issue (.2)

08-29-2006        R. Charles                                                             0.6                   231.00
                  Returned call to Marietta Bowman regarding her investments
                  in the Funds (.2); draft memo to committee on meeting
                  requested (.1) ; work with Mr. D. Walker on sale alternatives,
                  plan and related issues (.3)

08-30-2006        R. Charles                                                             2.1                   808.50
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                  Telephone call from Mr. B. Russell on alternatives to be
                  discussed at Committee meeting (.2); prepare for and
                  participate in UCC meeting, and during that call work on
                  language for continuing distribution order (1.6); telephone call
                  from Mr. J. Bauer re committee issue (.1); telephone call from
                  Ms. P. Rieger re committee issue (.1); work with Mr. J.
                  Bonfiglio on a summary of the meeting (.1); draft memo to
                  subcommittee on the amended buyer 2 offer (.1)

08-31-2006        R. Charles                                                           0.3                   115.50
                  Draft letter to Mr. and Mrs. Rieger on confidentiality (.1); read
                  and respond to letter from Ms. Teeter on diverted principal and
                  offset issues (.2); arrange subcommittee meeting (.2) (NO
                  CHARGE); work with Ms. S. Nounna on meeting (.1) (NO
                  CHARGE)

09-01-2006        S. Freeman                                                           1.3                   663.00
                  Committee meeting participation (.9) and preparation (.4)

09-01-2006        R. Charles                                                           2.7              1,039.50
                  Prepare for and meet with Mr. D. Walker, Mr. L. Rieger, Ms.
                  S. Nounna as subcommittee on response to buyer 2 with Mr. T.
                  Burr, and Ms. S. Freeman to work out a response to buyer 2
                  offer (1.2); telephone call from Mr. C. Hainsworth on
                  developments (.2); read and respond to read memo from Mr. G.
                  Yoder, an unsecured lender (.1); work with Mr. S. Brown on
                  inquiries from unsecured creditors (.1); telephone call from Ms.
                  S. Nounna (.1); meeting with Committee members, Ms. S.
                  Freeman and Mr. T. Burr on response to buyer 2 (.9); return
                  call to Mr. J. Bauer on committee question (.1)

09-01-2006        M. Schoenike                                                         0.5                    90.00
                  Review schedules and respond to Mr. R. Charles re schedules
                  amount of unsecured creditor (.2); meet with Mr. S. Brown re
                  website inquiry and response (.3)

09-01-2006        S. Meskell                                                           0.5                    72.50
                  Attend meeting re Silver Point offer (.9) (NO CHARGE);
                  prepare draft of minutes (.5)

09-02-2006        R. Charles                                                           0.4                   154.00
                  Read memo from Ms. S. Nounna re committee question (.1):
                  read memo from Mr. and Mrs. Rieger re same (.1); work with
                  Mr. S. Brown on creditor inquiries (.2)
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09-04-2006        S. Freeman                                                            1.1                   561.00
                  Revise draft minutes of last two meetings (.9); revise draft
                  agenda (.1); review minutes of 9/1 meeting and send e-mail to
                  Mr. R. Charles re same (.1)

09-04-2006        R. Charles                                                            1.1                   423.50
                  Work on minutes of last two committee calls for dissemination
                  (.2); work on agenda for the Committee's Sept. 5 meeting,
                  including report and recommendation on sale, plan, ordinary
                  course professionals, continuing distributions, and other
                  pending issues (1.0)

09-05-2006        S. Freeman                                                            0.5                   255.00
                  Participate in committee meeting follow-up e-mail to
                  committee re votes needed and description of issues (.2); e-
                  mail from Mr. R. Charles re one vote (.1); revise and send e-
                  mail re voting (.1); e-mail from member re his vote (.1)

09-05-2006        R. Charles                                                            3.0              1,155.00
                  Prepare for and participate in meeting with Committee (2.4);
                  telephone to Mr. B. Russell (.1); work with Mr. S. Brown on
                  responding to creditor inquiries (.1); assist with response to Mr.
                  J. Lanzas (lender) (.1); telephone call from Mr. J. Sabia, a
                  Freeway 101 lender (.2); draft memo to committee on servicing
                  rights issues (.1); work on memo to Committee on all
                  committees and debtors' call and sale issues (.3)

09-05-2006        S. Meskell                                                            3.0                   435.00
                  Attend Committee meeting (2.4) (NO CHARGE); follow up on
                  votes and prepare draft of Meeting Minutes (3.0)

09-06-2006        R. Charles                                                            0.2                    77.00
                  Draft letter to Mr. D. Walker on committee members expenses
                  (.1) ; draft memo to committee on USACM motion concerning
                  defined benefit pension plan (.1)

09-06-2006        S. Meskell                                                            0.9                   130.50
                  Continue to edit and supplement September 5 Committee
                  Meeting minutes

09-07-2006        S. Freeman                                                            2.1              1,071.00
                  Respond to Mr. R. Charles e-mail re committee meeting (.1);
                  committee meeting to discuss sale issues (2.0)

09-07-2006        R. Charles                                                            2.2                   847.00
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                  Prepare for and participate in committee meeting (2.0); call to
                  Ms. S. Nounna on liens against insiders (.1); work on response
                  to investor inquiry on holdback issues (.1)

09-07-2006        S. Meskell                                                         2.2                     0.00
                  Attend and take minutes of USA Commercial Mortgage
                  Unsecured Creditors Committee meeting (NO CHARGE)

09-08-2006        R. Charles                                                         0.5                   192.50
                  Draft memo to committee on scheduling and sale negotiations
                  (.3); conference with Mr. D. Walker (.1); read memos from
                  Committee members (.2)

09-08-2006        S. Meskell                                                         0.8                   116.00
                  Prepare draft of September 7, 2006 Committee Meeting
                  Minutes

09-10-2006        R. Charles                                                         0.1                    38.50
                  Read memo from Mr. D. Walker on plan; read and respond to
                  inquiry from Ms. S. Nounna on servicing

09-11-2006        R. Charles                                                         0.2                    77.00
                  Work with Ms. S. Nounna on status of buyer 2 sale and
                  committee meeting schedule (.1); read memo from committee
                  member (.1)

09-11-2006        S. Meskell                                                         0.3                    43.50
                  Edits to Minutes of September 7, 2007 Meeting

09-12-2006        R. Charles                                                         0.3                   115.50
                  Work with Ms. S. Nounna on buyer 2 revised offer (.1); return
                  call to Mr. J. Bauer; work with Mr. Walkeron claims issue (.1)

09-13-2006        R. Charles                                                         0.1                    38.50
                  Telephone call from Mr. C. Hainsworth re committee question

09-13-2006        S. Brown                                                           0.3                    96.00
                  Review and respond to various correspondence from unsecured
                  creditors

09-15-2006        R. Charles                                                         0.3                   115.50
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                  Read memo from Mr. D. Walker and draft memo to committee
                  on outline of agenda for Monday call and on plan issues (.2);
                  work with Mr. D. Walker on developments with USAIP and
                  plan (.1)

09-16-2006        R. Charles                                                          1.0                   385.00
                  Draft memo to Committee on U.S. Trustee and other fee
                  application objections (.1); work on September 7 minutes for
                  Committee approval (.1); work on agenda and memorandum
                  for Committee meeting (.5); telephone call from Mr. G. Taylor
                  (an unsecured creditor due to diverted principal) (.3)

09-18-2006        S. Freeman                                                          2.6              1,326.00
                  Participate in committee meeting

09-18-2006        R. Charles                                                          3.3              1,270.50
                  Prepare for committee meeting and memo to counsel for direct
                  lenders (.5); participate in committee's meeting on strategy and
                  options (2.6); telephone call from Mr. D. Devereaux on loans
                  (.2)

09-18-2006        S. Brown                                                            0.4                   128.00
                  Review and respond to various unsecured creditor inquiries
                  (.2); telephone call re same (.2)

09-18-2006        S. Meskell                                                          2.3                   333.50
                  Attend Committee meeting for the purpose of taking Minutes
                  (2.6) (NO CHARGE); draft minutes (2.3)

09-19-2006        S. Freeman                                                          0.2                   102.00
                  Review and revise draft minutes of meeting

09-19-2006        R. Charles                                                          0.5                   192.50
                  Read memo from Mr. Burr to Committee on recommendation
                  on employee retention program (.1); work on minutes of
                  committee meeting (.3); read memos from the Committee on
                  employee retention alternatives (.1)

09-19-2006        S. Meskell                                                          0.6                    87.00
                  Review, edit and supplement Minutes to Committee Meeting of
                  September 18, 2006

09-20-2006        S. Freeman                                                          3.1              1,581.00
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                  Review outline of discussion issues for call with Diversified
                  and discuss with Mr. R. Charles (.2); participate in call with
                  Mr. R. Charles, Mr. T. Burr and Diversified professionals re
                  plan and litigation issues (2.9)

09-20-2006        R. Charles                                                             0.1                    38.50
                  Draft memo to Mr. Don Walker on morning call and
                  discussions

09-21-2006        S. Freeman                                                             0.1                    51.00
                  Review and revise draft minutes

09-21-2006        S. Freeman                                                             1.6                   816.00
                  Participate in committee meeting re plan term sheet

09-21-2006        R. Charles                                                             2.5                   962.50
                  Prepare for and participate in committee's meeting with
                  professionals on plan issues and negotiations and on
                  Diversified issues(1.6); telephone call from Mr. D. Walker re
                  same (.1); work on memo to the committee on points for
                  negotiation (.8)

09-21-2006        S. Meskell                                                             0.3                    43.50
                  Attend Committee Meeting and take down minutes (1.6) (NO
                  CHARGE); begin work on minutes (.3)

09-22-2006        S. Freeman                                                             0.1                    51.00
                  E-mail to members re information on voting issue

09-22-2006        R. Charles                                                             1.0                   385.00
                  Read memo from Ms. S. Freeman and finalize memo to
                  committee, forward and telephone to Mr. D. Walker (.2); read
                  memo from Mr. M. Yoder on responses to memo (.1); read
                  memo from Mr. T. Burr on same; read memo from Mr. R.
                  Hagmaier on same (.1); read memo from Ms. S. Freeman on
                  FTDF input into the calculation of the formula for plan sharing
                  (.1); read memo from Ms. P. Rieger on poll (.1); read memo
                  from Ms. S. Freeman on allocation of fees of debtors'
                  professionals for committee input (.1); read memo from Mr. C.
                  Hainsworth on poll (.1); read memo from Mr. D. Walker on
                  poll (.1); prepare summary of committee members' input (.2)
                  and circulate; telephone to Mr. J. Bauer on poll (.2); telephone
                  to Mr. R. Russell on need for input and USAIP issues (.1)

09-22-2006        S. Meskell                                                             1.7                   246.50
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                  Draft Minutes of September 21, 2006 Committee Meeting

09-23-2006        R. Charles                                                          0.2                    77.00
                  Work on minutes of committee's last meeting

09-25-2006        S. Freeman                                                          0.2                   102.00
                  Read draft minutes of meeting and e-mail comments to Mr. R.
                  Charles

09-25-2006        R. Charles                                                          0.5                   192.50
                  Read memo from Ms. P. Rieger re committee question (.1);
                  read memo from unsecured creditor on diverted principal (.1);
                  telephone call from an unsecured creditor that is also a
                  Diversified investor (.3)

09-26-2006        R. Charles                                                          3.1              1,193.50
                  Read memo from Ms. P. Reiger re committee issue (.1); draft
                  memo to committee on agenda (.1); read memo from Mr. R.
                  Ianni; telephone call from Mr. Bob Russell re creditor concerns
                  (.1); prepare for and participate in committee's meeting (2.3) ;
                  work with Ms. S. Freeman on discussions in all committees
                  and debtors meeting, including on fee applications, ordinary
                  course of business professionals and related issues, and on
                  issues raised in committee meeting (.5)

09-26-2006        S. Meskell                                                          1.2                   174.00
                  Prepare for and attend Committee Meeting (1.2) (NO
                  CHARGE); take down meeting notes on which to prepare
                  minutes (1.2)

09-27-2006        S. Meskell                                                          1.3                   188.50
                  Draft minutes of Committee Meeting

09-28-2006        S. Freeman                                                          1.0                     0.00
                  Write summary of hearing (NO CHARGE)

09-28-2006        R. Charles                                                          0.2                    77.00
                  Return call to Mr. F. Soro on claims (.1); work with Ms. P.
                  Rieger on Royal Hotel issue (.1)

09-28-2006        S. Brown                                                            0.2                    64.00
                  Review and respond to correspondence re various investor
                  inquiries
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09-29-2006        S. Freeman                                                            0.8            408.00
                  Prepare report of yesterday's hearing and negotiated for
                  resolution and send to committee

09-29-2006        R. Charles                                                            0.2                77.00
                  Work with Ms. S. Freeman on hearing and settlement aftermath
                  (.2)

10-01-2006        R. Charles                                                            0.6            231.00
                  Read memo from Ms. A. Jarvis and draft memo to committee
                  on plan (.1); read memo from Mr. T. Burr and draft memo to
                  committee on retention program (.1); draft memo to committee
                  on USA Commercial Real Estate Group after reading memo
                  from Ms. P. Rieger (.1); work on agenda for committee
                  meeting as to USA Real Estate motion and the interpleader
                  action and bid procedures etc. hearing (.2); work on minutes of
                  committee meeting (.1)

10-02-2006        S. Freeman                                                            0.3            153.00
                  Review agenda and draft minutes and revise draft minutes

10-02-2006        R. Charles                                                            1.0            385.00
                  Telephone call from Ms. C. Marconi (a direct lender) on her
                  need to file a proof of claim (.1); read memo from Ms. P.
                  Rieger (.1); work on memo on orders by the court for the
                  website (.1); read and respond to memo from Ms. Rieger on
                  employee retention program (.1); read and respond to memo
                  from Mr. F. Soro on his loans (.1); work on agenda for
                  committee's meeting and updates on selected issues (.4);
                  finalize and circulate committee minutes (.1)

10-03-2006        S. Freeman                                                            2.4           1,224.00
                  Read Mr. D. Walker e-mail re meeting issues (.1); participate
                  in Committee meeting by conference call (2.2); read creditor
                  inquiry and request Mr. S. Brown to respond (.1)

10-03-2006        R. Charles                                                            2.5            962.50
                  Forward inquiry from H. Alderson to Mr. S. Brown re creditor
                  inquiry (.1); read memo from Ms. P. Rieger on collections (.1);
                  read memo from Mr. Bob Hagmaier on meeting; read memo
                  from Mr. Don Walker on plan issues (.1); prepare for and
                  participate in committee's meeting, during meeting forward
                  payoff information to committee members and recent
                  newspaper articles (2.2)
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10-03-2006        S. Meskell                                                          2.4                0.00
                  Attend Committee meeting to record minutes (no charge)

10-04-2006        R. Charles                                                          1.0            385.00
                  Return call to Mr. R. Bupp for a lender/unsecured creditor;
                  telephone call from Mr. C. Hainsworth (.2); work with Ms. P.
                  Rieger on USAIP (.1); respond to Ms. Rieger's inquiry on liens
                  on Royal Hotel (.1); telephone call from Ms. S. Nounna;
                  research and draft memo to Ms. Rieger on USAIP and rights of
                  a creditor (Westlaw) (.5); telephone call from Mr. J. Bauer and
                  forward schedule of diverted principal creditors to him (.1)

10-05-2006        R. Charles                                                          0.7            269.50
                  Return call to Ms. S. Nounna (.4); read memo from Mr. S.
                  Brown and read memo from Ms. S. Freeman on website
                  information required for the creditors (.1); work on memo to
                  committee on the Palm Harbor, Marlton and related
                  transactions (.2); telephone to Mr. Don Walker on plan issues

10-05-2006        S. Meskell                                                          2.0            290.00
                  Prepare draft minutes of 10/02/06 Committee Meeting; draft,
                  finalize and file Notice of Entry of Modified Order Authorizing
                  Interim Distributions and Holdbacks

10-06-2006        S. Freeman                                                          0.4            204.00
                  Read and revise draft update for website (.3); send and receive
                  e-mails re Fasel contact information, and add to update (.1)

10-06-2006        R. Charles                                                          2.4            924.00
                  Read memo from Mr. D. Walker on Silver Point issues (.1);
                  work on memo to committee on these issues (.6); prepare for
                  and participate in committee meeting (1.2); read memo on next
                  meeting; draft letter to Mr. N. Pereos on Standard Property (.1);
                  work on agenda as to sales procedures and forbearance motion
                  (.4)

10-06-2006        S. Meskell                                                          1.4                0.00
                  Attend Committee Meeting and take notes (no charge)

10-09-2006        R. Charles                                                          0.3            115.50
                  Telephone call from Mr. M. Hanson on proof of claim (.1);
                  work on minutes of committee meeting (.2)

10-09-2006        S. Meskell                                                          1.2            174.00
                  Draft Minutes to Committee Meeting of October 6, 2006
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10-10-2006        S. Freeman                                                             0.1                51.00
                  Telephone from committee member re call today

10-10-2006        S. Freeman                                                             0.9            459.00
                  Participate in committee meeting

10-10-2006        R. Charles                                                             1.2            462.00
                  Work with Mr. D. Walker on sale issues (.1); work on agenda
                  for committee meeting (.2); prepare for and participate in
                  committee meeting (.9)

10-10-2006        M. Schoenike                                                           0.2                36.00
                  Review Committee Meeting Agenda (.1); telephone from Ms.
                  S. Meskell re Committee Meeting (.1)

10-10-2006        S. Meskell                                                             0.5                72.50
                  Receipt and review of meeting agenda, attend creditor's
                  meeting to take minutes (.9 NO CHARGE); follow-up email re
                  next meeting and topics

10-11-2006        R. Charles                                                             0.5            192.50
                  Work on memo from a creditor on diverted principal and
                  proposed response (.2); return call to Ms. S. Nounna (.1); read
                  and respond to memo from Ms. P. Rieger (.2)

10-11-2006        S. Meskell                                                             0.2                29.00
                  Begin drafting Committee Meeting minutes

10-12-2006        R. Charles                                                             0.3            115.50
                  Read memo from Mr. D. Walker on Milanowski and related
                  issues (.1); read memo from Ms. P. Rieger (.1); return call to
                  Mr. R. Russell on USAIP issues (.1)

10-12-2006        S. Meskell                                                             0.6                87.00
                  Complete draft of Committee Meeting minutes

10-13-2006        R. Charles                                                             0.5            192.50
                  Return call to Mr. R. Russell re committee issue (.2); read
                  memo from Ms. P. Rieger re inquiry (.1); return call to Mr. J.
                  Bauer re committee concern (.1); work with Mr. D. Walker on
                  inquiry from Ms. Rieger (.1)

10-13-2006        M. Schoenike                                                           0.4                72.00
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                  Telephone from Ms. M. Phillips re bankruptcy notices,
                  procedures for filing a proof of claim

10-15-2006        R. Charles                                                            0.3            115.50
                  Read and respond to inquiry from Dennis and Michele Raggi
                  (.2); read and respond to memo from Ms. P. Rieger on USAIP
                  (.2)

10-16-2006        R. Charles                                                            4.6           1,771.00
                  Work on memo to committee re issues (.7), incorporate
                  liquidation analysis from Mr. T. Burr (.2) and input from Mr.
                  D. Walker (.1); participate in committee's meeting (3.0), and
                  during the meeting, work on asset sale, meeting with Debtors
                  and Committees, and related issues; conference with Ms. A.
                  Nounna and Ms. S. Nounna (.1) and locate and forward to
                  committee Schedule F as amended and information concerning
                  need to file a proof of claim (.1); read and respond to memo
                  from Mr. M. Yoder on need to file claim (.1); read memo from
                  Mr. D. Walker on plan conversations (.1); read memo from Ms.
                  P. Rieger on unsecured claim and treatment (.1); read and
                  respond to memo from Mr. G. Yonai on proof of claim (.1)

10-16-2006        M. Schoenike                                                          3.0                0.00
                  Listen to Meeting of creditors for preparation of minutes (no
                  charge)

10-17-2006        R. Charles                                                            1.0            385.00
                  Telephone call from Mr. M. Yoder on information technology
                  and file management issues (.1); work on memo to the
                  committee on plan alternatives (.3); work with Mr. D. Walker
                  on USAIP issues (.1); read memo from Mr. M. Yoder on
                  negotiations (.1); telephone call from Mr. C. Hainsworth on
                  plan negotiations (.1); read and respond to inquiry from Mr.
                  Paolo Arroyo on proof of claim (.1); work on minutes of
                  October 16 committee meeting (.3) ; work with Mr. Walker on
                  plan and sale issues (.1)

10-17-2006        M. Schoenike                                                          3.0            540.00
                  Work on Committee meeting minutes, e-mail to Mr. Rob
                  Charles for review

10-18-2006        R. Charles                                                            1.0            385.00
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                  Read memo from Mr. J. Bonfiglio, Mr. C. Hainsworth on straw
                  poll on plan (.1); prepare summary of voting (.1); call to Mr. R.
                  Russell on the plan and USAIP (.1); telephone to Mr. R.
                  Hagmaier on plan (.1) return call to Mr. K. Ness (lender) on
                  proof of claim (.2); read memo from Mr. D. Walker on USAIP
                  (.1) ; return call to Ms. A. Nounna on claims (.2) ; read memo
                  from Mr. R. Hagmaier re committee decision (.1)

10-18-2006        M. Schoenike                                                          0.1                18.00
                  Review Mr. Rob Charles response to creditor

10-19-2006        R. Charles                                                            1.4            539.00
                  Work with Mr. D. Walker on hearing, USAIP, sale hearing,
                  plan negotiations and related issues (1.0); draft memo to file on
                  the morning's hearings (.3); return call to Mr. R. Debocik on
                  proof of claim inquiries (.1)

10-20-2006        R. Charles                                                            1.1            423.50
                  Read memo from and return call to Ms. A. Nounna on proofs
                  of claim and discuss with Ms. S. Nounna (.5); work on memo
                  of October 19 hearings (.2); work with Mr. D. Walker on
                  hearing and Judge Riegle's determinations (.1); work with Ms.
                  P. Rieger on motion filed under seal (.1) ; finalize memo to the
                  Committee on hearings (.2)

10-22-2006        R. Charles                                                            0.1                38.50
                  Telephone to Mr. D. Walker on meeting with potential buyer

10-23-2006        R. Charles                                                            0.8            308.00
                  Draft memo to Committee on Palm Harbor and forbearance;
                  resend to Mr. J. Bonfiglio (.2); work on memo to unsecured
                  creditors for website (.2); telephone call from Mr. Bonfiglio
                  (.3); telephone call from Mr. J. Bauer (.1)

10-24-2006        R. Charles                                                            1.0            385.00
                  Work with Mr. D. Walker on USAIP, negotiations with
                  Diversified, and proposed joint plan term sheet (.7) ; work on
                  minutes and draft memo to committee on minutes,
                  developments and to arrange a meeting (.2) ; work on agenda
                  for October 31 including discussion of Stone Gateway (.1)

10-25-2006        R. Charles                                                            0.8            308.00
                  Meet with Mr. D. Walker before, in break and after hearing on
                  sale and retention motion (.5); draft memo to committee on
                  developments at hearing (.3)
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10-26-2006        R. Charles                                                           0.4            154.00
                  Telephone call from Mr. M. Adams on proof of claim issues
                  (.2); telephone call from Mr. J. Bauer on the conversion motion
                  (.1); telephone call from Mr. Russell on his declaration (.1)

10-27-2006        R. Charles                                                           0.9            346.50
                  Read and respond to memo from Mr. M. Peterson on
                  convertible debentures (.1); call from a direct lender on proofs
                  of claim (.2); draft memo to Mr. D. Walker on Diversified
                  issues and documents (.1); return call to Mr. C. Hainsworth
                  (.3); read and respond to memo from Ms. P. Rieger (.2)

10-27-2006        M. Schoenike                                                         0.2                36.00
                  Review inquiries posted on USACMC website, forward to Mr.
                  Rob Charles for response

10-29-2006        R. Charles                                                           1.1            423.50
                  Draft memo to Committee on Oct. 30 agenda (.1); read memo
                  from Mr. J. Bauer; read and respond to memo from Mr. D.
                  Walker on USAIP note (.3); read accumulated communications
                  from committee members (.2); read memo from Mr. Walker on
                  plan issues; work on agenda for October 31 meeting and
                  forward to Committee members (.4); draft memo to Mr.
                  Walker on October 30 hearings (.1)

10-30-2006        S. Freeman                                                           0.1                51.00
                  Read agenda and plan summary for tomorrow's Committee
                  meeting

10-30-2006        S. Meskell                                                           0.3                43.50
                  Review Agenda and Term Sheet in advance of Committee
                  Meeting

10-31-2006        R. Charles                                                           3.0           1,155.00
                  Read memo from Mr. J. Bonfiglio (.1); telephone call from Mr.
                  J. Bauer (.1); prepare for and participate in committee meeting
                  (2.7); call to Mr. R. Hagmaier (.1); work with Mr. D. Walker
                  on claims (.1); work on minutes of committee meeting (.1)

10-31-2006        S. Meskell                                                           1.5                 0.00
                  Attend Committee Meeting to take notes for Minutes (no
                  charge)

11-01-2006        R. Charles                                                           3.7           1,424.50
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                  Read memo from Mr. D. Walker; prepare for and participate in
                  meeting with the Committee on the plan issues (3.3); call to
                  Mr. R. Hagmaier re term sheet (.1) ; continue with and
                  conclude the Committee's meeting (.2); read memo from Mr.
                  Walker re meeting (.1)

11-01-2006        S. Meskell                                                            3.9                 0.00
                  Attend and take notes at Committee Meeting (NO CHARGE)

11-02-2006        R. Charles                                                            0.9            346.50
                  Read and respond to inquiry from Mr. D. Walker via Mr. A.
                  Landis on diverted principal claims (.2) ; return call to Ms. B.
                  Senfeld (creditor) (.2) ; work with Ms. P. Rieger on issues
                  concerning LSA related claims (.1)

11-02-2006        S. Meskell                                                            3.3            478.50
                  Draft minutes of October 31, 2006 and November 1, 2006
                  Committee meeting; review latest revised term sheet

11-03-2006        R. Charles                                                            1.0            385.00
                  Work with Ms. P. Rieger on plan term sheet issues (.2); read
                  memo from Mr. M. Yoder (.1); work with Ms. Rieger on
                  alternatives (.1); call to Mr. J. Bauer (.1); call to Ms. S. Nounna
                  (.2); call from Mr. J. Bonfiglio (.1); call from Mr. R. Russell
                  (.1) ; read memo from Ms. Rieger on request for prosecution
                  (.1); call from Mr. D. Walker (.2); telephone to Mr. R.
                  Hagmaier (.1)

11-05-2006        R. Charles                                                            0.3            115.50
                  Read memo from Debtors' counsel and advise committee on
                  revised dial in information (.1); work on agenda for upcoming
                  meetings (.1); work on website update on motion to convert
                  (.1)

11-06-2006        R. Charles                                                            0.2                77.00
                  Read memo from Mr. D. Walker (.1); return call to Mr. M.
                  Yoder (.1) ; work with Mr. D. Walker on information requested
                  (.1)

11-08-2006        S. Freeman                                                            0.1                51.00
                  Respond to e-mails re committee meeting, timing and issues

11-08-2006        S. Freeman                                                            0.1                51.00
                  Read Mr. R. Charles e-mail to committee re meeting and issues
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11-08-2006        R. Charles                                                         1.2            462.00
                  Work on communications from lenders through the website
                  (.1); work with Ms. M. Schoenike on upcoming deadlines;
                  work on memos to the committee on the amended plan and
                  exhibits and the asset purchase agreement and exhibits (.2); on
                  the amended disclosure statement and exhibits (.1); and on
                  meeting issues, and update calendar (.1); read committee
                  correspondence on meeting and draft memo to committee on
                  meeting (.2); return call to Mr. R. Russell (.1); read memo from
                  Ms. P. Rieger on USAIP litigation (.1); telephone call from Mr.
                  Russell on USAIP issues (.2); work with Ms. Rieger on
                  meeting (.1)

11-09-2006        S. Freeman                                                         0.1                51.00
                  Read C. Hainsworth e-mail re votes on issues for meeting

11-09-2006        R. Charles                                                         0.5            192.50
                  Read memo from Ms. S. Nounna (.1); work with Mr. D.
                  Walker on voting (.1); call from Mr. C. Hainsworth re
                  Committee meeting (.1); draft memo to committee on meeting
                  (.1); read memo from Mr. Hainsworth re Committee decision
                  issues (.1); work on web site update on sale (.1)

11-10-2006        S. Freeman                                                         2.4           1,224.00
                  Participate in committee meeting by conference call

11-10-2006        R. Charles                                                         2.6           1,001.00
                  Work on agenda for committee call (.4); draft memo to Mr. D.
                  Walker on meeting concerning Realty Advisors (.1); telephone
                  call from Mr. P. Lyons as a direct lender on proof of claim for
                  diverted principal (.1); work with Ms. Rieger on issue of
                  procedure for loan assignments (.1); prepare for and meet with
                  committee on plan, disclosure statement and pending issues
                  (1.9)

11-10-2006        M. Schoenike                                                       0.4                72.00
                  Review Mr. S. Brown responses to creditor inquiries (.2);
                  telephone call to Ms. Ladd to confirm receipt of e-mail, and e-
                  mail Mr. S. Brown re additional questions (.2)

11-10-2006        M. Schoenike                                                       2.5                 0.00
                  Committee meeting conference call (NO CHARGE)

11-10-2006        M. Schoenike                                                       1.2            216.00
                  Prepare Minutes of conference call
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11-11-2006        R. Charles                                                          1.4            539.00
                  Work with Mr. D. Walker on USAIP (.1); work on letter to
                  unsecured creditors on the plan (.1); call from Mr. Walker (.2);
                  read and respond to memo from Mr. J. Bauer (.1); read memo
                  from Mr. Walker on minutes; work on minutes of the
                  Committee's meetings on October 31 and November 1, work
                  on memo of Committee communications on November 2/3,
                  and forward drafts to Ms. S. Freeman (.8); read memo from
                  Ms. Freeman and draft memo to committee (.1) ; read memo
                  from Ms. S. Nounna on website (.1); work with Ms. Freeman
                  on IP information from the committee (.1)

11-12-2006        R. Charles                                                          1.0            385.00
                  Read memo from Mr. D. Walker and respond on three issues
                  (.5); read memo from Mr. Walker and respond on additional
                  issues (.3); read memo from Mr. Walker and respond on plan
                  classification and treatment (.2)

11-13-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. R. Charles response to committee chair re plan issues

11-13-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. R. Charles e-mail to committee re Trust causes of
                  action

11-13-2006        S. Freeman                                                          0.1                51.00
                  Read e-mail from committee member re meeting and respond
                  re information needed

11-13-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. R. Charles e-mail to committee members re plan
                  issues and decisions

11-13-2006        R. Charles                                                          0.4            154.00
                  Read memo from Ms. S. Nounna (.1); work on memo to
                  committee on hearings (.3); read and respond to memo from
                  Ms. J. Chubb (.1)

11-13-2006        M. Schoenike                                                        0.9            162.00
                  Respond to Ms. S. Nounna re call-in number for hearing (.2);
                  respond to Ms. S. Nounna re website (.2); e-mail to committee
                  re conference call meeting (.2); respond to Mr. M. Yoder re
                  schedule conflict (.1); e-mail committee call in number for
                  hearing (.2)
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11-14-2006        S. Freeman                                                            0.2            102.00
                  Revise draft committee letter supporting plan and send to
                  committee members (.2); read Mr. R. Charles' report to
                  committee on hearing (.1)

11-14-2006        S. Freeman                                                            1.5            765.00
                  Telephone from Mr. R. Charles re committee meeting and
                  division issues (.2); participate in committee meeting by
                  conference call (1.3)

11-14-2006        R. Charles                                                            2.4            924.00
                  Prepare for and participate in committee meeting (1.4);
                  telephone call from Mr. C. Hainsworth (.5); work on and send
                  out letter draft on the plan (.2); read memo from Mr. M. Yoder
                  (.1); read memo from Mr. Hainsworth (.1); return call to Mr. R.
                  Russell (.2); read memo from Ms. P. Rieger (.1); read memo
                  from Mr. D. Walker on objection to claim (.1); draft response
                  (.1); read memo from Mr. Walker on alternatives and work on
                  response (.1)

11-14-2006        M. Schoenike                                                          1.6            288.00
                  Revise and proof minutes of November 10, 2006 meeting (.3);
                  e- mail to Mr. Rob Charles re same (.1); prepare minutes of
                  November 14, 2006 meeting (1.2)

11-14-2006        M. Schoenike                                                          1.0                0.00
                  Take minutes of Committee Meeting (NO CHARGE)

11-15-2006        S. Freeman                                                            0.6            306.00
                  Read e-mails from several committee members and Mr. R.
                  Charles re revisions to letter in support of plan (.1); send e-mail
                  to members re confidentiality and discussions with non-
                  members (.1); review same (.1); read committee inquiry re
                  committee legal issue, and preference and send response (.3)

11-15-2006        S. Freeman                                                            0.3            153.00
                  Return C. Hainsworth call re committee issues (.2); telephone
                  to D. Walker re same (.1)

11-15-2006        R. Charles                                                            1.5            577.50
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                  Read three memos from Ms. S. Nounna on issues (.1); return to
                  Ms. Jennifer Johnson on unsecured creditor issues of direct
                  lenders (.2); read memo from Mr. R. Hagmaier on concerns
                  and respond (.1); respond to Ms. Nounna on recommendation
                  letter (.2); read memo from committee on ruling on
                  Milanowski / USAIP motion to file under seal (.1); read memo
                  from Ms. S. Freeman on Ms. Nounna's inquiry on committee
                  member liability (.1); draft memo to committee on scheduling
                  (.1); read memo from Mr. D. Walker and draft memo to Mr. R.
                  Hagmaier (.1); read and respond to memo from Mr. J. Bauer
                  (.1); read memo from Mr. Walker on letter (.1); read memo
                  from Mr. Walker (.1); read memo from Mr. A. Landis on Mr.
                  Walker's inquiry (.1); call to Mr. R. Hagmaier after reading
                  proof of claim (.2); draft memo to Mr. Landis on Mr.
                  Hagmaier's resignation from the Committee (.1)

11-15-2006        M. Schoenike                                                       0.4                72.00
                  Edit minutes of Nov. 14, 2006 meeting (.3); e-mail minutes to
                  Mr. Rob Charles for review (.1)

11-16-2006        S. Freeman                                                         0.6            306.00
                  Read e-mails re committee member qualification issue from
                  Mr. R. Charles and committee members (.1); telephone to Mr.
                  R. Charles re handling (.2); e-mail to D. Walker re legal
                  position and research (.1); read e-mail from D. Walker re same,
                  read second e-mail re committee governance issue, and respond
                  (.2)

11-16-2006        R. Charles                                                         0.1                38.50
                  Call to Mr. D. Walker on settlement conference

11-17-2006        S. Freeman                                                         0.3            153.00
                  Read Mr. R. Charles e-mail re bylaw issue (.1); read and revise
                  draft minutes of 11/14 committee meeting (.2)

11-17-2006        R. Charles                                                         0.8            308.00
                  Read memo from Mr. C. Hainsworth on committee meetings
                  (.1); read memo from Mr. D. Walker and forward information
                  on bylaws on meeting (.2); circulate disclosure statement order
                  to committee; draft memo to committee on meeting after
                  reading members' responses (.1); draft memo to committee on
                  disclosure statement order (.1); draft memo to committee on
                  meeting (.1); work with Ms. S. Freeman on meeting with
                  committee to interview trustee candidates (.1); telephone call
                  from Mr. C. Hainsworth on foreclosure firm (.1); read memo
                  from Mr. T. Burr (.1)
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11-19-2006        R. Charles                                                           0.6            231.00
                  Work with Mr. J. Bauer on meeting of committee (.1); work on
                  agenda for committee meeting and recommendation on
                  pending motions (.4); respond to inquiries from Ms. S. Nounna
                  (.1)

11-20-2006        S. Freeman                                                           0.1                51.00
                  Telephone to S. Nounna re books and records issue

11-20-2006        S. Freeman                                                           0.6            306.00
                  E-mail to Ms. M. Schoenike re committee votes matter and
                  conference with Ms. M. Schoenike re same (.3); review
                  disqualification research and call Mr. R. Charles to discuss (.3)

11-20-2006        S. Freeman                                                           0.1                51.00
                  E-mail to and from Mr. R. Charles re research on committee
                  voting issue, and call to M. Ruth re same

11-20-2006        R. Charles                                                           0.6            231.00
                  Work with Ms. S. Nounna on interview of trustee candidates
                  (.1); draft letter to committee on Gateway Stone and Standard
                  Property suits (.1); work on information requested by creditors
                  on distribution estimate (.1); call to Mr. D. Walker on follow
                  up to the meeting and on liquidating trustee (.2); read memo
                  from Ms. Nounna and forward briefing paper (.1); read memo
                  from Mr. Walker and work with Ms. Freeman on response (.1)

11-20-2006        S. Meskell                                                           0.5                72.50
                  Review notes to confirm detail of committee votes

11-21-2006        S. Freeman                                                           0.1                51.00
                  Read Ms. M. Schoenike memos re critical votes and Mr. R.
                  Charles e-mail re committee membership (.1)

11-21-2006        R. Charles                                                           1.3            500.50
                  Read memo from Mr. D. Walker on classes A-4 and A-5 and
                  respond (.2); read memo from Mr. Walker on litigation expense
                  and respond (.2); read and respond to memo from Ms. S.
                  Nounna on confirmation process (.1); read memo from Ms. M.
                  Schoenike on voting question (.1); work on agenda and
                  information items for the committee's November 22 meeting
                  (.7); note hearing on motion to return funds and include into an
                  agenda for a future committee meeting (.1); follow up research
                  on voting issues (.2)
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11-21-2006        M. Schoenike                                                           0.3                54.00
                  Review various e-mails and Agenda for Committee meeting

11-21-2006        M. Schoenike                                                           1.1            198.00
                  Review minutes of Committee Meetings (.5); review
                  Liquidating Trust Agreement (.6)

11-22-2006        S. Freeman                                                             3.1           1,581.00
                  Prepare analysis to committee of voting issue and send (.3);
                  participate in committee meeting by conference call (2.8)

11-22-2006        R. Charles                                                             2.4            924.00
                  Prepare for and participate in committee meeting (2.4); work
                  with Ms. S. Nounna on information concerning the false
                  solicitation issue (.1)

11-22-2006        M. Schoenike                                                           3.0                 0.00
                  Listen to Meeting of Creditors Committee and take minutes
                  (NO CHARGE)

11-22-2006        M. Schoenike                                                           2.2            396.00
                  Send out Notice of next meeting and number to call in for
                  Trustee Selection process (.2); draft minutes of meeting (2.0)

11-23-2006        R. Charles                                                             0.4            154.00
                  Read and respond to memo from Ms. S. Nounna on balloting
                  (.1); read and respond to memo from Ms. Nounna on oversight
                  committee compensation (.1); read and respond to inquiry from
                  Ms. Nounna on time line (.1); draft memo to Ms. M. Schoenike
                  on website (.1)

11-24-2006        R. Charles                                                             1.6            616.00
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                  Read memo from Mr. D. Walker on USAIP motion for
                  protective order and draft memo to committee on same (.2);
                  work with Ms. P. Rieger on Milanowski proof of interest (.1);
                  work with Mr. R. Russell on subpoena (.1); read memo from
                  Mr. Walker on monthly operating report (.1); read memo on
                  impact of member disqualification (.1); read memos from Ms.
                  S. Nounna on time line and on oversight committee (.1); work
                  with Mr. Walker on trust agreement (.1); work with Mr.
                  Walker on Halsey Canyon (.1); work with Mr. Walker on
                  oversight committee (.1); work with Mr. Walker on plan
                  classification (.1); telephone call from Mr. J. Bauer (.1); work
                  with Ms. Nounna on inquiry on counsel for the trust (.2);
                  respond to the Riegers on the Trust Agreement (.1); respond to
                  Mr. Walker on selection of the trustee (.1); respond to Mr.
                  Walker on plan classification (.1)

11-25-2006        R. Charles                                                            0.3            115.50
                  Read memo from Mr. J. Bauer and respond on interviews (.1);
                  read memo from Mr. J. Bonfiglio and respond on trust
                  agreement (.1); read memo from Mr. R. Russell on the USAIP
                  documents (.1); read memo from Ms. P. Rieger on oversight
                  committee nomination (.1)

11-26-2006        S. Freeman                                                            0.2            102.00
                  Respond to Mr. R. Charles e-mail re committee nomination
                  issue (.1); further discuss with Mr. R. Charles by phone (.1)

11-26-2006        R. Charles                                                            0.7            269.50
                  Respond to inquiry from Mr. P. Arroyo (creditor) on ballots
                  (.1); work on memo to committee on nomination of oversight
                  committee (.3); finalize memo (.1); work on agenda for
                  December 1 meeting (.2); respond to inquiry from Ms. S.
                  Nounna on administrative expenses (.1); read memo from Mr.
                  Walker on nominations (.1); read memo from Ms. Rieger and
                  read memo from Mr. Bonfiglio on trust agreement (.1)

11-27-2006        S. Freeman                                                            0.1                51.00
                  Read Mr. R. Charles responses to committee inquiries re plan
                  issues

11-28-2006        S. Freeman                                                            0.1                51.00
                  Revise draft minutes and approve

11-28-2006        R. Charles                                                            0.9            346.50
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                  Work with Mr. D. Walker on developments (.2); respond to
                  Mr. Walker and Ms. P. Rieger on voting (.1); respond to Ms.
                  Rieger on hearing on approval of supplemental disclosure (.1);
                  work with Mr. Walker on plan language on selection of
                  liquidating trustee (.1); work with subcommittee on ADR
                  agreement (.1); read memo from Ms. S. Nounna on Cangelosi
                  and forward information requested (.1); draft memo to
                  committee on hearing and developments (.2)

11-28-2006        M. Schoenike                                                        0.5                90.00
                  Review, edit minutes, forward to Mr. R. Charles for review
                  (.4); e-mail to Committee re minutes of 11/22/06 meeting (.1)

11-29-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. R. Charles e-mails re analysis of issues requested by
                  committee members and e-mails from all debtor and committee
                  counsel re conflicts counsel order

11-29-2006        S. Freeman                                                          0.4            204.00
                  Telephone from C. Hainsworth and counsel re potential
                  conflict and ability to serve on advisory committee (.2); discuss
                  with Mr. R. Charles and call C. Hainsworth counsel re same
                  (.2)

11-29-2006        S. Freeman                                                          0.1                51.00
                  Read A. Landis e-mail re committee membership, and follow-
                  up e-mails by Mr. R. Charles

11-29-2006        S. Freeman                                                          0.1                51.00
                  Revise draft agenda for Friday meeting

11-29-2006        R. Charles                                                          1.2            462.00
                  Draft letter to Mr. D. Walker on Diversified settlement
                  conference (.1); work with Ms. S. Nounna on insider issue (.1);
                  read memo from Ms. Nounna on hearing; work on agenda to
                  the committee on next meeting (.3); work with Mr. Walker on
                  committee voting (.1); work with Mr. L. Rieger on ADR
                  agreement (.4); work on issues raised by Mr. Hainsworth (.1);
                  draft memo to committee on agenda (.1); read memo from Mr.
                  A. Landis and draft memo to Mr. R. Hagmaier on resignation
                  (.1); forward information on loan servicing fee schedule to the
                  committee (.1)

11-30-2006        S. Freeman                                                          0.2            102.00
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                  Read Mr. R. Charles, S. Nounna e-mails re insider claim issue
                  (.1); read Mr. R. Charles e-mails to committee re agenda issue,
                  membership issue, October disbursement report (.1)

11-30-2006        R. Charles                                                          2.1            808.50
                  Read memo from Mr. D. Walker on investigation of cash
                  position (.1); read memo from Ms. M. Schoenike and work on
                  calendar (.1); read and respond to memos from Ms. S. Nounna
                  on agenda (.1), Mr. Landis' memo (.1) and objections to claims
                  (.1); work with Mr. L. Rieger on ADR agreement (.1); work
                  with Mr. Walker on ADR agreement (.1); read amended notice
                  of committee appointment and draft letter to Mr. Mounier as
                  new member (.2); work with Ms. M. Schoenike on Mr.
                  Walker's inquiry and on the new member (.1); work with Ms.
                  P. Rieger on investigation of fraudulent transfers (.2); add Ms.
                  Rieger's issue to the agenda (.1); work with Ms. Schoenike on
                  bylaws (.1); edit letter to new member (.1); read memo from
                  Ms. Nounna on the transition (.1); telephone call from Mr. J.
                  Bauer (.2); read memo from Mr. Mounier with bylaws,
                  confidentiality agreement and memo (.1); telephone call from
                  Mr. Bauer on ballot (.1); forward revised agenda (.1);
                  telephone call from Mr. J. Bonfiglio (.1)

11-30-2006        M. Schoenike                                                        2.2            396.00
                  Review e-mail from Mr. R. Charles re Amended Appointment
                  of Member of Creditors Committee, review notice (.2); respond
                  to Mr. R. Charles re appointment of Del Bunch as alternate
                  member (.2); work on preparation of Bylaws and
                  Confidentiality Agreement for Del Bunch and Mr. David W.
                  Mounier (1.1); e-mail to Mr. R. Charles re Bylaws,
                  confidentiality Agreement and Susan Freeman's memorandum
                  of Committee Responsibility and Fiduciary Duties (.3); e-mail
                  to Mr. D. Walker re Del Bunch approval (.2); e-mail to Mr. J.
                  Bauer re Amended Committee Appointment (.2)

12-01-2006        S. Freeman                                                          4.9           2,499.00
                  Committee meeting by conference call (4.8); follow up e-mail
                  to T. Burr and R. Charles re next meeting and tasks (.1)

12-01-2006        S. Freeman                                                          0.4            204.00
                  Read Mr. R. Charles e-mails to new member (.1); telephone to
                  Mr. R. Charles re any trustee information to new member and
                  his background (.1); compile information on trustee candidates
                  and e-mail to D. Mounier with explanation (.2)

12-01-2006        R. Charles                                                          4.5           1,732.50
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                  Read memo from Mr. T. Burr on monthly operating reports,
                  skim and forward to committee (.1); prepare for and participate
                  in Committee meeting (4.4); telephone call from Mr. R.
                  Hornberger on balloting (.1); read memo from Mr. Walker on
                  meetings (.1)

12-01-2006        M. Schoenike                                                         4.8                 0.00
                  Take minutes of meeting of creditors committee (NO
                  CHARGE)

12-01-2006        M. Schoenike                                                         0.9            162.00
                  Review signed confidentiality agreement and bylaws received
                  from Mr. D. Mounier (.2); telephone call to Mr. J. Bauer re
                  confidentiality agreement (.1); review inquiries posted to
                  Website and forward to Mr. S. Brown for response (.2); review
                  agenda and minutes, respond to Ms. S. Freeman re agenda
                  items not covered in meetings (.4);

12-02-2006        S. Freeman                                                           0.1                51.00
                  Respond to Ms. S. Nounna e-mail to Mr. T. Burr re records
                  request

12-02-2006        S. Freeman                                                           0.6            306.00
                  Check with Mr. R. Charles re meeting change and availability

12-02-2006        S. Freeman                                                           0.6            306.00
                  Prepare and send e-mail to all committee members re changing
                  meeting time, status of various matters, role of oversight
                  committee (.2); respond to Ms. S. Nounna inquiry re USAIP
                  note (.1); respond to Ms. S. Nounna inquiry re Hantges
                  affidavit (.1); respond to committee inquiry re DTDF analysis
                  (.2)

12-02-2006        S. Freeman                                                           0.4            204.00
                  Read Ms. S. Nounna inquiry re DTDF and Mr. T. Burr
                  analysis, read Mr. T. Burr chart and inquiry to DTDF and
                  respond with additional information needed (.2); read Ms. S.
                  Nounna directive to Mr. T. Burr re records and call Mr. R.
                  Charles to discuss handling (.2)

12-02-2006        R. Charles                                                           0.6            231.00
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                  Read memo from Ms. S. Rieger on USAIP VI (.1); read memo
                  from Ms. S. Nounna on Diversified settlement (.1); read memo
                  from Ms. Nounna on DTDF advance (.1); read memo from Ms.
                  Nounna on settlement of DTDF claim to Oak Valley (.1); read
                  memo from Ms. Nounna on Mr. Hantges and the $58 million
                  note (.1); read memo from Mr. T. Burr on due diligence (.1);
                  read memo from Mr. Burr on settlement alternatives (.1); read
                  memo from Ms. Nounna on committee meeting, work with Ms.
                  S. Freeman on scheduling (.2)

12-03-2006        S. Freeman                                                         0.8            408.00
                  Read and respond to Ms. S. Nounna e-mail re direct lenders
                  meeting (.1); read and respond to Mr. T. Burr e-mail re records
                  issue and read Mr. T. Burr e-mails re collections issue (.1);
                  read and respond to Ms. S. Nounna e-mail re fee application
                  process (.1); read and respond to Ms. S. Nounna e-mails re
                  information to trustee, $58m note, DTDF tracing (.1); read and
                  respond to committee e-mail re meeting next week and agenda
                  (.1); review draft agenda and revise (.1); discuss member issues
                  with Mr. R. Charles (.1); read Mr. R. Charles e-mail to
                  members re DTDF issues (.1)

12-03-2006        S. Freeman                                                         0.1                51.00
                  Read Mr. R. Charles e-mails to and from members re DTDF
                  settlement

12-03-2006        R. Charles                                                         0.8            308.00
                  Respond to memo from Ms. S. Nounna on DTDF settlement
                  (.2); work on agenda for next meeting (.2); read memo from
                  Ms. S. Freeman to numerous inquiries from Ms. Nounna (.1);
                  read memo from Ms. P. Rieger (.1); revise agenda to include
                  recent motions and circulate (.3)

12-04-2006        S. Freeman                                                         0.1                51.00
                  Read Mr. C. Hainsworth comments on DTDF settlement
                  proposal; read Mr. R. Charles and D. Walker e-mails re
                  replying to Cangelosi sale opposition

12-04-2006        S. Freeman                                                         0.2            102.00
                  Read LV Journal article per request from committee member
                  for information and read Mr. R. Charles response (.1); read Mr.
                  R. Charles, Riegers, Nounna e-mails re status of claims
                  objections (.1)

12-04-2006        R. Charles                                                         1.0            385.00
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                  Read memo from Ms. S. Nounna re claims (.1); read and
                  respond to memo from Ms. P. Rieger on Hotel Marquis (.2);
                  respond to Ms. Rieger on Marquis hotel (.1); respond to Ms.
                  Nounna on allowance of claims (.1); read memo from Mr. T.
                  Burr on pending loan collections (.1); work with Ms. Rieger on
                  claim objection (.1); work with Ms. Rieger on loan payments
                  (.1); work with Ms. Rieger on Reale (.1); work with Ms. Rieger
                  on retention of Texas foreclosure counsel (.1); telephone call
                  from Mr. J. Bauer and review notice to him on balloting (.1);
                  read memo from Mr. Walker on Cangelosi reply (.1); read
                  memo from Ms. Rieger on same (.1); read memo from Mr. C.
                  Hainsworth on Cangelosi reply (.1); work with Ms. Rieger on
                  diverted principal (.1)

12-05-2006        S. Freeman                                                          0.2            102.00
                  Read Mr. T. Burr analysis of additional sale asset values (.1);
                  per voice mail from Mr. R. Charles, send committee members
                  the Burr analysis, information re sale issues; forward to
                  committee information re U.S. Trustee guidelines and DTDF
                  settlement (.1)

12-05-2006        S. Freeman                                                          0.2            102.00
                  Return Mr. C. Hainsworth call re meeting issues

12-05-2006        S. Freeman                                                          3.5           1,785.00
                  Participate in committee meeting by conference call

12-05-2006        R. Charles                                                          1.3            500.50
                  Prepare for and participate in meeting of the committee (1.5);
                  work with Mr. D. Walker on ballot tally (.1); work with Ms.
                  Freeman on committee decisions (.1)

12-05-2006        M. Schoenike                                                        0.4                72.00
                  Telephonic notification to committee members of committee
                  meeting

12-05-2006        M. Schoenike                                                        3.5                 0.00
                  Listen to Committee meeting and take minutes of meeting
                  (NO CHARGE)

12-06-2006        R. Charles                                                          0.7            269.50
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                  Work with Mr. D. Walker on ballot identification (.1); draft
                  memo to clients on allocation of deposit, additional bid and
                  over bid (.2); work with Mr. C. Hainsworth on issues (.2); work
                  with Mr. Walker on meeting on sale and on sale hearing (.1);
                  read memo from Mr. Bauer and read memo from Mr. Yoder on
                  allocation of deposit (.1)

12-06-2006        M. Schoenike                                                        1.5            270.00
                  Work on minutes of meeting

12-07-2006        S. Freeman                                                          1.4            714.00
                  Read e-mails from J. Bonfiglio, D. Walker, S. Nounna, P.
                  Rieger re compensation issue and further amendments to trust
                  agreement (.1); telephone S. Nounna re her request for
                  discussion of trust agreement (.1); second call to S. Nounna to
                  discuss trust agreement (1.2)

12-07-2006        R. Charles                                                          0.5            192.50
                  Read and respond to inquiry from Mr. L. Rieger on the
                  Compass offer (.3); conference with Mr. D. Walker on
                  compensation of oversight committee in response to inquiry
                  from Mr. M. Levinson (.1); draft memo to committee on
                  auction (.1); read memo from Mr. C. Hainsworth on same (.1)

12-07-2006        M. Schoenike                                                        2.8            504.00
                  Review/respond to creditors posting inquiries to website (.3); e-
                  mail to Ms. S. Freeman and Mr. Rob Charles confirming
                  committee meeting (.1); draft Agenda for meeting (.7); respond
                  to creditor inquiry and forward requested ballots (.2); edit
                  12/1/06 minutes, forward to Ms. S. Freeman and Mr. Rob
                  Charles for review (.4) work on minutes of 12/5/06 meeting
                  (1.1)

12-08-2006        R. Charles                                                          3.7           1,424.50
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                  Read a dozen emails from Ms. S. Nounna on compensation for
                  oversight committee, auction, trust agreement, trustee's
                  borrowing authority, limit on oversight committee
                  compensation, input to the trustee (.2) and Ms. P. Rieger on
                  trust agreement (.1); respond to Mr. J. Bonfiglio on oversight
                  committee accountability vis a vis compensation (.1); read
                  memo from Ms. S. Freeman on trust agreement and meeting
                  (.1); calls to Mr. R. Russell (.1), Mr. D. Walker (.1), Mr. C.
                  Hainsworth (.2), Mr. J. Bauer (.1), Mr. D. Mounier (.1), Mr. G.
                  Berman (.2), return call to Mr. Russell (.1), work with Ms.
                  Nounna (.1) and with Mr. H. Taylor (.1) and Ms. M. Schoenike
                  (.1), all on the trust agreement and the committee's meeting;
                  read memo from Mr. M. Yoder on meeting (.1); work with Mr.
                  D. Walker on objection to claim (.2); read memo from Mr.
                  Russell and read memo from Mr. Walker on meeting and
                  compensation of the oversight committee (.1); prepare for the
                  committee meeting and work through issues on the trust
                  agreement, and continue to answer questions from Ms. Nounna
                  and Mr. and Mrs. Rieger (1.5); work with Ms. Schoenike on
                  notice of committee meeting and settlement conference (.1);
                  draft memo to Mr. Walker with ballot report (.1)

12-08-2006        M. Schoenike                                                        1.6                 0.00
                  Committee meeting conference call (NO CHARGE)

12-08-2006        M. Schoenike                                                        1.5            270.00
                  Review various e-mails re modification to Trust Agreement,
                  forward to counsel (.3); various e-mails and telephone calls re
                  scheduling committee meeting (.2); e-mail to Committee
                  scheduling meeting (.1); review response to creditor inquiry
                  posted to website (.1); work on Minutes of 12/5/06 (.8)

12-09-2006        R. Charles                                                          0.1                38.50
                  Respond to Ms. S. Nounna's inquiry on Compass (.1)

12-10-2006        S. Freeman                                                          0.1                51.00
                  E-mail to Mr. R. Charles re meeting agenda on Monday and
                  potential rescheduling and issues

12-10-2006        S. Freeman                                                          0.9            459.00
                  E-mail to Mr. R. Charles re meeting follow-up (.1); review and
                  revise draft minutes of two meetings and e-mail to Ms. M.
                  Schoenike re finalizing (.7); e-mail to Mr. R. Charles re
                  Riegers' plan vote and communication to them (.1)
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12-10-2006        R. Charles                                                           0.3            115.50
                  Read memo from Mr. D. Walker and forward ballot report (.1);
                  follow up on returned email from Mr. Walker (.1); draft memo
                  to committee on ballots (.1)

12-10-2006        R. Charles                                                           0.3            115.50
                  Draft memo to committee to reschedule meeting (.1); read
                  memo from Mr. D. Walker on timing (.1); read memo from Mr.
                  J. Bonfiglio (.1); work on memo to the Riegers re sale issues
                  (.1)

12-11-2006        R. Charles                                                           0.4            154.00
                  Read memo from Mr. M. Yoder on meeting (.1); read memo
                  from Ms. A. Nounna on meeting (.1); work on agenda (.2)

12-11-2006        M. Schoenike                                                         1.2            216.00
                  E-mail to Committee re review of Minutes of 12/1/06 and
                  12/05/06 minutes (.2); e-mail to Mr. R. Charles re notice of
                  rescheduled meeting (.1) work on Minutes of 12/11/06 meeting
                  (.7); e-mail to committee members scheduling next meeting
                  (.2)

12-12-2006        R. Charles                                                           0.3            115.50
                  Work on agenda (.2); return call to Mr. J. Bauer on proof of
                  claim (.1)

12-12-2006        H. Taylor                                                            0.2                71.00
                  Review and edit Committee Meeting Minutes from 12/8
                  meeting

12-12-2006        M. Schoenike                                                         1.9            342.00
                  Preparation of minutes of 12/8/06 meeting (1.7); memo to
                  Committee re meeting and agenda for 12/13/06 meeting (.2)

12-12-2006        M. Schoenike                                                         0.1                18.00
                  Review response from Mr. J. Bauer re meeting

12-13-2006        S. Freeman                                                           0.2            102.00
                  Telephone from Mr. R. Charles re issue on disqualifying
                  committee members

12-13-2006        R. Charles                                                           2.3            885.50
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                  Work on minutes of December 8 meeting (.2); call to Mr. D.
                  Walker re plan issues, claims objection and Del Bunch
                  objection (.2); meeting with the committee on plan issues,
                  claims objections and related topics (1.6); after the meeting,
                  further discussions with Ms. A. Nounna and Ms. S. Nounna on
                  plan and voting issues (.3); read memo from Schwartzer firm
                  and draft memo to committee on procedure to participate
                  telephonically in the court hearings (.1); telephone call from
                  Mr. Bauer on committee meeting and decision (.1)

12-13-2006        M. Schoenike                                                      2.6            468.00
                  Edit minutes of December 8, 2006 hearing, e-mail to Ms. S.
                  Freeman and Mr. Rob Charles for review (.4); e-mail to
                  Committee members re scheduling next meeting (.2); prepare
                  minutes of December 13th meeting (2.0)

12-13-2006        M. Schoenike                                                      1.8                 0.00
                  Prepare for meeting and take minutes at Committee meeting
                  (NO CHARGE)

12-14-2006        R. Charles                                                        0.1                38.50
                  Draft memo to Mr. D. Walker on sale issue

12-14-2006        M. Schoenike                                                      0.5                90.00
                  Work on edits to December. 13, 2006 meeting

12-15-2006        S. Freeman                                                        0.1                51.00
                  Read Mr. R. Charles notes of conversations with debtors,
                  professionals, hearing, and report to committee on involuntary

12-15-2006        S. Freeman                                                        0.1                51.00
                  Read Mr. C. Hainsworth e-mails re sale and plan issues

12-15-2006        R. Charles                                                        0.2                77.00
                  Draft memo to committee on the morning hearing and
                  appointment of trustee in Tree Moss involuntary (.1); read
                  memo from Mr. D. Walker and respond on ballot report (.1);
                  draft memo to Mr. C. Hainsworth on confirmation hearing (.1)

12-17-2006        R. Charles                                                        0.8            308.00
                  Work with Ms. S. Nounna on developments on plan (.1); draft
                  memo to Mr. D. Walker on Mr. Allison's inquiry (.2); draft
                  memos to committee on confirmation hearing briefing (.1);
                  work on minutes (.2); work on committee meeting preparation
                  (.1); draft memo to committee on additional bid issue (.1)
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12-18-2006        S. Freeman                                                          0.7            357.00
                  Read and revise draft minutes of 12/13 and 12/8 and e-mail to
                  Ms. M. Schoenike re redacting part before distribution

12-18-2006        S. Freeman                                                          0.9            459.00
                  Participate in committee meeting by conference call

12-18-2006        R. Charles                                                          0.4            154.00
                  Read memo from Mr. J. Bauer on allocation motion (.1); read
                  memo from Mr. M. Yoder on same (.1) ; work on minutes of
                  December 13 meeting (.2); draft memo to committee on
                  meeting (.1); work on inquiry from a direct lender on "secured
                  claim" (.1); forward ballot report to Mr. D. Walker at his
                  request (.1)

12-18-2006        M. Schoenike                                                        1.0                 0.00
                  Take minutes of Committee meeting (NO CHARGE)

12-18-2006        M. Schoenike                                                        0.2                36.00
                  E-mail to committee members re dial in information (.1); e-
                  mail to Ms. S. Freeman re notification to Mr. D. Walker and
                  the Riegers, e-mail re same (.1)

12-18-2006        M. Schoenike                                                        0.7            126.00
                  Prepare minutes of December 18th meeting (.4); e-mail to
                  committee re approval of December 13th minutes (.1); redact
                  minutes for circulation to Mr. D. Walker and the Riegers (.2)

12-19-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. R. Charles e-mail report to committee re hearing and
                  e-mail from Mr. C. Hainsworth re same

12-19-2006        R. Charles                                                          0.4            154.00
                  Work with Mr. D. Walker on allocation motion (.1); read
                  memo from Ms. M. Schoenike on next scheduled committee
                  meeting (.1); draft memo to clients on confirmation hearing
                  (.1); read memo from Mr. C. Hainsworth (.1)

12-20-2006        S. Freeman                                                          0.1                51.00
                  Read P. Rieger and R. Charles e-mails to committee re recent
                  involuntary bankruptcies

12-20-2006        R. Charles                                                          0.5            192.50
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                  Work with Mr. C. Hainsworth on developments and continued
                  confirmation hearing (.1); draft memo to clients on the
                  confirmation hearing and ruling (.2); read and respond to
                  memo from Ms. P. Rieger on the involuntary cases (.2)

12-20-2006        M. Schoenike                                                      0.9            162.00
                  Work on December 18th minutes

12-21-2006        R. Charles                                                        0.3            115.50
                  Read memo from Mr. T. Burr to Ms. S. Rieger and the
                  committee on Ms. Rieger's issues on the Marquis involuntary
                  bankruptcy (.1); draft memo to Oversight Committee on Jan. 4
                  and 11 meetings (.1); read and respond to inquiry from Mr. C.
                  Hainsworth on claims (.1)

12-21-2006        M. Schoenike                                                      0.3                54.00
                  Edit meeting minutes

12-22-2006        S. Freeman                                                        0.2            102.00
                  Revise draft minutes and send email to M. Schoenike re
                  circulation limitation (.2)

12-22-2006        R. Charles                                                        0.7            269.50
                  Work on updated committee report (.5); work with Ms. S.
                  Freeman on and finalize committee memo (.1); read memo
                  from Ms. M. Schoenike and resend dial in information to
                  committee; read memo from Mr. C. Hainsworth (.1); work on
                  December 18 meeting minutes (.1)

12-22-2006        M. Schoenike                                                      0.2                36.00
                  Finalize minutes, e-mail to Mr. Rob Charles and Ms. S.
                  Freeman for review

12-23-2006        R. Charles                                                        0.2                77.00
                  Work with Ms. P. Rieger on expense reimbursement
                  application (.1); draft memo to committee (.1); read memo
                  from Ms. Rieger; read memo from Mr. D. Walker (.1)

12-27-2006        R. Charles                                                        0.6            231.00
                  Draft memo to committee with agenda for the December 28
                  call (.4); read memo from Mr. D. Walker on meeting on loan
                  payoffs (.1); draft memo to Committee on TRO in HMA Sales
                  suit (.1)

12-27-2006        M. Schoenike                                                      0.2                36.00
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                  Review Agenda for Committee meeting

12-28-2006        S. Freeman                                                          1.7            867.00
                  Participate in committee meeting by conference call

12-28-2006        R. Charles                                                          2.2            847.00
                  Prepare for and meet with Committee and Mr. G. Berman, then
                  conclude discussions with several of the Committee members
                  (2.1); draft memo to committee on protective order (.1); read
                  memo from Mr. C. Hainsworth (.1)

12-28-2006        M. Schoenike                                                        2.0                 0.00
                  Committee conference call (NO CHARGE)

12-29-2006        R. Charles                                                          0.5            192.50
                  Read memo from Mr. C. Hainsworth (.1); work with Mr.
                  Hainsworth and Ms. S. Freeman on trust, special litigation
                  counsel, and financial statement issues (.4); telephone call from
                  Mr. Hainsworth on protective order (.1)

12-29-2006        M. Schoenike                                                        1.5            270.00
                  Work on minutes of December 28th meeting

01-01-2007        R. Charles                                                          0.2                77.00
                  Read memo from Ms. K. Kulasa and draft memo to Ms. S.
                  Smith on Bay Pomano loan information requested (.2); read
                  memo from Ms. S. Smith on same (.1)

01-02-2007        M. Schoenike                                                        0.5                90.00
                  Edit minutes of 12/28/06 meeting and e-mail to counsel for
                  review

01-03-2007        R. Charles                                                          0.3            115.50
                  Work with Mr. C. Hainsworth on lease rejection inquiry (.1);
                  draft memo to Mr. D. Walker on proposed confirmation order
                  (.1); draft memo to committee on hearing and results (.2)

01-04-2007        S. Freeman                                                          0.1                51.00
                  Read Mr. R. Charles report on hearing to committee

01-04-2007        R. Charles                                                          4.2           1,617.00
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                  Work on minutes of December 28 meeting (.3); telephone call
                  from Ms. S. Nounna (.1); telephone call from Mr. G. Berman
                  (.1); prepare for and meet with Mr. D. Walker and his son, Mr.
                  C. Hainsworth, Ms. Nounna, Mr. G. Berman, Mr. M. Sorensen
                  and Ms. T. Kingsbury on meeting with Mr. T. Allison etc., trust
                  transition issues and questions by the Trust Oversight
                  Committee (3.0); after the meeting, discussions with Mr.
                  Walker on claims (.1), Mr. Hainsworth on discovery (.1), Mr.
                  Berman on files transferred (.1), and Ms. Nounna on claims,
                  preferences and investigation and prosecution of insiders (.4)

01-05-2007        S. Freeman                                                          0.2            102.00
                  Review and revise draft meeting minutes

01-05-2007        R. Charles                                                          0.7            269.50
                  Telephone call from Mr. C. Hainsworth on suit against Hantges
                  and Milanowski and follow up on the committee meeting with
                  Mr. G. Berman (.4); read memo from Mr. Berman on potential
                  special counsel (.1); telephone call from Ms. P. Rieger on
                  claims (.1); telephone call from Mr. J. Bauer (.2)

01-06-2007        R. Charles                                                          1.2            462.00
                  Review upcoming calendar for memo to committee (.1); work
                  on agenda (.4), with analysis of Standard Property settlement
                  (.5), Colt payoff (.2), Kehl and Walch claims (.1)

01-07-2007        R. Charles                                                          0.1                38.50
                  Work with Ms. S. Nounna on discovery in pending litigation
                  (.1)

01-08-2007        S. Freeman                                                          1.8            918.00
                  Participate in committee meeting

01-08-2007        R. Charles                                                          2.1            808.50
                  Telephone call from Mr. J. Bauer and prepare for committee
                  meeting (.1); facilitate the committee's meeting (1.8); respond
                  to questions from Ms. S. Nounna after the meeting (.3)

01-08-2007        M. Schoenike                                                        2.1                 0.00
                  Committee meeting conference call (NO CHARGE)

01-08-2007        M. Schoenike                                                        0.5                90.00
                  E-mail to committee scheduling next meeting (.2); begin
                  working on minutes of meeting (.3)
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01-09-2007        R. Charles                                                          0.1                38.50
                  Read memo from Ms. S. Nounna on discovery

01-09-2007        M. Schoenike                                                        1.5            270.00
                  Prepare minutes of Jan. 8, 2007 committee meeting

01-10-2007        M. Schoenike                                                        0.4                72.00
                  Edit minutes of meeting and forward to counsel for review

01-11-2007        R. Charles                                                          0.7            269.50
                  Work with Mr. J. Bauer on effective date of plan (.1); work on
                  minutes of committee meeting (.3); draft memo to committee
                  on potential settlement of USA Commercial Real Estate Group
                  (.2); work with Mr. D. Walker on follow up to selection of
                  special litigation counsel (.2)

01-12-2007        R. Charles                                                          0.3            115.50
                  Work on agenda and report to Committee (.2); work on
                  minutes of January 8 meeting (.2)

01-12-2007        M. Schoenike                                                        0.2                36.00
                  Review revised minutes, e-mail to Ms. S. Freeman and Mr.
                  Rob Charles re committee approval

01-13-2007        S. Freeman                                                          0.2            102.00
                  Review and revise draft committee meeting minutes

01-15-2007        R. Charles                                                          0.3            115.50
                  Work with Mr. J. Bauer on developments with special litigation
                  counsel (.1); read memo from Mr. D. Walker, locate
                  information on "$75 million pledge" and "trust account" and
                  draft memo to Mr. Walker on same (.2); draft memo to Mr. M.
                  Tucker on information requested by Mr. Walker (.1); work
                  with Ms. S. Nounna on deposition scheduling (.1)

01-16-2007        R. Charles                                                          0.1                38.50
                  Work with Mr. D. Walker on Ms. S. Nounna's request for
                  Hilco appraisals (.1)

01-16-2007        M. Schoenike                                                        0.4                72.00
                  Finalize minutes of meeting and confirm readiness for
                  circulation (.2); e-mail minutes to committee for approval (.1);
                  respond to Ms. S. Nounna re committee meeting schedule (.1)
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01-17-2007        S. Freeman                                                         0.1                51.00
                  Read and respond to E. Madden e-mail re committee call

01-17-2007        S. Freeman                                                         0.7            357.00
                  Participate in part of committee meeting by phone

01-17-2007        S. Freeman                                                         0.4            204.00
                  Draft report of hearing and send to committee members (.2)
                  telephone from S. Nounna re special counsel issue and appeal
                  issues (.2)

01-17-2007        R. Charles                                                         1.9            731.50
                  Draft memo to committee on notice of appeal (.1); draft memo
                  to committee on hearing agenda (.1); draft memo to Committee
                  on application to employ (.1); draft memo to committee on
                  offer to FTDF fundmembers (.1); work with Mr. C. Hainsworth
                  on NSB document production (.1); work with committee
                  members on notice of meeting (.1); work with Ms. S. Freeman
                  on aftermath of hearing for the committee's meeting (.3) (NC);
                  prepare for and facilitate the committee's meeting (.5);
                  telephone call from Ms. S. Nounna on January 17 hearings (.4);
                  respond to inquiry from Ms. S. Rieger on agenda (.1)

01-17-2007        M. Schoenike                                                       0.1                18.00
                  Telephone from Mr. C. Hainsworth re agenda (.1); conference
                  call Committee meeting to take minutes (1.1) (NO CHARGE)

01-18-2007        R. Charles                                                         0.4            154.00
                  Draft memo to committee on stay of appeal (.1); draft memo to
                  committee on transfer (.1); return call to Mr. C. Hainsworth on
                  appeal, stay and their implications for the plan and plan trust
                  (.3)

01-18-2007        M. Schoenike                                                       2.0            360.00
                  Work on minutes of 1/17/07 meeting (1.8); e-mail to
                  committee re next scheduled meeting (.2)

01-19-2007        R. Charles                                                         0.3            115.50
                  Read and respond to inquiry from Ms. S. Nounna on plan (.1);
                  call to Mr. D. Walker on Russell payoff issue raised at the all
                  committees and debtors call (.2); telephone call from Mr. C.
                  Hainsworth

01-20-2007        R. Charles                                                         0.2                77.00
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                  Read memo from Mr. C. Hainsworth and article (.1); work on
                  January 24 agenda as to Fertitta stay relief motion (.1)

01-21-2007        R. Charles                                                        0.3            115.50
                  Work with Ms. S. Nounna on delay in distributions (.1); draft
                  memo to Mr. C. Hainsworth on hearing on motion to quash
                  stay pending appeal (.1); read and respond to Ms. S. Nounna on
                  stay pending appeal (.1)

01-22-2007        R. Charles                                                        0.4            154.00
                  Read memo from Mr. C. Hainsworth on stay hearing (.1); read
                  memo from Mr. D. Walker on status (.1); draft memo to Mr.
                  Walker on payoff issue on Russell loans (.1); draft memo to
                  Committee on the stay pending appeal and hearing (.1); read
                  and respond to inquiry from Mr. Jack Bauer on appeal and
                  licensing (.1)

01-22-2007        M. Schoenike                                                      0.2                36.00
                  Respond to creditor inquiry re notice or employment of
                  Diamond McCarthy

01-23-2007        R. Charles                                                        1.9            731.50
                  Work with Mr. C. Hainsworth on stay pending appeal (.1);
                  telephone call from Mr. L. Rieger and Ms. P. Rieger on Russell
                  loans and on another loan issue (.6); work on agenda for the
                  Great White motion for protective order and motion to seal
                  (.2); read memo from Mr. Bob Russell on resignation (.1);
                  telephone call from Mr. Russell on payoff issue (.1); telephone
                  call from Mr. Rieger on Russell loan issues (.2); work with Mr.
                  Walker on Russell payoff (.1); read memo from Ms. M.
                  Schoenike and finalize committee meeting agenda (.2); work
                  with Mr. D. Walker on pending issues, particularly the Russell
                  payoff and the stay pending appeal (.5); forward Great White
                  papers to the Committee and Diamond McCarthy

01-23-2007        M. Schoenike                                                      1.6            288.00
                  E-mail to committee members re meeting (.2); work on
                  application for reimbursement of expenses of committee
                  members (.5); e-mail to Mr. R. Charles re request for
                  submission of expenses (.2); review committee meeting agenda
                  (.1); work on notice of application for reimbursement (.4);
                  review e-mail from Mr. Rob Charles re resignation of Mr. R.
                  Russell, revise committee membership (.2)

01-24-2007        S. Freeman                                                        1.8            918.00
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                  Participate in committee meeting by conference call (1.6);
                  telephone call from R. Charles regarding follow up to
                  committee meeting call (.2)

01-24-2007        R. Charles                                                          1.8            693.00
                  Telephone call from Mr. L. Rieger on pending issues (.2);
                  prepare for and participate in Committee's meeting with Mr. G.
                  Berman, Mr. T. Burr and Ms. S. Freeman (1.6); briefly follow
                  up on issues raised with Ms. Freeman (.1)

01-24-2007        M. Schoenike                                                        0.1                18.00
                  E-mail to Mr. Rob Charles re origination of conference call
                  (.1); originate and monitor committee conference call (1.6)
                  (NO CHARGE)

01-25-2007        S. Freeman                                                          0.1                51.00
                  Read e-mails from J. Bauer and R. Charles re committee
                  meeting issue

01-25-2007        R. Charles                                                          1.0            385.00
                  Work with Mr. J. Bauer on Great White (.1); draft memo to
                  committee on motion to extend stay (.1); telephone call from
                  Mr. L. Rieger on Great White (.2); return call to Mr. Eugene
                  Cady (creditor) on stay and status (.2); draft memo to
                  committee on Western United Life motion (.1); read memo
                  from Ms. M. Schoenike on committee meeting (.1); telephone
                  call from Mr. L. Rieger on the Western United Life motion
                  (.2); read memo from Mr. J. Bauer and read memo from Mr. C.
                  Hainsworth on same (.1); work on minutes of committee
                  meeting (.3); read memo from Mr. T. Burr and draft memo to
                  Committee on monthly operating reports (.1)

01-25-2007        M. Schoenike                                                        1.6            288.00
                  Work on minutes of 1/24/07 meeting

01-26-2007        R. Charles                                                          0.4            154.00
                  Read memo from Mr. E. Madden and draft memo to Mr. D.
                  Walker on access to chat rooms (.1); work with Ms. M.
                  Schoenike on circulation of minutes (.1); draft memo to
                  Committee on motion re allocation of additional bid (.1);
                  discuss issues of FTDF dispute with Ms. S. Freeman (.1); work
                  on meeting minutes (.1)

01-26-2007        M. Schoenike                                                        0.8            144.00
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                  E-mail to and response from Mr. Rob Charles re redacted
                  minutes of 1/24/07 meeting (.2); review edited Jan. 17th
                  minutes and e-mail to Ms. S. Freeman re approval for
                  circulation (.2); finalize minutes of Jan. 24th meeting, e-mail to
                  counsel for review (.4)

01-30-2007        R. Charles                                                           0.2                77.00
                  Call to Mr. D. Walker on all committees meeting and
                  implementation order (.1); draft memo to Mr. Walker with
                  transition list, implementation order, agenda (.1)

01-31-2007        R. Charles                                                           0.7            269.50
                  Draft memo to committee on amended HMA sales complaint
                  (.1); draft memo to committee on application for prejudgment
                  writ in HMA Sales case (.1); work with Mr. D. Walker and Mr.
                  T. Burr on draft implementation order (.1); work with Mr. C.
                  Hainsworth on developments (.1); call to Mr. D. Mounier (.1);
                  work with Ms. M. Schoenike on pending matters (.1); work on
                  agenda for committee meeting (.3)

01-31-2007        M. Schoenike                                                         0.6            108.00
                  Reminder e-mail to committee re meeting (.1); review agenda,
                  and respond to Mr. R. Charles re same (.2); circulate agenda to
                  committee (.2); respond to Mr. J. Bonfiglio re meeting (.1)

02-01-2007        S. Freeman                                                           0.8            408.00
                  Participate in committee meeting by phone

02-01-2007        R. Charles                                                           0.8            308.00
                  Prepare for and participate in committee's meeting (.9) ; read
                  memo from Mr. Walker on information on Standard Property
                  payment of origination fee (.1)

02-01-2007        M. Schoenike                                                         0.9                 0.00
                  Committee meeting-listen to prepare minutes (NO CHARGE)

02-02-2007        R. Charles                                                           0.1                38.50
                  Telephone call from Mr. L. Rieger and read memo from Ms. P.
                  Rieger on loan payoffs

02-02-2007        M. Schoenike                                                         0.1                18.00
                  Review e-mail from Ms. S. Nounna re committee conference
                  call

02-02-2007        M. Schoenike                                                         0.8            144.00
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                  Work on minutes of meeting

02-05-2007        S. Freeman                                                        0.3            153.00
                  Review and revise minutes of 2/1 meeting

02-05-2007        R. Charles                                                        0.3            115.50
                  Read memo from Mr. D. Walker on Russell loan payoff (.1);
                  read memo from Mr. Walker on KPMG and tax returns (.1);
                  work on minutes of past two committee meetings (.2)

02-05-2007        M. Schoenike                                                      0.8            144.00
                  Work on minutes of 2/1/07 meeting (.7); e-mail to Ms. S.
                  Freeman and Mr. Rob Charles re review of minutes (.1)

02-06-2007        S. Freeman                                                        0.1                51.00
                  Review and revise committee meeting minutes

02-06-2007        S. Freeman                                                        0.8            408.00
                  Follow-up call with G. Berman and in part R. Charles re
                  Committee inquiry

02-06-2007        R. Charles                                                        0.5            192.50
                  Work with Mr. D. Walker on hearing on motion to dismiss
                  appeal by USAIP (.1); draft memo to Mr. Walker and Mr. G.
                  Berman on Liberty Bank discussions (.2); read memo from Ms.
                  P. Rieger on servicing fee and draft letter to Ms. A. Jarvis on
                  same (.1)

02-06-2007        M. Schoenike                                                      0.6            108.00
                  E-mail to Ms. S. Freeman re review of Jan. 24th minutes (.1);
                  review responses re Feb. 1st minutes and review revised
                  minutes (.2); e-mail to committee re Jan. 24th minutes (.1);
                  reminder e-mail re committee meeting (.1); e-mail to
                  committee re Feb. 1st minutes (.1)

02-07-2007        R. Charles                                                        0.1                38.50
                  Draft memo to Mr. D. Walker on hearing on motion to dismiss
                  appeal

02-08-2007        R. Charles                                                        0.4            154.00
                  Telephone call from Mr. C. Hainsworth on meeting and
                  pending issues (.2); telephone to Mr. D. Walker on Rio
                  Rancho, hearing and meeting (.2)
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02-09-2007        R. Charles                                                           1.2            462.00
                  Work with Ms. M. Schoenike on agenda (.1); draft memo to
                  Mr. D. Walker on January distributions (.1); facilitate creditors'
                  committee meeting (1.0); telephone call from Mr. C.
                  Hainsworth on licensing issues (.1)

02-09-2007        M. Schoenike                                                         1.1                 0.00
                  Listen to committee meeting (NO CHARGE)

02-09-2007        M. Schoenike                                                         0.4                72.00
                  Draft agenda for meeting

02-11-2007        R. Charles                                                           0.1                38.50
                  Read memo from Mr. J. Bonfiglio on Bay Pompano loan (.1);
                  read memo from Mr. D. Walker on meeting (.1)

02-12-2007        R. Charles                                                           0.7            269.50
                  Work with Ms. P. Rieger on committee meeting (.1); work with
                  Mr. J. Bauer on licensing and sale issues (.1); work with Mr. D.
                  Walker on sale and pending issues (.4); draft memo to Mr.
                  Walker and Mr. T. Burr on call with Ms. S. Smith (.1)

02-12-2007        M. Schoenike                                                         0.5                90.00
                  Review and respond to Ms. P. Rieger e-mail re committee
                  conference call (.2); e-mail Committee members scheduling
                  next committee meeting (.2); work on minutes of 2/9/07
                  meeting (.1)

02-13-2007        R. Charles                                                           0.2                77.00
                  Return call to Ms. S. Nounna on sale and pending issues

02-13-2007        M. Schoenike                                                         0.8            144.00
                  Work on minutes of meeting

02-15-2007        R. Charles                                                           0.2                77.00
                  Correspondence with Mr. D. Walker on sale (.1); draft memo
                  to Mr. Walker on escrow agreements (.1)

02-16-2007        S. Freeman                                                           1.4            714.00
                  Participate in committee meeting by conference call

02-16-2007        R. Charles                                                           1.5            577.50
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                  Work with Ms. M. Schoenike on agenda for committee
                  meeting (.2); prepare for and facilitate unsecured creditors
                  committee meeting (1.3)

02-16-2007        M. Schoenike                                                         0.9            162.00
                  Draft agenda for committee meeting, telephone call to and e-
                  mail to Mr R. Charles re review (.6) respond to Ms. S. Nounna
                  re international number (.1); e-mail to Committee re Agenda
                  (.2);

02-16-2007        M. Schoenike                                                         1.5                 0.00
                  Committee meeting (listen for minutes) (NO CHARGE)

02-19-2007        M. Schoenike                                                         1.8            324.00
                  Work on minutes of 2/16/07 meeting

02-20-2007        S. Freeman                                                           0.3            153.00
                  Read and respond to P. Rieger and R. Charles e-mail re
                  deadlines to file avoidance litigation (.2); read C. Hainsworth
                  reply re avoidance actions and e-mails from and to E. Karasik,
                  R. Charles re escrows (.1)

02-20-2007        R. Charles                                                           0.1                38.50
                  Work with Ms. P. Rieger on plan issue

02-21-2007        S. Freeman                                                           0.1                51.00
                  Read Mr. R. Charles e-mails to Mr. C. Hainsworth re
                  authorization and Mr. C. Hainsworth response

02-21-2007        R. Charles                                                           0.8            308.00
                  Work with Mr. D. Walker on Compass and escrow issues (.1);
                  telephone call from Mr. C. Hainsworth on stay pending appeal
                  and pending issues (.4); work with Mr. D. Walker on Colt
                  Gateway and loan servicing issues (.3)

02-23-2007        S. Freeman                                                           0.1                51.00
                  Read draft status report to committee and send comments and
                  suggestions to R. Charles re same

02-23-2007        R. Charles                                                           1.0            385.00
                  Read memos from Ms. S. Nounna (.1); work with Ms. M.
                  Schoenike and committee on meeting schedule (.1); work on
                  status report to the committee (.6); revise report with input
                  from Ms. S. Freeman (.2); read memo from Mr. C. Hainsworth
                  (.1); read and respond to inquiry from Ms. P. Rieger (.1)
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02-25-2007        R. Charles                                                         0.4            154.00
                  Work with Ms. S. Nounna on professional fees (.1); work with
                  Mr. D. Walker and Ms. P. Rieger on servicing agreement
                  issues (.2); work with Ms. Rieger on Trust as loan servicer of
                  Hotel Marquis and Placer Vineyards (.1)

02-26-2007        R. Charles                                                         0.5            192.50
                  Return call to Mr. L. Rieger and Ms. P. Rieger on Placer
                  Vineyards and pending issues (.4); work with Ms. S. Nounna
                  on fee issues (.1); work with Ms. M. Schoenike on application
                  of payments (.1)

02-26-2007        M. Schoenike                                                       0.7            126.00
                  Review responses to change of meeting, e-mail committee re
                  changed meeting time (.2); respond to Ms. S. Nounna re "listen
                  only" call in number and Court Call procedures (.3); review
                  inquiries posted to Website, e-mail to Mr. S. Brown re same
                  (.2)

02-27-2007        S. Freeman                                                         1.1            561.00
                  Participate in committee meeting by conference call

02-27-2007        S. Freeman                                                         0.1                51.00
                  Read R. Charles e-mails to committee re power of attorney
                  issue, servicing issue, paring down

02-27-2007        R. Charles                                                         1.1            423.50
                  Work with Ms. M. Schoenike on agenda (.1); prepare for and
                  facilitate committee meeting (1.0)

02-27-2007        M. Schoenike                                                       1.5            270.00
                  E-mail to Mr. Rob Charles re meeting agenda, unresolved
                  motions (.3); draft Agenda for meeting (.5); e-mail to Mr. Rob
                  Charles re agenda review (.1); e-mail Agenda to committee
                  (.1); work on minutes of meeting (.5);

02-27-2007        M. Schoenike                                                       1.2                 0.00
                  Monitor committee meeting and take minutes (NO CHARGE)

02-28-2007        R. Charles                                                         0.6            231.00
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                  Read memo from Mr. D. Walker on information produced by
                  Reale and draft memo to Mr. E. Madden on same (.1); read
                  memo from Mr. Walker on Placer and read memo from Mr. G.
                  Berman on guarantees (.1); telephone call from Mr. V. Birgen
                  as a creditor (.2); telephone call from Mr. L. Rieger on Placer
                  Vineyards (.3)

02-28-2007        M. Schoenike                                                       0.6            108.00
                  Work on minutes of meeting

03-01-2007        R. Charles                                                         0.4            154.00
                  Read and respond to inquiries from Ms. S. Nounna (.1);
                  conference with Mr. D. Walker before hearing (.2); telephone
                  call from Ms. Nounna after hearings (.1)

03-01-2007        M. Schoenike                                                       0.3                54.00
                  Respond to Ms. S. Nounna re court schedule and depositions

03-02-2007        M. Schoenike                                                       0.6            108.00
                  Finalize minutes of Feb. 27th meeting

03-03-2007        R. Charles                                                         0.4            154.00
                  Draft memo to committee on March 1 hearings (.4)

03-05-2007        R. Charles                                                         0.3            115.50
                  Work on February 9 minutes (.2); return call to Ms. P. Rieger
                  on West Hills Park Joint Venture and draft memo to Debtors'
                  counsel on same (.1)

03-05-2007        R. Charles                                                         0.1                38.50
                  Read memo from Mr. S. Strong on notice to creditor of
                  automatic stay

03-05-2007        M. Schoenike                                                       0.4                72.00
                  E-mail to Mr. Rob Charles and Ms. S. Freeman re review of
                  minutes and circulation to committee (.2); e-mail to committee
                  scheduling of next meeting (.2)

03-06-2007        R. Charles                                                         1.4            539.00
                  Read memo from Mr. D. Walker on effective date (.1);
                  telephone call from Mr. L. Rieger on Standard Property, Placer
                  Vineyards and pending issues (.7); continue work on Feb. 9
                  minutes (.2); work on Feb. 16 minutes (.2); work on Feb. 27
                  minutes (.3)
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03-07-2007        S. Freeman                                                            0.4            204.00
                  Review and revise draft minutes of three committee meetings

03-07-2007        M. Schoenike                                                          0.7            126.00
                  Review e-mail and respond re circulation of minutes (.1);
                  review, finalize minutes of 2/9/07, 2/16/07 and 2/27/07 (.5); e-
                  mail to committee for approval (.1)

03-08-2007        R. Charles                                                            0.2                77.00
                  Return call to Mr. L. Rieger on USA Investment Partners (.1);
                  read memo from Mr. D. Walker on same (.1); read memo from
                  Mr. Walker on Great White (.1)

03-09-2007        S. Freeman                                                            1.3            663.00
                  Participate in committee conference call meeting (leave early
                  for debtor-committee call)

03-09-2007        S. Freeman                                                            0.1                51.00
                  Read R. Charles analysis to committee of Placer issue

03-09-2007        R. Charles                                                            1.7            654.50
                  Draft memo to Mr. L. Rieger and Mr. J. Bonfiglio on Placer
                  Vineyards (.1); read memo from Mr. D. Walker and draft
                  memo to committee on Placer Vineyards (.2); prepare and
                  participate in Committee meeting (1.4); return call to Mr. G.
                  Berman after the meeting (.1)

03-09-2007        M. Schoenike                                                          0.1                18.00
                  Reminder e-mail to committee re meeting

03-09-2007        M. Schoenike                                                          1.5                 0.00
                  Monitor and take minutes of Committee Meeting (NO
                  CHARGE)

03-10-2007        R. Charles                                                            0.1                38.50
                  Work on response to creditor inquiry

03-12-2007        R. Charles                                                            0.4            154.00
                  Telephone call from Mr. L. Rieger on Placer Vineyards and
                  Hotel Marquis (.1); read memo from Ms. P. Rieger on
                  Compass (.1); draft memo to committee on effective date (.2)

03-12-2007        M. Schoenike                                                          0.6            108.00
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                  Work on minutes of March 9 meeting

                      TOTAL FOR TASK CODE B150                                        366.7         115,296.50


             B160 FEE/EMPLOYMENT APPLICATIONS

08-01-2006        M. Schoenike                                                          0.2                36.00
                  Work on Certificate of Mailing for service of Reply in Support
                  of Sierra Application

08-04-2006        M. Schoenike                                                          0.2                36.00
                  Respond to Mr. R. Charles re Order Authorizing Sierra
                  Employment

08-07-2006        M. Schoenike                                                          0.3                54.00
                  Review Mr. Rob Charles e-mail and revised order authorizing
                  Sierra employment (.1); e-mail to counsel re
                  approval/disapproval of order authorizing employment (.2)

08-09-2006        R. Charles                                                            0.2                77.00
                  Work on order and circulate as to employment of Sierra

08-10-2006        S. Freeman                                                            0.1                51.00
                  Review and correct entry classifications for fee statements (2.5)
                  (NO CHARGE); e-mails from and to other committees re fee
                  statement procedures (.1)

08-10-2006        R. Charles                                                            0.1                38.50
                  Read memos from Mr. A. Landis, Mr. S. Strong, Mr. G.
                  Garman, Mr. M. Levinson, Ms. C. Pajak on Sierra employment
                  order and direct lodging with court

08-11-2006        S. Freeman                                                            0.3            153.00
                  Finalize interim fee statement and prepare cover letter

08-11-2006        R. Charles                                                            0.4            154.00
                  Note entry of order approving Sierra employment; draft memo
                  to Mr. T. Burr (.1); work on letter to counsel (.2); draft memo
                  to Mr. A. Landis on draft, interim fee statement (.1); read
                  memo from Mr. D. Walker on same

08-19-2006        S. Freeman                                                            1.9            969.00
                  Review and mark allocation of timesheets by category
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08-22-2006        S. Freeman                                                           1.2            612.00
                  Check and correct re allocation of time entries for fee statement

08-23-2006        R. Charles                                                           0.4            154.00
                  Draft application for reimbursement of expense incurred by
                  counsel for the three committees in the document scanning and
                  identification project

08-25-2006        S. Freeman                                                           0.2            102.00
                  Read A. Landis e-mail re concerns with fee statement and e-
                  mail my thoughts on response and changes for fee application

08-25-2006        R. Charles                                                           1.1            423.50
                  Work on billing statements for July time and expense (.9); read
                  memo from Ms. A. Jarvis and read memo from Mr. L.
                  Schwartzer on circulation of July invoices (.1); read memo
                  from Mr. A. Landis on U.S. trustee preliminary review (.1)

08-25-2006        R. Charles                                                           0.2                77.00
                  Work on fee statement for L and R fee application; draft memo
                  to Ms. S. Freeman on revisions (.1); read memo from Ms. A.
                  Landis and work with Ms. S. Freeman and Ms. M. Schoenike
                  on U.S. Trustee concerns (.1)

08-25-2006        M. Schoenike                                                         3.0            540.00
                  Review Mr. A. Landis e-mail on review of fee statement (.2);
                  review Lewis and Roca and Sierra invoice, e-mail to Mr. Rob
                  Charles re Sierra breakdown (.2); letter to Mr. A. Landis
                  enclosing monthly invoices (.2); e-mail to Mr. T. Burr re
                  invoice breakdown (.3); work with accounting re fee
                  application invoice, work on summary sheet (.6); confer with
                  Ms. S. Freeman re revisions to invoice per U.S. Trustee's
                  comments (.2); work on fee application (1.3)

08-28-2006        M. Schoenike                                                         1.7            306.00
                  E-mail to Mr. R. Charles re fee statement (.2); work on
                  response to Mr. A. Landis re review of invoice (.2); work on
                  fee application (1.3)

08-29-2006        S. Freeman                                                           0.6            306.00
                  Direct various changes to invoices and check e-mails to add to
                  descriptions of my time per U.S. Trustee concerns

08-29-2006        M. Schoenike                                                         0.2                36.00
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                  Follow up on revisions to invoice for fee application

08-30-2006        S. Freeman                                                             1.7            867.00
                  Revise draft fee application and direct further changes (1.3);
                  letter to A. Landes responding to fee statement concerns (.4)

08-31-2006        R. Charles                                                             0.8            308.00
                  Read memo from Ms. S. Freeman re fee issue (.1); work on
                  letter to Mr. A. Landis re fee issue (.1); work on fee application
                  and with Ms. M. Schoenike on same (.5); work on declaration
                  (.1)

08-31-2006        R. Charles                                                             0.7            269.50
                  Work on issue of Sierra fee application with Mr. T. Burr and
                  Ms. M. Schoenike (.1); work on Lewis and Roca fee
                  application (.4) and declaration in support (.1); work on letter
                  to Mr. A. Landis on U.S. Trustee concerns (.1)

08-31-2006        M. Schoenike                                                           3.7            666.00
                  Review e-mails, work on Sierra Application for Compensation
                  (.8); telephone from Mr. Rob Charles re revisions to Lewis and
                  Roca Application, edit application, forward to Mr. Rob Charles
                  (.5); work on edits to application, (1.0); draft declaration of
                  Rob Charles in Support of the application (.5); telephone call to
                  Mr. D. Walker re invoice review and authorization to file
                  application (.2); work on filing, docket and service of
                  application and declaration (.5); draft Certificate of Mailing of
                  application and declaration (.2)

09-01-2006        M. Schoenike                                                           0.2                36.00
                  Telephone from Office of U.S. Trustee re Sierra application

09-16-2006        R. Charles                                                             0.4            154.00
                  Read U.S. Trustee notice of objection to L and R fee
                  application (.1) and to other professionals' applications (.1);
                  draft memo to Mr. A. Landis on "meet and confer" and backup
                  information needed (.1); direct information retrieval for U.S.
                  Trustee's objection; read the McKnight response to fee
                  applications (.1)

09-18-2006        S. Freeman                                                             0.3            153.00
                  Review time entries and adjust to meet U.S. Trustee
                  requirements

09-18-2006        R. Charles                                                             0.2                77.00
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                  Work with Mr. A. Landis on scheduling "meet and confer";
                  read his schedule on RQN expenses (.1); draft memo to Mr.
                  Landis on disputed messenger charges (.1)

09-18-2006        R. Charles                                                          0.2                 0.00
                  Work on issues in the time entries (NO CHARGE)

09-24-2006        S. Freeman                                                          0.1                51.00
                  E-mail to Mr. R. Charles and Ms. A. Manzionna re monthly fee
                  statement issue

09-25-2006        S. Freeman                                                          0.1                51.00
                  Read U.S. Trustee detail on fee objection and e-mail to Mr. R.
                  Charles re same

09-25-2006        R. Charles                                                          0.8            308.00
                  Work on L and R (.3) and Sierra (.1) monthly statements and
                  work with Mr. Burr on status of Sierra statement; work with
                  Ms. S. Meskell on filing and conference with Ms. C. Carlyon
                  on same (.1); telephone call from Ms. C. Pajak and direct
                  delivery to Mr. A. Landis (.1); work on letter to Ms. A. Jarvis
                  on issues raised in the objection (.2)

09-25-2006        S. Meskell                                                          1.0            145.00
                  Online filing of monthly statements fee for Lewis and Roca
                  and Sierra Consulting Group

09-26-2006        R. Charles                                                          0.1                38.50
                  Work on amended fee statements for L and R and Sierra

09-26-2006        S. Meskell                                                          1.8            261.00
                  Prepare Amended Second Monthly Fee Statement for both
                  Lewis and Roca and Sierra Consulting, electronically file same

09-28-2006        S. Brown                                                            0.2                64.00
                  Review additional objections to L&R fee application (.1);
                  review docket entry re proceedings and hearing agenda re same
                  (.1)

09-29-2006        S. Freeman                                                          0.1                51.00
                  Review forms of order approving fees and e-mail to Ms. M.
                  Schoenike re preparing our order

10-03-2006        R. Charles                                                          0.1                38.50
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                  Read memo from Mr. A. Parlen on Stutman fee application and
                  proposed order; read memo from Mr. Parlen on Alvarez fees

10-04-2006        R. Charles                                                          0.1                38.50
                  Telephone to Mr. A. Landis on order concerning Lewis and
                  Roca interim application; read memo from Mr. Landis

10-04-2006        M. Schoenike                                                        0.2                36.00
                  Review, upload Order Awarding Compensation to Lewis and
                  Roca

10-05-2006        R. Charles                                                          0.3            115.50
                  Telephone call from Ms. A. Santos of US Trustee on Sierra fee
                  application (.1); read memo from Ms. Santos and call to Mr. T.
                  Burr on same (.1); read memo from Mr. Burr on information
                  requested (.1)

10-08-2006        S. Freeman                                                          0.9            459.00
                  Review monthly fee statement and adjust categories, complete
                  descriptions

10-09-2006        R. Charles                                                          0.1                 0.00
                  Note entry of order approving interim fee application and
                  advise on write off (NO CHARGE)

10-13-2006        M. Schoenike                                                        0.4                72.00
                  Obtain Order Approving Lewis and Roca First application,
                  draft Notice of Entry of Order (.3); e-mail to Mr. R. Charles re
                  service of notice (.1)

10-15-2006        R. Charles                                                          0.1                38.50
                  Work on memo concerning reimbursement of committee
                  expenses; note application by Direct Lenders Committee on
                  same

10-16-2006        M. Schoenike                                                        0.1                18.00
                  Review Notice of Entry of Order, e-mail to Mr. Rob Charles
                  for approval to file

10-18-2006        M. Schoenike                                                        0.9            162.00
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                  Review U.S. Trustee's Objection to Lewis and Roca August
                  statement (.2); telephone from Ms. B. Piscitell re
                  documentation (.1); review Ms. S. Freeman response re travel
                  time (.1); review Mr. R. McKirgan explanation of travel time
                  (.1); work on documentation for photocopies, postage, (.3); e-
                  mail to Ms. Piscitell (.1)

10-19-2006        M. Schoenike                                                         0.7            126.00
                  Review, edit September statement (.4); e-mail to Ms. S.
                  Freeman and Mr. R. Charles re edit to statements (.1); e-mail to
                  accounting re breakdown on "Other Disbursement" category
                  (.1); e-mail to Mr. T. Burr re monthly statement (.1)

10-20-2006        M. Schoenike                                                         0.3                54.00
                  Work on response to U.S. Trustee's Objection to August
                  Statement

10-20-2006        M. Schoenike                                                         1.2            216.00
                  Review Mr. Rob Charles response re Sierra statement (.1);
                  respond to Mr. Rob Charles re revisions to monthly invoice,
                  respond to accounting re same (.1); work on edits to Lewis and
                  Roca September Statement (.6); draft statement of filing of
                  Lewis and Roca September Statement (.2); draft Statement of
                  Filing of Sierra Statement (.2);

10-23-2006        S. Freeman                                                           0.3            153.00
                  Review and note edits to monthly fee statement

10-25-2006        S. Freeman                                                           0.2            102.00
                  Read and revise draft letter to A. Landis re interim fees, and e-
                  mail to R. Charles re same

10-25-2006        M. Schoenike                                                         0.4                72.00
                  Telephone call to Ms. S. Freeman and Mr. R. Charles re review
                  of monthly fee statements (.1); file, docket, serve Monthly
                  Statements of Sierra and Lewis and Roca (.3);

10-26-2006        M. Schoenike                                                         0.5                90.00
                  Work with Ms. B. Piscitell re response to U.S. Trustee's
                  objection to August monthly statement (.3); review Ms.
                  Piscitell e-mail and respond to Ms. A. Manzionna re statement
                  edits (.2)

10-28-2006        R. Charles                                                           0.1                38.50
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                  Work with Ms. M. Schoenike on information requested by the
                  U.S. Trustee on the monthly fee statement

10-30-2006        M. Schoenike                                                       0.2                36.00
                  Review Mr. Rob Charles letter re response to objections to
                  L&R invoice to U.S. Trustee

10-31-2006        R. Charles                                                         0.1                38.50
                  Read order continuing employment of Debtors' professionals to
                  December 15 (.1)

11-01-2006        M. Schoenike                                                       0.2                36.00
                  Review revised September invoice, telephone call to account re
                  additional revisions

11-03-2006        M. Schoenike                                                       0.2                36.00
                  E-mail to Mr. R. Charles re deadline to file objection to
                  monthly fee statements (.1); respond to Mr. R. Charles re
                  service of monthly statement on Mesirow (.1)

11-08-2006        S. Freeman                                                         0.5            255.00
                  Review and mark changes to monthly fee statement

11-13-2006        M. Schoenike                                                       0.2                36.00
                  Assist Ms. S. Freeman re August time entry

11-15-2006        R. Charles                                                         0.1                38.50
                  Work with Ms. M. Schoenike on fee statements

11-15-2006        M. Schoenike                                                       2.3            414.00
                  E-mail to Mr. R. Charles and Ms. S. Freeman re monthly fee
                  statements (.1); review Sierra Statement, draft Monthly Fee
                  Statement cover sheet (.2) review/edit Lewis and Roca monthly
                  statement (1.6); memo to counsel re revisions to statement (.2);
                  e-mail to Mr. T. Morgan re time breakdown (.1); memo to
                  accounting re Ms. S. Freeman revisions (.1)

11-16-2006        M. Schoenike                                                       0.5                90.00
                  Assist Ms. S. Smith, of Mesirow Financial re W9 and wiring
                  instructions (.4); respond to Ms. S. Freeman re committee
                  expenses (.1); review revised monthly statement and memo to
                  counsel re revisions (NO CHARGE FOR 1.2)

11-17-2006        R. Charles                                                         0.2                77.00
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                  Read memo from Mr. S. Strong and work with Mr. C.
                  Hainsworth and committee on application to employ national
                  foreclosure counsel (.2)

11-17-2006        M. Schoenike                                                          0.4                72.00
                  Memo to Mr. R. Charles and Ms. S. Freeman re revisions to
                  October statement (.3); memo to Mr. R. Charles re Sierra
                  monthly statement (.1)

11-20-2006        R. Charles                                                            0.5            192.50
                  Read memo from Ms. M. Schoenike and work with Ms.
                  Schoenike on interim billing statement (.4); read memo from
                  Mr. M. Levinson and committee counsels and UST on
                  extended deadline for submission of monthly statement (.1)

11-20-2006        M. Schoenike                                                          0.5                90.00
                  Telephone from Mr. R. Charles re edits to monthly fee
                  statement and e-mail to accounting re same (.2); review e-mail
                  re counsel's agreement for filing and service of monthly fee
                  statements (.1); e-mail to accounting re application of payment
                  to first fee application (.2)

11-21-2006        R. Charles                                                            0.2                77.00
                  Work on application of interim payment on approved fee
                  application (.1); work on L and R interim billing issues (.1)

11-21-2006        M. Schoenike                                                          1.4            252.00
                  Review and respond to accounting re application of payment
                  (.1); review invoice edited by Mr. R. Charles, e-mail to Ms. A.
                  Manzionna re same (.3); finalize monthly statement and cover
                  statement (.4); e-mail to counsel re filing of monthly statement,
                  expense documentation (.2); work with Ms. A. Manzionna re
                  billing of travel time and other edits (.4)

11-22-2006        M. Schoenike                                                          1.0            180.00
                  Continue working on edits to monthly fee statements, obtaining
                  expense documentation (.5); telephone from Library re
                  Westlaw recap (.2); edit cover page (.1); file, docket and serve
                  Monthly Fee statement for Lewis and Roca and Sierra (.2)

11-24-2006        R. Charles                                                            0.1                38.50
                  Note service of L and R and Sierra applications

11-26-2006        R. Charles                                                            0.1                38.50
                  Note Shea & Carlyon and Schwartzer interim fee requests
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11-27-2006        R. Charles                                                         0.2                77.00
                  Work on response to UST objection to interim billing

11-27-2006        M. Schoenike                                                       0.2                36.00
                  Review Mr. Rob Charles response to U.S. Trustee's objection
                  to fees

11-29-2006        R. Charles                                                         0.1                38.50
                  Approved amended order on Mr. Huston's employment as
                  special conflicts counsel (.1); work with Mr. J. Hinderaker and
                  Mr. P. Mause on time keeping (.1)

11-29-2006        M. Schoenike                                                       0.7            126.00
                  Work with Ms. C. Anderson re update to pro hac vice
                  admissions chart (.2); work on applications for limited
                  admission for: John Hinderaker; Patrick Mause and Robert
                  McKirgan (.5);

11-30-2006        M. Schoenike                                                       0.4                72.00
                  Review e-mail from Ms. S. Smith re inconsistency in August
                  statement and telephone call to accounting re same

12-01-2006        M. Schoenike                                                       0.2                36.00
                  Respond to Mesirow Financial re Lewis and Roca August
                  statement inconsistency

12-04-2006        M. Schoenike                                                       1.1            198.00
                  Obtain, review U.S. Trustee's Guidelines for Reviewing
                  Applications (.3); telephone call to office of U.S. Trustee re
                  same and specific expense criteria (.3); memorandum to Ms. S.
                  Freeman and Mr. Rob Charles re same (.3); e-mail to
                  Committee re Guidelines (.2)

12-05-2006        R. Charles                                                         0.2                77.00
                  Read memo from Ms. S. Smith on professional fees (.1); read
                  memo from Mr. B. Forbes on employment of Texas counsel
                  (.1)

12-06-2006        R. Charles                                                         0.1                38.50
                  With input from committee, approve employment of Texas
                  foreclosure counsel

12-07-2006        M. Schoenike                                                       0.4                72.00
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                  Work on pro hac vice application and Designation of local
                  counsel for John Hinderaker

12-08-2006        M. Schoenike                                                           0.2                36.00
                  Telephone from Mr. J. Hinderaker's office re limited admission

12-09-2006        R. Charles                                                             0.3            115.50
                  Read memo from Mr. T. Burr on interim fee applications (.1);
                  read memo from Mr. D. Monson on Rule 2014 of Texas
                  foreclosure counsel (.1); read and respond to read memo from
                  Mr. Monson with Texas firm's engagement letter (.1)

12-11-2006        J. Hinderaker                                                          0.3            102.00
                  Work on pro hac vice application

12-11-2006        M. Schoenike                                                           1.0            180.00
                  Respond to Mr. R. Charles re Mr. J. Hinderaker pro hac vice
                  application (.1); draft pro hac application for Mr. Pat Mause
                  and Mr. R. McKirgan, and designation of local counsel (.5);
                  reply to Ms. R. Creswell re Mr. Hinderaker's application (.1);
                  respond to Mr. R. Charles re interim fee application deadline
                  (.1); file, docket application for limited admission and
                  designation of local counsel (.2)

12-11-2006        M. Schoenike                                                           0.2                 0.00
                  Process Metastorm change form for additional conflicts (NO
                  CHARGE)

12-12-2006        M. Schoenike                                                           1.7            306.00
                  Review and edit monthly billing statement (1.3); e-mail to Mr.
                  P. Mause re breakdown of time and e-mail to Mr. R. Charles re
                  time breakdown (.1); review Mr. P. Mause response (.1); e-
                  mail to Mr. J. Hinderaker re time breakdown (.1); edit
                  statements per breakdown received (.1)

12-13-2006        R. Charles                                                             0.1                38.50
                  Work on information requested for November interim fee
                  request

12-18-2006        M. Schoenike                                                           0.1                18.00
                  Follow up re payment of fee for Mr. J. Hinderaker application
                  for limited admission

12-19-2006        M. Schoenike                                                           2.4            432.00
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                  Review e-mail and responses to UST request for extension of
                  time to respond to monthly statements (.1); e-mail to Ms. S.
                  Freeman and Mr. Rob Charles re Lewis and Roca monthly fee
                  statement (.1); e-mail to Mr. T. Burr re monthly fee statement
                  (.2); review Sierra application and e-mail to Mr. T. Burr re
                  suggested revisions (.9); preparation of monthly statements of
                  Lewis and Roca and Sierra (.7); begin work on fee application
                  (.4)

12-20-2006        M. Schoenike                                                         1.5            270.00
                  Work on edits to November monthly statement (.9); e-mail to
                  Ms. B. Piscitell re expense documentation (.1); e-mail to Ms.
                  M. Mancino re expense documentation (.1); e-mail to Library
                  re WestLaw charge (.1); e-mail to Mr. R. Charles re project
                  clerk time (.1); meeting with accounting re edits to November
                  statement (.2)

12-21-2006        S. Freeman                                                           0.1                51.00
                  Read e-mails among all professionals re fee statement and fee
                  application deadline revisions, and e-mails re call with trustee

12-21-2006        R. Charles                                                           0.5            192.50
                  Work with Ms. M. Schoenike on interim fee application issues
                  (.1); read memo from Ms. J. McPherson and work with Mr.
                  Burr, Ms. S. Freeman and committee counsel on employment
                  of Beadle McBride (.2); read memo from Ms. Karasik and draft
                  memo to Ms. McPherson on same (.2); read memo from Ms. C.
                  Pajak on stipulation on interim fee applications and read
                  counsel's correspondence on same (.1)

12-21-2006        M. Schoenike                                                         1.7            306.00
                  E-mail to Mr. T. Burr re monthly statement (.1); e-mail to Mr.
                  R. Charles and Ms. R. Galgano re backup for lunch expense
                  (.1); review backup, add information required by U.S. Trustee
                  (.2); finalize Fifth Monthly Statement of Sierra (.2); review
                  numerous e-mails re monthly fee statements and filing of fee
                  applications (.3); draft Amended Stipulated Order Establishing
                  Procedures for Final Applications for Compensation and
                  Reimbursement of Expenses of Professionals (.5); respond to
                  Mr. T. Burr re docket entry numbers of application and order
                  (.2); review invoice, finalize Lewis and Roca's Fifth Monthly
                  Statement (.4)

12-22-2006        R. Charles                                                           0.5            192.50
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                  Work on revised stipulation on deadline for fee applications
                  (.1); read memo from Ms. C. Pajak and read memo from Ms.
                  C. Carlyon on same (.1); read and approve revised stipulation
                  (.1); read and approve L and R and Sierra interim applications
                  (.1); read memo from Ms. J. McPherson and respond on Beadle
                  McBride employment (.1); note and forward Schwartzer &
                  McPherson interim fee statement (.1)

12-22-2006        M. Schoenike                                                         0.5                90.00
                  E-mail to Mr. R. Charles re monthly fee statements (.1); make
                  final edits to Lewis and Roca statement (.1); file, docket, serve
                  Sierra and Lewis and Roca's monthly fee statement (.3)

12-26-2006        R. Charles                                                           0.4            154.00
                  Read memo from Ms. M. Schoenike to Ms. P. Rieger on
                  committee expenses (.1); work with Mr. M. Levinson on
                  Beadle McBride (.2); draft memo to Ms. J. McPherson on
                  Beadle McBride (.1); read memo from Mr. Levinson on
                  additional concerns with same (.1)

01-01-2007        R. Charles                                                           0.2                77.00
                  Work on language proposed by Mr. M. Levinson on Beadle
                  McBride and draft memo to counsel on same (.2); read memo
                  from Mr. Levinson

01-05-2007        R. Charles                                                           0.2                77.00
                  Work on submission for the December monthly fee statement

01-05-2007        M. Schoenike                                                         3.4            612.00
                  Edit monthly fee statement (1.7) review docket re John
                  Hinderaker limited admission (.2); telephone call to United
                  States Bankruptcy Court and respond to Mr. R. Creswell re
                  order on Mr. J. Hinderaker admission (.2); e-mails to Mr. T.
                  Morgan, Mr. J. Hinderaker, Mr. R. Charles, Ms. S. Freeman
                  and Mr. M. Ruth re time breakdown and expense reports (.7);
                  work on breakdown of long distance calls, conference calls (.6)

01-07-2007        R. Charles                                                           0.1                38.50
                  Read Tree Moss and USA Investors VI employment
                  applications by proposed counsel for the trustee (.1)

01-08-2007        M. Schoenike                                                         1.0            180.00
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                  Review Notice of Hearing on Employment of Counsel in Tree
                  Moss Partners, update calendar re objection deadline and
                  hearing date (.2); telephone call from United States Bankruptcy
                  Court re Mr. J. Hinderaker application for limited admission
                  (.4); e-mail to Ms. R. Creswell re status of admission (.1) e-
                  mail to Mr. M. Ruth re time breakdown, finalize December
                  time (.2); memo to Ms. S. Freeman re December time (.1)

01-09-2007        M. Schoenike                                                           0.1                18.00
                  Obtain order approving John Hinderaker's limited admission
                  and forward to Ms. R. Creswell

01-11-2007        S. Freeman                                                             0.1                51.00
                  Telephone to Mr. R. Charles re litigation counsel choice and
                  employment application

01-11-2007        R. Charles                                                             0.2                77.00
                  Work on employment of special litigation counsel (.1); work
                  with Mr. Berman and Ms. Freeman on meeting with special
                  litigation counsel (.1)

01-11-2007        M. Schoenike                                                           0.1                18.00
                  Review interim order extending employment of Mesirow
                  Financial, Schwartzer & McPherson, Ray Quinney, docket
                  objection and hearing date

01-12-2007        R. Charles                                                             0.8            308.00
                  Work with Ms. M. Schoenike on employment of special
                  litigation counsel (.1); work on application to employ special
                  litigation counsel (.4) and declaration (.3)

01-12-2007        M. Schoenike                                                           1.5            270.00
                  Draft documents for employment of Diamond McCarthy

01-15-2007        R. Charles                                                             0.2                77.00
                  Telephone call from Mr. G. Berman on employment of special
                  litigation counsel (.1) and discuss same with Mr. Walker (.1)

01-16-2007        R. Charles                                                             0.2                77.00
                  Work on Diamond McCarthy application to employ special
                  litigation counsel (.1); draft memo to Mr. A. Diamond and to
                  Mr. G. Berman on time keeping (.1)

01-17-2007        R. Charles                                                             0.5            192.50
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                  Read memo from Mr. G. Berman and work on Diamond
                  McCarthy employment application (.1); work on additional
                  revision proposed by Mr. E. Madden (.1); finalize and
                  recirculate Diamond McCarthy disclosure (.1); work with Mr.
                  Berman and again finalize Diamond declaration (.2)

01-17-2007        M. Schoenike                                                      0.9            162.00
                  Review Diamond McCarthy application to employ and
                  disclosure (.3); work on expense documentation for December
                  time (.6)

01-18-2007        S. Freeman                                                        0.1                51.00
                  Read Mr. R. Charles, Mr. G. Berman and Ms. M. Schoenike e-
                  mails re retention motion and reply re approval

01-18-2007        S. Freeman                                                        0.1                51.00
                  Read Mr. R. Charles e-mail re OST on Diamond engagement
                  and responses from M. Levinson, E. Karasik, G. Gordon, S.
                  Strong

01-18-2007        R. Charles                                                        1.3            500.50
                  Work with Mr. E. Madden on Diamond McCarthy retention
                  disclosure (.1); work with Ms. M. Schoenike on retention
                  application (.1); work with Mr. Madden on conflicts check by
                  Diamond firm (.1); work with Ms. Schoenike on expedited
                  hearing (.1); work with Mr. Madden on additional names for
                  conflict check (.1); work on application to employ Diamond
                  McCarthy as special litigation counsel (.2); draft memo to
                  counsel for Debtors, Committees and US Trustee on OST on
                  Diamond McCarthy application (.2); read memo from Mr. M.
                  Levinson approving same (.1); work on order approving
                  application (.1), order shortening time (.1), and attorney
                  information sheet (.1); read memo from Ms. E. Karasik
                  approving OST (.1); read memo from Mr. G. Gordon
                  approving OST (.1); read memo from Mr. S. Strong approving
                  OST (.1)

01-18-2007        M. Schoenike                                                      4.4            792.00
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                  Edit December invoice, meet with accounting re expense
                  reports (.5); prepare monthly statement cover sheet for Lewis
                  and Roca and Sierra (.5); e-mail to Mr. Rob Charles and Ms. S.
                  Freeman re review of statement (.1); work on Diamond
                  employment application, declaration, attorney information
                  sheet, motion to shorten notice, order shortening notice and
                  setting hearing, order authorizing employment (2.5); file,
                  docket, serve, application, declaration, attorney information
                  sheet, motion to shorten and upload order (.8)

01-19-2007        R. Charles                                                          0.3            115.50
                  Call from court staff on expedited hearing (.1); draft memo to
                  Ms. C. Laurel on notice of expedited hearing (.1); draft memo
                  to Mr. A. Diamond and Mr. G. Berman on hearing (.1); draft
                  memo to Mr. A. Landis on application (.1); work with Ms.
                  Laurel on notice of entry of order (.1)

01-22-2007        R. Charles                                                          0.1                38.50
                  Work on hearing and proof of service on retention of Diamond
                  firm as special litigation counsel

01-22-2007        M. Schoenike                                                        0.5                90.00
                  Telephone from Ms. C. Burrow re limited admission, research
                  rules, return call, e-mail forms to Ms. Burrow (.3); review court
                  calendar re hearing on employment of Diamond McCarthy and
                  e-mail Mr. Rob Charles re hearing (.1); telephone call to
                  United States Bankruptcy Court re calendar (.1)

01-23-2007        R. Charles                                                          0.1                38.50
                  Read memo from Mr. T. Burr on KPMG to prepare tax returns

01-23-2007        M. Schoenike                                                        0.4                72.00
                  Review Stipulation and order re Modification of
                  Administrative Order Establishing Procedures for Professionals
                  Compensation, update calendar re same (.2); respond to Ms. C.
                  Burrow re limited admissions, filing fee, service of documents
                  (.2)

01-24-2007        M. Schoenike                                                        0.3                54.00
                  Review e-mail from Mr. Rob Charles re revisions to Monthly
                  Fee Statement (.1); revise and finalize statements (.2)

01-26-2007        M. Schoenike                                                        0.6            108.00
                  Work on second interim application of Lewis and Roca
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01-29-2007        R. Charles                                                          0.1                38.50
                  Work with Ms. S. Freeman on Diamond McCarthy application
                  for hearing (.1)

01-29-2007        M. Schoenike                                                        0.5                90.00
                  Assist Ms. C. Burrow re pro hac applications, telephone call to
                  Mr. R. Charles re advancement of fees (.2); review verified
                  applications, designation of local counsel and requests for
                  notice, e-mail to Ms. C. Burrow re same (.3)

01-29-2007        M. Schoenike                                                        1.8            324.00
                  Work on Second Interim Application of Lewis and Roca

01-30-2007        R. Charles                                                          0.2                77.00
                  Work with Ms. M. Schoenike on application to employ
                  Diamond McCarthy (.1); draft memo to counsel on order (.1);
                  read memo from Ms. E. Karasik, Mr. A. Landis, Mr. G.
                  Garman, Mr. S. Strong, Mr. J .Herman approving order (.1)

01-30-2007        M. Schoenike                                                        1.4            252.00
                  Review various e-mail re Diamond McCarthy order (.1);
                  review order, e-mail to Ms. S. Freeman re circulation approval
                  of counsel of Diamond order (.2); review e-mail and
                  documents received from Diamond McCarthy (.2); e-mail to
                  Ms. C. Burrow re missing signatures (.1); telephone from Ms.
                  C. Burrow re filing of applications, designation of local
                  counsel, etc. (.3); e-mail to Mr. Rob Charles re circulation of
                  Diamond McCarthy order for counsel approval (.1); review
                  responses re Diamond McCarthy order (.1); work with Mr. R.
                  Charles re revisions to limited admissions, designation of local
                  counsel and e-mail to Mr. C. Burrow re same (.3)

01-31-2007        R. Charles                                                          0.1                38.50
                  Work on order for employment of Diamond McCarthy

01-31-2007        M. Schoenike                                                        1.3            234.00
                  Review file re response to September Trustee objection (.3); e-
                  mail to Ms. S. Freeman and Mr. Rob Charles, review Mr. Rob
                  Charles's responses (.2); obtain, review invoice for fee
                  application and work on fee application (.4); assist Mr. R.
                  Charles re order approving Diamond McCarthy employment,
                  review responses to order (.2); finalize and upload order (.2)

02-01-2007        M. Schoenike                                                        1.3            234.00
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                  Work on filing of applications for limited admission,
                  designations of local counsel for Diamond McCarthy attorneys
                  (1.1); e-mail to Ms. C. Arnold re chambers copy and payment
                  of filing fee to U.S. District Court (.1); e-mail to Ms. C.
                  Burrow filed copy of verified petition, designations and request
                  for notice (.1)

02-02-2007        R. Charles                                                         0.2                77.00
                  Read and respond to memo from Ms. S. Smith on KPMG (.1);
                  read memos from Ms. E. Karasik, Mr. G. Gordon and Mr. A.
                  Landis on same (.1)

02-05-2007        R. Charles                                                         0.3            115.50
                  Read memo from Ms. S. Smith and review KPMG agreement
                  (.1); work with Ms. S. Freeman on issues and forward
                  comments (.1); read memo from Ms. Freeman on approval of
                  KPMG (.1); read memo from Mr. T. Burr on KPMG (.1); read
                  memo from Ms. Freeman and response from Ms. Smith on
                  KPMG scope and timing (.1)

02-05-2007        M. Schoenike                                                       1.0            180.00
                  Respond to e-mail re receipts for filing fee (.1); E-mail to Ms.
                  C. Burrow re orders granting applications for limited admission
                  and designations of local counsel (.2); review e-mail from Mr.
                  G. Berman re employment of Santaro Driggs firm (.1);
                  continue working on response to U.S. Trustee's objection to
                  September statement, including copy costs and telephone calls
                  (.6)

02-06-2007        M. Schoenike                                                       0.2                36.00
                  Telephone from Ms. B. Piscitell re outside copying costs (.1);
                  e-mail to Ms. Piscitell re telephone charges (.1)

02-12-2007        M. Schoenike                                                       1.3            234.00
                  Work on breakdown of lumped time, including e-mails to
                  timekeepers re same (.5); edit billing WIP for time breakdown
                  (.3); work with Ms. S. Freeman re task code and time transfers
                  (.2); work with Mr. Rob Charles re review of January time (.1);
                  finalize Sierra monthly fee statement (.2)

02-13-2007        R. Charles                                                         0.2                77.00
                  Read memo from Ms. S. Smith with summary of fee
                  applications through December (.1); read Mr. LePome's
                  objection to Huston fee application (.1)
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02-14-2007        R. Charles                                                           0.2                77.00
                  Work on Lewis and Roca exhibit to interim fee application

02-15-2007        R. Charles                                                           0.1                38.50
                  Work with Ms. M. Schoenike on information needed for
                  interim fee statement on meeting expense

02-15-2007        M. Schoenike                                                         1.0            180.00
                  Review edits to billing WIP, e-mail to Ms. A. Manzionna re
                  revisions (.2); work on backup for expenses, such as travel,
                  long distance, conference calls (.8)

02-17-2007        R. Charles                                                           0.1                38.50
                  Work on costs information requested by the UST for an interim
                  fee application

02-20-2007        S. Freeman                                                           0.3            153.00
                  Review and revise draft monthly statement to meet UST
                  guidelines

02-20-2007        M. Schoenike                                                         0.5                90.00
                  Review, edit January monthly statement, e-mail to Mr. Rob
                  Charles and Ms. S. Freeman for review

02-21-2007        R. Charles                                                           0.1                38.50
                  Read memo from Ms. S. Smith on interim payment

02-21-2007        M. Schoenike                                                         0.5                90.00
                  Work with accounting re application of payment received

02-22-2007        R. Charles                                                           0.6            231.00
                  Work on telephone number inquiry for costs portion of fee
                  application (.4); work on letter to Mr. A. Landis (.1); work on
                  interim fee statements (.1)

02-22-2007        M. Schoenike                                                         2.3            414.00
                  Work with Ms. A. Manzionna re finalization of January invoice
                  (.2); work on long distance telephone log (.3); e-mail to Mr. R.
                  Charles re submission of January statement and edits (.2); work
                  on monthly statements of Lewis and Roca (.4); work on
                  expense documentation (conference calls, photocopies, etc.
                  (.3); preliminary preparation of fee application (.7); telephone
                  call to Mr. R. Charles re January expenses, submitting
                  statements, etc. (.2)
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02-23-2007        R. Charles                                                         0.1                38.50
                  Read memo from Mr. T. Burr and note Shea & Carlyon fee
                  statement

02-23-2007        M. Schoenike                                                       1.0            180.00
                  Respond to Mr. T. Burr re filing and service of monthly
                  statement (.1); review response from Mr. Rob Charles re long
                  distance calls, telephone call to Ms. B. Piscitell re same (.2);
                  review invoice and add long distance calls not included on WIP
                  (.4); file, docket and serve Sierra and Lewis and Roca Monthly
                  Fee Statements (.3);

02-26-2007        M. Schoenike                                                       1.6            288.00
                  Work with accounting re application of payments to balance of
                  first interim application, 100% costs and 80% fees for Aug.,
                  Sept. and Oct. (1.0); telephone from Ms. A. Manzionna re
                  reconciliation of application of payment (.2); e-mail to Mr. R.
                  Charles re application of payment (.4)

02-26-2007        M. Schoenike                                                       0.1                18.00
                  Review e-mail and response re fees incurred

02-27-2007        M. Schoenike                                                       0.3                54.00
                  Work with Ms. A. Manzionna and Mr. R. Charles re
                  application of payment received

03-03-2007        R. Charles                                                         0.2                 0.00
                  Draft letter to Mr. G. Berman (NO CHARGE)

03-04-2007        R. Charles                                                         0.1                38.50
                  Read memo from Mr. M. Levinson, read memo from Ms. E.
                  Karasik, and read memo from Ms. C. Carlyon on deadline for
                  interim fee applications (.1)

03-05-2007        R. Charles                                                         0.3            115.50
                  Work on stipulation as to interim fee applications, reading
                  memo from Mr. A. Parlen and draft (.1) and commenting on
                  effective date (.1), reading memo from Ms. C. Carlyon (.1) and
                  approving redraft from Mr. Parlen (.1); work on Trust
                  engagement letter (.2) (NO CHARGE)

03-05-2007        M. Schoenike                                                       0.5                90.00
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                  Review numerous e-mails re extension of deadline to file
                  interim fee applications (.2); review Third Stipulation and
                  Order re Modification of Procedures for Interim Compensation
                  and e-mail to Mr. Rob Charles re revision (.3)

03-06-2007        R. Charles                                                           0.1                38.50
                  Work on trust engagement letter (.3) (NO CHARGE); read
                  memo from Mr. A. Parlen on stipulation on deadline for
                  interim fee applications (.1)

03-07-2007        M. Schoenike                                                         0.1                18.00
                  Review various e-mails re Third Stipulation re fee application
                  (.1)

03-08-2007        M. Schoenike                                                         0.4                72.00
                  Follow up with Ms. B. Piscitell re long distance call
                  information (.1); memo and telephone call to accounting re
                  write off on long distance calls (.2); e-mail to Mr. A. Landis re
                  January charges (.1)

03-09-2007        M. Schoenike                                                         0.8            144.00
                  Work on edits to February monthly fee statement

03-10-2007        R. Charles                                                           0.2                77.00
                  Work with Mr. B. Kotter and Ms. S. Smith on RQN interim
                  billing status and draft memo to Ms. E. Karasik on same

03-12-2007        M. Schoenike                                                         0.1                18.00
                  Respond to Mr. T. Burr re February invoice

                      TOTAL FOR TASK CODE B160                                        94.6          23,401.00


             B170 FEE/EMPLOYMENT OBJECTIONS

08-11-2006        R. Charles                                                           0.3            115.50
                  Read memo from Ms. R. Beserra-McJimson with MFIM
                  interim application (.1); read memo from Ms. A. Loraditch
                  with Beckley interim application (.1); read memo from Mr. M.
                  Levinson with Orrick statement (.1); read memo from Mr. G.
                  Garman on Gordon & Silver interim fees (.1)

08-12-2006        R. Charles                                                           1.7            654.50
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                  Read memo from Ms. C. Pajak with Stutman and Alvarez
                  invoices (.1); read memo from Mr. B. Kotter with Ray Quinney
                  invoices (.1); read memo from Ms. C. Carlyon with Shea &
                  Carlyon invoices (.1); work on summaries for the committee
                  (1.5)

08-14-2006        R. Charles                                                           0.3            115.50
                  Review note supplement to fee application drafts and update
                  summary for the committee

08-15-2006        S. Freeman                                                           0.1                51.00
                  Read emails regarding fee issues from R. Charles and
                  committee member

08-21-2006        R. Charles                                                           0.1                38.50
                  Read memo from Mr. T. Burr and draft memo to Debtors'
                  counsel on fee applications

08-22-2006        R. Charles                                                           0.4            154.00
                  Work with Ms. A. Jarvis on obtaining fee application data (.1);
                  work on order for interim professional fee application
                  procedures and compensation (.1); work with Mr. L.
                  Schwartzer on obtaining debtors' applications in electronic
                  form (.1); work with Mr. T. Burr on applications for review by
                  Sierra (.2)

08-24-2006        R. Charles                                                           0.2                77.00
                  Read memos from Ms. L. Ernce, C. Pajak, G. Garman, S.
                  Strong, A. Jarvis and L. Schwartzer on issue raised by Ms. C.
                  Carlyon concerning filing fee statements with the court or
                  simply circulating them

08-25-2006        S. Freeman                                                           0.2            102.00
                  Analyze direct lender attorneys' fees issue with M. Ruth and
                  direct research re same

08-25-2006        M. Ruth                                                              4.8            960.00
                  Research re charging committee fees

08-26-2006        M. Ruth                                                              7.0           1,400.00
                  Continue research re direct lender committee attorney's fees

08-28-2006        S. Freeman                                                           0.7            357.00
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                  Analyze direct lender fees issues and research results with M.
                  Ruth (.3); search for case analysis (.3); e-mail to M. Ruth re
                  additional analysis and suggestions (.1)

08-28-2006        M. Ruth                                                                3.2            640.00
                  Additional research re attorney's fees for direct lender
                  committee

08-29-2006        S. Freeman                                                             0.2            102.00
                  Read e-mail from M. Ruth re research results and request
                  additional check re fee issue (.1); read supplemental research
                  results (.1)

08-31-2006        M. Schoenike                                                           0.4                72.00
                  Review Gordon and Silver employment application,
                  declarations, order re payment source as requested by Ms. S.
                  Freeman, e-mail and telephone call to Ms. S. Freeman re same

09-01-2006        M. Schoenike                                                           0.2                36.00
                  Assist Ms. S. Freeman re Gordon and Silver employment
                  documents

09-10-2006        R. Charles                                                             0.3            115.50
                  Direct research on the fee application objections (.1); read
                  memo from Mr. T. Burr and read Sierra analysis on fee
                  applications (.2)

09-11-2006        S. Freeman                                                             0.2            102.00
                  E-mails from and to T. Burr and R. Charles re meeting on
                  professional fee objections (0.1); read and respond to R.
                  Charles e-mail re fee objection arguments (0.1)

09-11-2006        R. Charles                                                             0.3            115.50
                  Analyze Mr. T. Burr's work and draft memo to Mr. T. Burr on
                  issues in the fee applications for possible objection (.3)

09-11-2006        S. Brown                                                               1.5            480.00
                  Work on fee application objection and research re same

09-12-2006        S. Brown                                                               5.7           1,824.00
                  Continue research re objection to fee applications (2.8); review
                  fee applications re same (2.5); telephone calls with Mr. T. Burr
                  re same (.4)

09-13-2006        S. Freeman                                                             2.6           1,326.00
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                  Work on objection to fee application, analyzing allocation
                  issues (.7); direct review of docket for fee objection analysis
                  (.1); review T. Burr analysis of fees, and e-mail to him re
                  questions (.2); telephone from T. Burr re updating analysis (.2);
                  e-mail from S. Brown re issue in cited case, and revise draft
                  objection (.2); e-mail to S. Brown re contract issue for fee
                  objection (.1); further preparation of draft fee objection (.8); e-
                  mail to and from S. Brown re expense issue (.1); review T.
                  Burr e-mail re revised fee analysis, and respond (.1); review
                  new fee analysis from T. Burr (.1)

09-13-2006        S. Brown                                                               3.3           1,056.00
                  Continue research re fee application objection and drafting
                  brief re same

09-14-2006        S. Freeman                                                             5.4           2,754.00
                  Analyze computations for fee objections with Mr. T. Burr by
                  phone (.6); review his revised computations (.2); telephone to
                  Mr. R. Charles re plan issues (.2); e-mail to and from Mr. T.
                  Burr re travel time fee issue (.1); work on analysis and
                  preparation of fee objection (1.0); e-mails re clarifications to
                  and from Mr. T. Burr (.3); direct Mr. S. Brown re checking
                  filings to clarify topic of fee application issue, and read his e-
                  mail re same (.1); direct Mr. S. Brown re research on offset
                  issue (.1); further work on analysis and drafting of fee
                  objection (2.7); e-mail to Mr. T. Burr re specific computation,
                  read his response (.1)

09-14-2006        R. Charles                                                             0.2                77.00
                  Read Ms. Chubb's limited objection to Shea & Carlyon fee
                  application (.1); work on objection to fee applications of
                  Debtors' professionals (.1)

09-14-2006        S. Brown                                                               5.5           1,760.00
                  Continue research re fee objection and continue working on
                  brief re same (3.6); continue reviewing various fee applications
                  and related documents re same (1.9)

09-15-2006        S. Freeman                                                             1.7            867.00
                  Read e-mail from committee member re fee objection (.1); read
                  e-mail from Mr. S. Brown re fee objection issues and respond
                  (.1); read and respond to Mr. S. Brown e-mail re lumping issue
                  (.1); read Mr. S. Brown e-mail with cases and request inclusion
                  (.1); review comments on draft fee objection and direct
                  inclusion (.1); review and revise redraft of fee objection (1.1);
                  work with staff on tables required by local rule (.1)
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09-15-2006        R. Charles                                                             1.8            693.00
                  Work on objection to three debtors' interim fee applications
                  (.7); research arguments as to debtors' counsel for multiple
                  estates and fiduciary duty (Westlaw) (.4); work on motion to
                  shorten time and as to notice of the objection (.1); continue
                  work on objection (.6), finalize and direct filing and service
                  (.1); calls to Ms. A. Jarvis and Mr. L. Schwartzer

09-15-2006        S. Brown                                                               4.8           1,536.00
                  Continue research re and work on fee objections (2.0); continue
                  review of documents re same (1.5); telephone calls with Mr. T.
                  Burr re same (.4); draft motion and order to exceed page
                  limitations (.9)

09-15-2006        J. Siatta                                                              0.7            101.50
                  Prepare and edit tables/index to objection to fee application per
                  local rule requirement

09-17-2006        S. Freeman                                                             0.2            102.00
                  Review U.S. Trustee objections to various fee applications

09-18-2006        S. Brown                                                               0.8            256.00
                  Review US Trustee's fee objections

09-19-2006        S. Freeman                                                             0.4            204.00
                  Review and revise draft response re motion to approve ordinary
                  course professionals (.3); e-mail to Mr. R. Charles re same and
                  communicating with debtors' professionals on motion (.1)

09-19-2006        R. Charles                                                             0.5            192.50
                  Work on response to Debtors' motion for authority to employ
                  ordinary course of business professionals (.4); finalize same
                  with input from Ms. S. Freeman (.1)

09-20-2006        R. Charles                                                             0.7            269.50
                  Telephone call from Mr. B. Kotter on deadline for reply memo
                  (.1); draft memo to Mr. Kotter (.1); review objection to fee
                  application from direct lenders (.1); review objection to fee
                  application by Milanowski (.1); telephone call from and draft
                  memo to Mr. B. Kotter on reply by Debtors' professionals on
                  their fee applications (.1); draft memo to Mr. A. Landis on U.S.
                  Trustee objection and breakdown needed for reply memo (.1);
                  draft reply memo on the JV direct lenders, McKnight and
                  Hantges/Milanowski responses (.2)
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09-21-2006        S. Freeman                                                             0.1                51.00
                  Read e-mails and drafts re extension stipulations

09-21-2006        S. Freeman                                                             0.2            102.00
                  Review and revise draft reply to fee objections, and e-mail to
                  Mr. R. Charles re question

09-21-2006        S. Freeman                                                             0.3            153.00
                  E-mails to and from Mr. R. Charles and Mr. T. Burr re Gordon
                  & Silver fee application and committee costs issues (.1); e-mail
                  to and from Mr. G. Garman and Mr. G. Gordon re fee order
                  issue (.2)

09-21-2006        R. Charles                                                             0.8            308.00
                  Finalize omnibus reply (.1); work on Westlaw issue raised by
                  Mr. A. Landis and draft letter to Mr. Landis on same (.3); work
                  on issues in the G&S fee application (.2); read memo from Mr.
                  B. Kotter and comment on stipulation as to briefing deadline
                  (.1); read correspondence on G&S understanding (.1)

09-22-2006        S. Freeman                                                             0.4            204.00
                  Conference call with E. Karasik and R. Charles re fee
                  allocation issues (.3); review T. Burr computation of debtor
                  fees allocable to direct lenders (.1)

09-22-2006        R. Charles                                                             0.6            231.00
                  Telephone call from Ms. E. Karasik and work with Ms. Karasik
                  and Ms. S. Freeman on deferring issue of fee allocation (.2);
                  read memo from Mr. T. Burr and work with Ms. S. Freeman on
                  allocation issues concerning the direct lenders and debtors'
                  professionals' claims (.2); conference with Mr. M. Levinson
                  and draft memo to counsel on agreement to defer fight over
                  allocation of Debtors' fees (.1); read memo from Mr. A. Landis
                  (.1)

09-25-2006        S. Freeman                                                             0.2            102.00
                  Read Mr. R. Charles e-mail re call with debtors and
                  committees on fee issues (.1); read e-mail from Mr. S. Brown
                  re analysis of replies to fee application objections (.1)

09-25-2006        R. Charles                                                             1.0            385.00
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                  Review stipulation as to FTDF objection to continued
                  employment of Debtors' professionals (.1); read memo from
                  Mr. T. Burr and work on letter to Ms. A. Jarvis on default
                  letters and default interest issue (.5) ; read memo from Mr. A.
                  Landis re fee objection (.1); review breakdown (.1); work on
                  information requested by UST (.3)

09-26-2006        S. Freeman                                                            0.3            153.00
                  Read e-mails from Mr. R. Charles and Mr. T. Burr re charts for
                  hearing, and respond with suggestions

09-26-2006        S. Freeman                                                            0.1                51.00
                  Read S. Strong e-mail exchange with R. Charles on ordinary
                  course professionals

09-26-2006        R. Charles                                                            0.8            308.00
                  Read Debtors' counsel's and Mesirow's reply on fee
                  applications (.2); work with Mr. S. Brown and Mr. T. Burr on
                  oral argument outline (.1); read and response to memo from
                  Mr. A. Landis on resolution of UST objection to L and R
                  interim fee request (.3); outline analysis and demonstrative
                  exhibits needed from Mr. T. Burr (.2)

09-26-2006        R. Charles                                                            0.2                77.00
                  Work with Mr. S. Strong on resolution of issues on ordinary
                  course of business professionals issues Work with Mr. S.
                  Strong on resolution of issues on ordinary course of business
                  professionals issues

09-26-2006        S. Brown                                                              1.6            512.00
                  Review Mesirow, RQN and Schwartzer replies re fee
                  objections (.6); draft summary analysis re same (1.0)

09-27-2006        S. Freeman                                                            0.9            459.00
                  Read e-mails between Ms. A. Jarvis and Mr. R. Charles on fee
                  allocation proposal and note differences to our proposal (.2);
                  review Mr. T. Burr e-mail and charts (potential exhibits) (.2);
                  telephone to Mr. T. Burr re same and hearing preparation (.2);
                  read e-mails between Mr. R. Charles and E. Karasik re fee
                  allocation issues with FTDF and analysis of debtors' allocation
                  proposal (.2); read e-mails from Mr. T. Burr and Mr. R.
                  Charles re available cash for fee payments (.1)

09-27-2006        R. Charles                                                            1.4            539.00
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                  Read Direct Lenders' position on fee applications (.1); read
                  memo from Ms. E. Karasik (.1) and read memo from Mr. A.
                  Parlen (.1) on proposed stipulation on allocation objection and
                  draft memo to FTDF counsel with proposal (.1) ; work with
                  Ms. Freeman and Mr. Burr on exhibits for hearing and issues
                  for the argument on default notices, default interest and related
                  issues (.2); read memo from Ms. Freeman and work with Mr.
                  S. Strong on employment of ordinary course of business
                  professionals (.2); locate requested application information for
                  Mr. Burr for preparation of hearing exhibits (.2); read memo
                  from Ms. A. Jarvis and call her on settlement proposal on
                  allocation issues and draft memo to Ms. Jarvis etc. on same
                  (.2); draft memo to Mr. Burr on allocation proposal by Ray
                  Quinney (.1); read Diversified's reply to UCC objection on
                  allocation issue (.1); read memo from Mr. Burr on Ray
                  Quinney settlement offer and draft memo to Ms. Freeman on
                  same (.2)

09-27-2006        S. Brown                                                             0.2                64.00
                  Continue analysis re replies to fee application objections (.1);
                  review Diversified reply re same (.1)

09-28-2006        S. Freeman                                                           0.7            357.00
                  Discuss allocation and other hearing issues with M. Levinson
                  (.3); work with A. Jarvis and Mesirow counsel on allocation
                  settlement before hearing (.4)

09-28-2006        R. Charles                                                           0.1                38.50
                  Telephone call from Mr. T. Burr on allocation issues (.1)

09-29-2006        S. Freeman                                                           0.1                51.00
                  Read e-mail from A. Jarvis to Funds committees re fee
                  allocation

09-29-2006        S. Brown                                                             0.1                32.00
                  Follow up on hearing re fee objections

10-02-2006        S. Freeman                                                           0.1                51.00
                  Review Ms. M. Schoenike/Mr. R. Charles e-mails re form of
                  fee approval order and respond re courtroom waiver

10-02-2006        R. Charles                                                           0.1                38.50
                  Read Direct Lenders' committee's application on committee
                  expenses
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10-02-2006        R. Charles                                                           0.3            115.50
                  Work with Ms. M. Schoenike on order for fee applications and
                  read memo from Mr. A. Landis on orders on other applications
                  (.1); work on order and forward to Mr. Landis (.1); read
                  Mesirow supplemental declaration and Ray Quinney
                  supplemental declaration and draft memo to Ms. A. Jarvis on
                  error in Mesirow filing (.1)

10-02-2006        S. Brown                                                             0.1                32.00
                  Continue work on fee objection issues

10-05-2006        S. Freeman                                                           0.1                51.00
                  E-mails to T. Burr and R. Charles re fee analysis

10-05-2006        R. Charles                                                           0.1                38.50
                  Read memo from Ms. A. Jarvis on Mesirow fee application
                  order and draft memo to Ms. S. Freeman on allocation issues;
                  read memo from Ms. S. Freeman to Mr. T. Burr on allocation
                  investigation

10-06-2006        S. Freeman                                                           0.5            255.00
                  Read E. Karasik and N. Peterman e-mails re allocation of
                  debtor fees, and respond re my understanding (.2); read
                  additional e-mails from E. Karasik, J. Merola and C. Carlyon
                  and respond re fee allocation (.2); read further e-mails from N.
                  Peterman and E. Karasik re same and revising order (.1)

10-06-2006        S. Freeman                                                           0.2            102.00
                  Read T. Burr e-mail response re analysis of Mesirow fees (.1);
                  read T. Burr e-mail response re R&N fee computation (.1)

10-06-2006        R. Charles                                                           0.1                 0.00
                  Read negotiations on allocation of Debtors' professionals' fees
                  and expenses (NO CHARGE)

10-09-2006        S. Freeman                                                           0.2            102.00
                  Read and respond to A. Jarvis e-mail re fee order call (.1); read
                  e-mails from others re timing (.1)

10-09-2006        S. Freeman                                                           0.8            408.00
                  Work on drafting changes to RQN fee order and send with
                  redline to counsel for debtors and other committees as proposal

10-09-2006        S. Freeman                                                           0.6            306.00
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                  Analyze alternative Mesirow fee allocations for settlement and
                  e-mail to T. Burr re computations (.3); review T. Burr
                  spreadsheet and respond with further questions (.2); read T.
                  Burr reply and R. Charles reply to D. Walker query (.1)

10-09-2006        S. Freeman                                                           1.4            714.00
                  Call with debtors and committees re form of order (.6); review
                  fee order and e-mail to all with cover note (.4); read e-mail
                  from G. Gordon re concerns with fee order language (.1);
                  revise fee order and send back with redline and comment (.3)

10-12-2006        S. Freeman                                                           0.1                51.00
                  Review and sign ordinary course professionals order

10-16-2006        R. Charles                                                           0.3            115.50
                  Read U.S. Trustee's objection to interim applications (August)
                  (.1); direct work on U.S. Trustee's inquiries and objections (.1);
                  begin letter to Mr. A. Landis (.1)

10-17-2006        S. Freeman                                                           0.1                51.00
                  Review and e-mail to L. Dorsey approval of order allowing
                  Mesirow compensation

10-19-2006        M. Schoenike                                                         0.2                36.00
                  Work on breakdown on disbursements

10-23-2006        S. Freeman                                                           0.2            102.00
                  Read revised order re Mesirow fees, and e-mail question re
                  same (.1); read e-mail response and authorize signature on
                  order (.1)

10-23-2006        R. Charles                                                           0.2                77.00
                  Read communications with Mr. L. Schwartzer and Ms. C.
                  Carlyon on interim fee order (.1); read memo from Mr. S.
                  Strong on RQN August fee statement and draft memo to Mr. D.
                  Walker (.1)

10-23-2006        R. Charles                                                           0.5            192.50
                  Work on letter to Mr. A. Landis with information requested by
                  the UST on the L and R interim fee request (.3); read memo
                  from Ms. S. Smith on information requested for payment of
                  interim fee request (.1); read memo from Mr. L. Schwartzer
                  and read memo from Ms. C. Carlyon on order concerning the
                  Schwartzer interim fee application and draft memo to Ms. S.
                  Freeman on same (.1)
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10-24-2006        S. Freeman                                                         0.3            153.00
                  Read L. Schwartzer, C. Carlyon, E. Karasik e-mail re S&M fee
                  order, and review fee objections, and send responsive e-mail
                  for UCC

10-29-2006        R. Charles                                                         0.5            192.50
                  Work on monthly fee statements and direct summary project
                  (.3); draft memo to Ms. S. Freeman and Mr. T. Burr on
                  allocation issue (.1); draft memo to Mr. G. Garman re same (.1)

10-30-2006        S. Freeman                                                         0.1                51.00
                  Read Mr. R. Charles e-mail to committee re fee statements
                  with attachments

10-30-2006        S. Freeman                                                         0.1                51.00
                  Read T. Burr analysis of fee statement allocation

10-31-2006        R. Charles                                                         0.3            115.50
                  Work with Mr. C. Jordan on summaries of fee applications and
                  interim (monthly) fee requests (.1); work on issue of Mesirow
                  August statement (.1); work on order concerning Debtors'
                  professionals' employment (.1)

11-01-2006        M. Schoenike                                                       0.5                90.00
                  Respond to Mr. R. Charles re objection deadline to Lewis and
                  Roca and Sierra's monthly statement (.2); respond to Mr. R.
                  Charles re Mesirow objection deadline (.1); letter to Ms. A.
                  Jarvis re deadline to file objection to Mesirow statement (.2)

11-02-2006        M. Schoenike                                                       0.2                36.00
                  Review revised Lewis and Roca invoice, telephone call to Ms.
                  B. Piscitell re additional edits

11-03-2006        S. Freeman                                                         0.1                51.00
                  Read Ms. M. Schoenike e-mail re fee objections deadline

11-03-2006        R. Charles                                                         0.1                38.50
                  Read memo from Ms. S. Smith on fee statements circulation

11-06-2006        R. Charles                                                         0.1                38.50
                  Draft memo to Mr. T. Burr on summary of fees for objection
                  (.1)
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11-08-2006        S. Freeman                                                          0.2            102.00
                  Review T. Burr spreadsheet on fees, and e-mail to T. Burr and
                  R. Charles re same and additional information needed

11-08-2006        R. Charles                                                          0.5            192.50
                  Read memo from Mr. T. Burr on fee analysis (.1); read memo
                  from Ms. S. Freeman on objections (.1); review and forward to
                  Mr. Burr additional fee statements (.1); communicate with
                  RQN, Mesirow and G&S on no September fee statements (.1);
                  read memo from Mr. Burr (.1); work with Mr. Burr on fee
                  analysis

11-11-2006        R. Charles                                                          0.1                38.50
                  Work with Ms. S. Freeman on Mesirow fee application and
                  objection

11-13-2006        S. Freeman                                                          0.7            357.00
                  E-mails to and from T. Burr re objectionable Mesirow fees (.1);
                  draft letter objection and send for review and inserts to T. Burr
                  (.3); recipients for objection (.1); finalize with T. Burr input
                  and send (.2)

11-14-2006        R. Charles                                                          0.2                77.00
                  Read memo from Mr. T. Burr and locate additional information
                  for his review of fee requests for potential objections

11-16-2006        S. Freeman                                                          0.2            102.00
                  Respond to G. Smith e-mail re documents needed for fee
                  payment and request M. Schoenike follow-up (.1); e-mail to T.
                  Burr re responding to A. Landis fee concerns (.1)

11-16-2006        M. Schoenike                                                        0.4                72.00
                  Review U.S. Trustee's objections to professionals monthly fee
                  statements, identify for file

11-17-2006        S. Freeman                                                          0.1                51.00
                  Read D. Monson and R. Charles e-mails re foreclosure firm
                  engagement

11-17-2006        R. Charles                                                          0.1                38.50
                  Read memo from Ms. S. Smith and response on committee
                  expenses (.1)

11-21-2006        S. Freeman                                                          0.1                51.00
                  Review and sign S&M fee order and forward
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11-22-2006        S. Freeman                                                          0.1                51.00
                  Read D. Monson and R. Charles e-mails re special counsel
                  issues

11-24-2006        R. Charles                                                          0.1                38.50
                  Read memo from Ms. S. Sherman on Shea & Carlyon monthly
                  statement

11-29-2006        R. Charles                                                          0.1                38.50
                  Note order approving Schwartzer fees; note FTI interim
                  billings (.1)

12-01-2006        S. Freeman                                                          0.1                51.00
                  E-mail to T. Burr and R. Charles re fees issue, read S. Smith e-
                  mail re IP documents and forward to committee members (.1)

12-01-2006        R. Charles                                                          0.1                38.50
                  Read memo from Mr. B. Kotter on Ray Quinney fees (.1)

12-18-2006        R. Charles                                                          0.1                38.50
                  Read memo from Mr. A. Landis and agree to delayed period
                  for objection

12-19-2006        R. Charles                                                          0.2                77.00
                  Read memo from Mesirow on its September interim statement
                  (.1); work with Ms. M. Schoenike and Mr. T. Burr on Sierra
                  interim request for payment (.1)

12-21-2006        R. Charles                                                          0.1                38.50
                  Note Mesirow October monthly statement

12-26-2006        S. Freeman                                                          0.3            153.00
                  Respond to T. Burr inquiry re objection to Sierra fee statement
                  (.1); read A. Landis objection to fee statement and send to M.
                  Schoenike with request for follow-up (.1); direct M. Schoenike
                  re her questions on same (.1)

12-26-2006        R. Charles                                                          0.1                38.50
                  Work with Ms. M. Schoenike and Ms. S. Freeman on objection
                  to interim fee request by the United States Trustee (.1); read
                  memo from Mr. T. Burr on same (.1)

12-26-2006        M. Schoenike                                                        1.6            288.00
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                  Obtain, review, identify for file, US Trustee's objections to
                  professionals monthly statements (.4); review objection to
                  Lewis and Roca statement (.3); e-mail to Ms. S. Freeman and
                  Mr. Rob Charles re response re Lewis and Roca objection (.1);
                  respond to Ms. M. Wutzig re documentation for PACER
                  expense (.1) work on preparation of chart of telephone calls,
                  copy documents for response to Trustee's objection (.7)

12-27-2006        S. Freeman                                                         0.1                51.00
                  Read emails from R. Charles, M. Levinson, A. Jarvis re
                  proceeding with Beadle McBride employment and our
                  objections (.1)

12-27-2006        R. Charles                                                         0.3            115.50
                  Read memo from Ms. A. Jarvis on Beadle McBride (.1); read
                  memo from Mr. M. Levinson on objection (.1); read memo
                  from Ms. J. McPherson on withdrawal of application (.1); work
                  on information requested by US Trustee

12-27-2006        M. Schoenike                                                       1.8            324.00
                  Prepare response re conference call charges and long distance
                  charges

12-28-2006        M. Schoenike                                                       0.2                36.00
                  Review Sierra response to U.S. Trustee's objection to monthly
                  fee statement

01-02-2007        R. Charles                                                         0.2                77.00
                  Read UST objection to firm's October interim billing (.1); read
                  UST objections to all other professionals' October interim
                  billings (.1)

01-02-2007        R. Charles                                                         0.6            231.00
                  Work on information requested by the UST for the Lewis and
                  Roca interim billing (.4) (NC); work on Callister & Reynolds
                  fee application and draft memo to Debtors' counsel (.1); draft
                  memo to Ms. S. Smith and draft memo to Mr. T. Burr on BMC
                  expense issues (.1)

01-02-2007        M. Schoenike                                                       1.3            234.00
                  Work on response to U.S. Trustee's Objection to October time

01-03-2007        R. Charles                                                         0.1                38.50
                  Work on response to UST objection to October interim
                  submission
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01-11-2007        M. Schoenike                                                             0.3                54.00
                  Review, joinder, e-mail to Mr. R. Charles re service (.1); file,
                  docket and serve joinder in objection to Callister & Reynolds
                  fees (.2);

01-17-2007        R. Charles                                                               0.1                38.50
                  Read memo from Mr. A. Landis on timing for objection to L
                  and R interim fee statement (.1)

01-23-2007        R. Charles                                                               0.2                77.00
                  Work on L and R interim statement (.1) and Sierra monthly
                  statement (.1); read memos on RQN filings (.1)

01-24-2007        R. Charles                                                               0.4            154.00
                  Read letters from RQN with interim billing; draft memo to Mr.
                  T. Burr and Mr. D. Walker (.1); skim Mr. Burr's analysis of
                  professional fees (.1); work on BMC issue with memo from
                  Mr. S. Strong (.1); read memos from Mr. Strong and Mr. Burr
                  on BMC allocation (.1)

01-25-2007        S. Freeman                                                               0.2            102.00
                  Read e-mails from G. Berman, R. Charles re RQN bills and
                  approach to analyzing and send back my suggestions

01-25-2007        R. Charles                                                               0.4            154.00
                  Work on issue of Mesirow fee application with Mr. T. Burr
                  (.1); work with Mr. D. Walker on issue of BMC fees (.1); read
                  KPMG retention declaration (.1); work with Ms. S. Freeman
                  (.1) and Mr. G. Berman on fee objections (.1); read debtors'
                  supplemental disclosure on retention applications and work
                  with Ms. Freeman on continued hearing (.1)

01-29-2007        R. Charles                                                               0.1                38.50
                  Work on Diamond McCarthy pro hac vice issues with Ms. M.
                  Schoenike (.1); note Mesirow monthly billing (.1)

01-30-2007        R. Charles                                                               0.6            231.00
                  Telephone call from Mr. A. Landis on Diamond McCarthy and
                  other fee application issues (.5); work on order to extend
                  deadline for fee applications (.1)

01-31-2007        R. Charles                                                               0.3            115.50
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                  Work on Callister & Reynolds application for compensation
                  (.1); work on UST objection to L and R interim fees in
                  September (.1); read memo from Ms. A. Jarvis and read memo
                  from Ms. E. Karasik on stipulation as to interim fee application
                  deadline (.1)

02-02-2007        R. Charles                                                          0.1                38.50
                  Read memo from Ms. A. Jarvis on deadline for interim
                  applications

02-02-2007        M. Schoenike                                                        1.1            198.00
                  Work on response to Trustee's objection to monthly statement,
                  including preparation of charts for long distance calls,
                  photocopying and conference calls (1.0); e-mail to Ms. S.
                  Freeman and Mr. Rob Charles re expense diary (.1)

02-05-2007        S. Freeman                                                          0.1                51.00
                  Telephone from G. Berman re KPMG return and report on
                  meeting

02-05-2007        S. Freeman                                                          0.1                51.00
                  Read and reply to S. Smith responses re KPMG engagement

02-05-2007        S. Freeman                                                          0.4            204.00
                  Review KPMG draft engagement letter and note concerns (.2);
                  review R. Charles and T. Burr e-mails re same, and draft
                  response e-mail to S. Smith re issues and send e-mail to G.
                  Berman re same (.2)

02-05-2007        R. Charles                                                          0.3            115.50
                  Read DTDF Committee objection to Santoro firm (.1); work on
                  information requested by the US Trustee for the interim fee
                  request (.2)

02-07-2007        M. Schoenike                                                        0.5                90.00
                  Continue working on response to September objection to
                  Monthly Fee statement

02-08-2007        R. Charles                                                          0.1                38.50
                  Work on information requested by US Trustee

02-08-2007        M. Schoenike                                                        0.4                72.00
                  Review backup for Paradigm Attorney Service re
                  pickup/delivery (.2); work with Ms. B. Piscitell and Mr. R.
                  Charles re charges (.2);
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02-09-2007        M. Schoenike                                                          0.2                36.00
                  E-mail to Mr. R. Charles re conference call and long distance
                  call charges

02-12-2007        R. Charles                                                            0.1                38.50
                  Draft memo to Ms. S. Smith with requested fee estimate (.1);
                  read memo from Mr. T. Burr with Sierra estimate (.1)

02-19-2007        S. Brown                                                              1.5            480.00
                  Work on issue re substantial contribution claim by attorney for
                  direct lenders

02-19-2007        M. Schoenike                                                          2.0            360.00
                  Research substantial contribution claims as requested by Mr. S.
                  Brown (1.1); letter to Mr. A. Landis re response to September
                  statement (.4); work on expense documentation for January
                  (.5);

02-20-2007        M. Schoenike                                                          0.5                90.00
                  Finalize letter to Mr. A. Landis re September statement (.3); e-
                  mail to Mr. R. Charles re same (.2)

02-21-2007        S. Brown                                                              2.5            800.00
                  Continue research re substantial contribution and review
                  documents re same

02-23-2007        S. Brown                                                              0.8            256.00
                  Draft insert re objection to substantial contribution motion

02-27-2007        R. Charles                                                            0.1                38.50
                  Work with Ms. M. Schoenike on application of payment

02-27-2007        S. Brown                                                              2.3            736.00
                  Work on objection re application for fees re substantial
                  contribution

02-27-2007        M. Schoenike                                                          0.1                18.00
                  Review e-mails re objections to fee applications

02-28-2007        R. Charles                                                            0.2                77.00
                  Work with Mr. E. Madden and Mr. G. Berman on Mesirow and
                  other interim fee requests
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02-28-2007        S. Brown                                                             3.4           1,088.00
                  Continue work on objection to substantial contribution
                  application

03-01-2007        S. Brown                                                             0.2                64.00
                  Continue work on objection re substantial contribution motion

03-02-2007        R. Charles                                                           0.1                38.50
                  Work on information requested by the UST on expenses

03-02-2007        S. Brown                                                             0.1                32.00
                  Follow up on substantial contribution objection

03-02-2007        M. Schoenike                                                         0.5                90.00
                  Review, work on revisions to objection to LePome's
                  application for Attorneys fees and costs,

03-03-2007        R. Charles                                                           0.3            115.50
                  Work with Mr. L. Schwartzer on Waddell / Spectrum Financial
                  claim and transition planning (.1); note objection to PBGC
                  claim and hearing (.2); draft memo to Mr. G. Berman on same
                  (.1)

03-05-2007        S. Brown                                                             0.7            224.00
                  Continue work on objection to substantial contribution motion

03-05-2007        M. Schoenike                                                         0.3                54.00
                  File, docket and serve objection and joinder in objection to
                  LePome application for compensation and costs

03-07-2007        S. Brown                                                             0.2                64.00
                  Review response re Mr. LePome's reply in support of fee
                  application

03-08-2007        S. Brown                                                             0.3                96.00
                  Continue review re reply re Mr. LePome's fee application

03-09-2007        S. Freeman                                                           0.1                51.00
                  Read e-mails from R. Charles, E. Karasik re order on RQN
                  employment, and respond

03-09-2007        S. Brown                                                             0.8            256.00
                  Continue analysis re reply re Mr. LePome's fee application
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03-12-2007        S. Freeman                                                              0.2            102.00
                  Conference with R. Charles re fee objection analysis

03-12-2007        R. Charles                                                              0.1                38.50
                  Work with Mr. T. Burr and Ms. M. Schoenike on February fee
                  statement

                      TOTAL FOR TASK CODE B170                                          108.4          36,645.50


             B180 AVOIDANCE ACTION ANALYSIS

08-02-2006        R. Charles                                                              0.7            269.50
                  Work on letter to Mr. T. Allison on demand as to fraudulent
                  transfer actions on behalf of estate(.6) after discussions with
                  Ms. S. Freeman (.1); read memo from Mr. Tucker on sale
                  issues (.1)

08-10-2006        R. Charles                                                              1.2            462.00
                  Work on complaint to avoid fraudulent transfers relative to
                  prepaid interest payments

08-11-2006        R. Charles                                                              1.2            462.00
                  Work on fraudulent transfer complaint, including analysis of
                  prepaid interest vis a vis loan summary

08-14-2006        S. Freeman                                                              3.5           1,785.00
                  Work on revisions to draft fraudulent conveyance complaint

08-14-2006        R. Charles                                                              0.5            192.50
                  Work on adversary complaint as to fraudulent transfers and
                  with input from Ms. S. Freeman (.4); draft memo to Ms. A.
                  Jarvis (.1)

08-15-2006        R. Charles                                                              0.1                38.50
                  Read memo from Ms. A. Jarvis and forward language for cover
                  letter and draft complaint to Ms. Jarvis

08-17-2006        R. Charles                                                              0.1                38.50
                  Draft memo to Ms. A. Jarvis on letter to recipients of prepaid
                  interest transfers and draft complaint

08-18-2006        R. Charles                                                              0.2                77.00
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                  Read memo from Ms. A. Jarvis on cover letter with
                  distributions on potential avoidance action (.1); draft memo to
                  Mr. T. Burr on offset issue on prepaid interest claims (.1)

08-21-2006        S. Freeman                                                           0.2            102.00
                  Revise draft cover letter for distributions and forward to Mr. R.
                  Charles after reviewing form of investor statement

08-21-2006        R. Charles                                                           0.3            115.50
                  Read memo from Ms. A. Jarvis and work on letter to
                  accompany distributions (.2); read memo from Ms. S. Freeman
                  and work on letter for Ms. A. Jarvis to accompany distributions
                  (.1)

08-22-2006        R. Charles                                                           0.1                38.50
                  Read memo from Ms. A. Jarvis and approve letter to lenders on
                  possible suit to recover prepaid interest as a fraudulent transfer

09-10-2006        R. Charles                                                           0.1                38.50
                  Read memo from Mr. T. Burr on potential avoidance actions

11-24-2006        R. Charles                                                           1.4            539.00
                  Work on complaint against Hantges, Milanowski, USAIP etc.
                  (1.0); research duties of officers and directors under Nevada
                  law (.4); draft memo to debtors' counsel on the complaint and
                  demand (.1)

                      TOTAL FOR TASK CODE B180                                         9.6           4,158.50


             B185 ASSUMPTION/REJECTION LEASES/CONTRACTS

10-03-2006        S. Freeman                                                           0.2            102.00
                  Read proposed lease rejection order and e-mail my requested
                  changes

10-17-2006        S. Freeman                                                           0.1                51.00
                  Read revised order on motion to reject leases and send e-mail
                  re approval

                      TOTAL FOR TASK CODE B185                                         0.3            153.00


             B190 OTHER CONTESTED MATTERS
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08-01-2006        M. Ruth                                                              4.8            960.00
                  Research re recoupment

08-02-2006        R. Charles                                                           0.2                77.00
                  Read memos from Ms. S. Freeman and Mr. R. McKirgan on
                  issues for litigation meeting (.1); read memo from Mr. M. Ruth
                  on Strumpf and related arguments (.1)

08-02-2006        M. Ruth                                                              5.0           1,000.00
                  Continued research re recoupment

08-03-2006        S. Freeman                                                           5.0           2,550.00
                  Meeting with FTI to valuate IP assets, joined in part by R,
                  Charles, T. Burr, M. Levinson, J. Jerrera in Las Vegas

08-03-2006        R. Charles                                                           5.2           2,002.00
                  Read memo from Mr. M. Ruth on distribution motion issues
                  research (.2); prepare for and meet with Mr. M. Levinson, Mr.
                  J. Herman, Mr. M. Tucker, Mr. T. Burr and Mr. R. McKirgan
                  on USA Investment Partners, 10-90, Inc. and litigation issues
                  (5.0)

08-03-2006        R. McKirgan                                                          5.3           2,252.50
                  Review opposition to motion to disburse and declaration of Mr.
                  M. Tucker and prepare for meeting with counsel for
                  Diversified committee (1.5); preparing on route for a meeting
                  in Las Vegas (1.0); meeting with counsel for Diversified re
                  potential IP litigation (2.8)

08-11-2006        S. Freeman                                                           0.3            153.00
                  Review draft order on distributions and R. Charles revised draft
                  and email my comments (.2); Follow up emails with R. Charles
                  and T. Burn on form of order and revision issues (.1)

08-11-2006        R. Charles                                                           1.0            385.00
                  Call to Mr. M. Levinson on investigation of the $9 million
                  issue, potential bar date and settlement ideas (.3); read memo
                  from Mr. S. Strong and Debtors' draft order on distribution
                  motion (.2); redraft order after reviewing the modifications
                  proposed in Debtors' reply, declaration, in court, and Judge
                  Riegle's ruling (.3); circulate redraft and obtain input from Ms.
                  S. Freeman and Mr. T. Burr (.1); revise draft and circulate to
                  counsel (.1); read memo from Mr. S. Strong; read memo from
                  Mr. M. Levinson
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08-14-2006        S. Freeman                                                              0.7            357.00
                  Emails regarding participation in meeting regarding IP issues
                  (.1); review draft response to motion for payment of proceeds,
                  revise and note cite needed (.3); draft insert for distribution
                  cover letter regarding same and send for comment (.3)

08-14-2006        R. Charles                                                              0.3            115.50
                  Work on short response to Mr. LePome's motion as to the
                  withheld prepaid interest

08-14-2006        R. Charles                                                              0.3            115.50
                  Telephone call from Mr. M. Tucker and Mr. M. Levinson on
                  tracing of the $9 million in the prepetition collection account

08-15-2006        S. Freeman                                                              0.1                51.00
                  Read several emails regarding interim distribution issues

08-16-2006        S. Freeman                                                              0.1                51.00
                  Emails from and to R. Charles regarding committee strategy on
                  litigation

08-16-2006        R. Charles                                                              0.1                38.50
                  Work with Ms. C. Pajak on order as to the distribution motion

08-17-2006        R. Charles                                                              0.2                77.00
                  Work on order on distribution motion; telephone call from Mr.
                  D. Harkey on servicing

08-19-2006        R. Charles                                                              0.1                38.50
                  Read filings by Kantor Group opposing Mr. LePome's motion
                  to determine rights in withheld sums and opposing Debtors'
                  request for holdbacks on continuing distributions

08-21-2006        R. Charles                                                              0.6            231.00
                  Read Debtors' opposition to motion to determine nature of
                  temporarily withheld funds (.1); note changes proposed by Mr.
                  M. Levinson on order and draft memo to Mr. Schwartzer on
                  proposed language (.1); telephone call from Ms. C. Pajak on
                  language in the proposed distribution order as well as on the
                  continuing distributions issue (.2) ; work on language to the
                  distribution order proposed by Mr. R. Kinas (.1); read memo
                  from Mr. A. Landis re same (.1)

08-22-2006        S. Freeman                                                              0.1                51.00
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                  Read e-mails re amendments to order on distribution of funds

08-22-2006        R. Charles                                                         0.6            231.00
                  Work on order concerning distributions, with input from Mr. S.
                  Strong for an objecting creditor (.1); read Mesirow weekly
                  collection report with memo from Mr. T. Burr (.1); read memo
                  from Mr. R. LePome on the order on the distribution motion
                  (.1) and review and approve revised order (.2); read memo
                  from Ms. C. Pajak and read memo from Ms. L. Davis on order
                  (.1); Work on order concerning distributions, with input from
                  Mr. S. Strong for an objecting creditor (.1); read Mesirow
                  weekly collection report with memo from Mr. T. Burr (.1); read
                  memo from Mr. R. LePome on the order on the distribution
                  motion (.1) and review and approve revised order (.2); read
                  memo from Ms. C. Pajak and read memo from Ms. L. Davis on
                  order (.1);

08-23-2006        R. Charles                                                         0.5            192.50
                  Read and respond to memo from Ms. P. Rieger on distribution
                  order (.1); read memo from Ms. C. Pajak on proposed order for
                  continuing distributions (.1); draft letter to Ms. Pajak and Ms.
                  A. Jarvis on issues with continuing distributions order (.2);
                  work on letter with proposal as to continuing distributions (.1)

08-24-2006        R. Charles                                                         1.4            539.00
                  Work on objection to continuing distribution aspect of the
                  Distribution Motion (.5); work on language in distribution
                  order with memo from Ms. J. Chubb (.1); return call to Ms. C.
                  Pajak on continuing distributions issue (.3); read memo from
                  Ms. Pajak, briefly look at Golden Plan argument and direct
                  research (.3); read memo from Ms. A. Jarvis on the continuing
                  distribution issue and our proposal (.1); note entry of order
                  authorizing interim distribution (.1); draft memo to counsel on
                  continuing distribution objection (.1)

08-29-2006        S. Freeman                                                         0.1                51.00
                  Review debtor's modified motion re monthly distributions and
                  e-mail to Mr. R. Charles re issues raised

08-30-2006        S. Freeman                                                         0.6            306.00
                  E-mail from Mr. M. Levinson re distribution order change, and
                  further revise (.2); add changes from Mr. R. Charles (.1);
                  redline and e-mail to all professionals re reasons for proposed
                  changes to order (.2); e-mail from C. Pajak re changes to
                  monthly distribution order (.1)
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08-30-2006        S. Freeman                                                             1.3            663.00
                  Further revise draft from C. Pajak, redline and e-mail back to
                  all parties with explanation (.3); telephone from C. Pajak re
                  same (.2); review and evaluate further revisions and reply re
                  reasons for approval (.2); compile additional materials for
                  hearing and meetings tomorrow (.6)

08-30-2006        R. Charles                                                             1.0            385.00
                  Read memo from Mr. B. Olson on issues raised in the order
                  concerning ordinary course releases (.1); draft memo to Mr. D.
                  Monson on same and additional issues and approving the order
                  in concept (.2); read Debtors' Modification of motion as to
                  continuing distributions and work with Ms. S. Freeman on
                  proposed resolution of Committee's objections and the
                  unresolved issues (.2); draft memo to Mr. Monson with draft
                  order (.1); work with Mr. T. Burr on issues raised on the order
                  approving distributions, sale and plan issues (.2) ; read memo
                  from Mr. Burr on additional asset issues (.1); approve order on
                  ordinary course dispositions (.1) ; note and forward objection
                  by Ms. Cunningham to Ms. Freeman for the hearing on the
                  continuing distribution issue (.1)

08-31-2006        R. Charles                                                             0.6            231.00
                  Work on motion for approval of holdbacks from continuing
                  distributions

09-01-2006        S. Freeman                                                             2.2           1,122.00
                  Revise and expand draft motion re continuing distributions

09-08-2006        R. Charles                                                             0.3            115.50
                  Work on issues in the continuing distribution motion with
                  counsel for the Direct Lenders Committee (.2) after reading
                  Diversified reply to objection (.1)

09-10-2006        R. Charles                                                             0.2                77.00
                  Sunday: Telephone call from Judge Riegle's courtroom deputy
                  (.1); review for certificate of service (.1); prepare and file and
                  serve notice of hearing and direct service by mail (.3) (NO
                  CHARGE)

09-11-2006        R. Charles                                                             0.7            269.50
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                  Return call to Mr. R. LePome on motion concerning prepaid
                  interest and claims against it, as well as to identify issues on
                  assignment of servicing contracts (.5); work with Ms. C. Laurel
                  on proof of service (.1); return call to Mr. LePome on his
                  request for a stipulation to have the investor issues determined
                  by motion (.2)

09-12-2006        S. Freeman                                                            0.2            102.00
                  Review and mark comments on draft monthly interim
                  distribution order (0.1); discuss proposed changes and others
                  with R. Charles (0.1)

09-14-2006        S. Freeman                                                            0.1                51.00
                  Review draft of IP pledge term sheet

09-14-2006        R. Charles                                                            0.5            192.50
                  Telephone call from Ms. C. Cunningham on order for
                  continuing distributions (.1); work on order for continuing
                  distributions (.5)

09-15-2006        R. Charles                                                            0.3                 0.00
                  Work on motion to exceed page limit on fee applications
                  objection, order (NO CHARGE)

09-18-2006        R. Charles                                                            0.4            154.00
                  Read memo from Mr. R. McKirgan on insurance policy inquiry
                  from Ms. A. Jarvis (.1); draft memo to counsel on the proposed
                  distribution order (.1); telephone call from Mr. R. LePome on
                  the order (.1) ; work with Ms. S. Freeman on language in the
                  continuing distribution order (.1)

09-19-2006        S. Freeman                                                            0.1                51.00
                  Direct M. Ruth re motion on direct lenders fees

09-22-2006        S. Freeman                                                            0.2            102.00
                  Review two redlines of revised order on continuing
                  distributions and discuss re same and bidding order issues with
                  R. Charles

09-25-2006        S. Freeman                                                            0.1                51.00
                  Read C. Pajak and R. Charles e-mails on continuing
                  distributions order

09-25-2006        R. Charles                                                            0.5            192.50
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                  Read memo from Ms. C. Pajak, revise and circulate order on
                  continuing distributions (.3); read memo from Ms. C. Pajak and
                  revise order on continuing distributions (.1); read memo from
                  Mr. A. Landis, Mr. G. Garman and direct follow up with Ms.
                  CiCi Cunningham on continuing distributions order (.1)

10-01-2006        R. Charles                                                          0.1                38.50
                  Work on Rule 2004 motion re USA Commercial Real Estate
                  Group

10-05-2006        S. Freeman                                                          0.1                51.00
                  Read e-mails from committee member, T. Burr and R. Charles
                  re interim distribution issue

10-05-2006        R. Charles                                                          0.6            231.00
                  Read memo from Ms. D. Sharpe on order on 2004 (.1), call Ms.
                  Sharpe, revise and resubmit order as to discovery from USA
                  CRE (.2); read Debtors' motion as to the Palm Harbor, Marlton
                  Square and short term forbearance issues and note hearing and
                  objection deadline (.2); read Debtors' motion to expedite on the
                  employee retention motion and note hearing and deadlines (.1)

10-06-2006        R. Charles                                                          0.1                38.50
                  Per the court's clerk, revise and resubmit Rule 2004 order (.1)
                  (no charge); draft brief response on motion concerning inter-
                  company claims (.1)

10-09-2006        R. Charles                                                          0.1                38.50
                  Work on response on inter-company claims (.1)

10-10-2006        R. Charles                                                          0.7            269.50
                  Telephone to Mr. A. Landis on motion concerning inter-
                  company claims after discussion with committee counsel (.2);
                  read memo from Ms. C. Pajak on stipulation concerning
                  briefing on cash budget (.1); work on stipulation concerning
                  briefing and draft letter to counsel on same (.2); draft memo to
                  Mr. A. Landis on inter-company claims proposal (.1); draft
                  memo to Ms. J. McPherson on Ex Parte Motion to Seal To File
                  Motion Under Seal (.1)

10-16-2006        R. Charles                                                          0.4            154.00
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                  Review and approve order on rejection of personal property
                  leases (.1); read Debtors' notice of hearing on employee
                  retention plan (.1); read JV Direct Lenders' joinder in UST
                  Opposition on employee retention plan (1); read Debtors'
                  redacted motion to file under seal (.1)

10-17-2006        R. Charles                                                          0.5            192.50
                  Revise joint committee objection on the inter-company claims
                  issue and check citations (.3); work on Rule 2004 discovery on
                  USA Real Estate Group (.1); telephone call from Ms. A.
                  Hansen for USA Real Estate Group (.1)

10-18-2006        R. Charles                                                          0.2                77.00
                  Identify motion issues for the Thursday hearing (.1); read
                  memo from Mr. A. Landis on the intercompany claims motion
                  and a proposed resolution (.1)

10-19-2006        R. Charles                                                          1.5            577.50
                  Prepare for hearing on Debtors' motion concerning retention
                  plan by rereading motion and declaration, Mr. T. Allison's
                  declaration, FTDF response, UST opposition and JV Lenders'
                  joinder, and debtors' reply (.4); work on subpoena to USA
                  Realty Group (.1); read memo from Ms. E. Karasik on changes
                  to the joint response on intercompany claims, revise draft and
                  circulate to interested counsel (.2); draft reply memo in support
                  of employee retention program (.2); draft declaration of Mr.
                  Burr in support of reply memorandum (.2); work with Ms.
                  Karasik on inter-company motion (.2); read memo from Mr. A.
                  Parlen and read memo from Mr. G. Garman on same (.2)

10-20-2006        R. Charles                                                          0.4            154.00
                  Work on reply in support of the employee retention motion and
                  on Mr. T. Burr's declaration (.2); work with Mr. A. Parlen et al
                  on status of the stipulated order on briefing the budget issues
                  (.1); read memo from Ms. A. Loraditch and read memo from
                  Mr. J. Hermann and direct filing of joint response on inter-
                  company claims (.1)

10-23-2006        R. Charles                                                          0.5            192.50
                  Read memo from Mr. T. Burr, finalize and direct filing of reply
                  memo on employee retention program (.1); read Debtors'
                  response to USA Real Estate motion for distribution and draft
                  joinder (.1); read FTDF limited objection to motion concerning
                  interim forbearance requests (.1); read memo from Mr. T. Burr
                  and draft memo to Mr. Burr on Marlton payoff issue (.2)
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10-24-2006        S. Freeman                                                             0.1                51.00
                  Read draft objection to Marlton forbearance and give comment
                  to Mr. R. Charles

10-24-2006        R. Charles                                                             0.7            269.50
                  Work on response to Marlton Square forbearance, addressing
                  the default interest issue (.2) Read opposition of Direct Lenders
                  Committee (.1) and joinder by Canepa in objection to Marlton
                  forbearance motion (.1) ; read Hartman limited joinder and
                  objection on Marlton loan forbearance and payoff (.1); read
                  FTDF response to Debtors' motion on the fourth cash budget
                  (.1) ; read adversary complaint on Stone Gateway (.1)

10-26-2006        S. Freeman                                                             0.9            459.00
                  Read motion to convert (.1); prepare draft joinder in debtors'
                  response (.8)

10-26-2006        S. Freeman                                                             0.1                51.00
                  Telephone from Mr. R. Charles re opposition to conversion

10-26-2006        R. Charles                                                             1.3            500.50
                  Return call to Mr. R. LePome on conversion motion (.1);
                  telephone call from Mr. R. Russell on the conversion motion
                  and its potential impact (.2); read memo from Mr. R. Russell
                  on motion (.1); read memo from Mr. T. Burr on motion (.1);
                  work on response to motion to convert (.3); work with Mr.
                  Russell on and finalize his declaration (.1); note withdrawal of
                  stay relief motion by Highland Fund (.1); read McKnight
                  joinder in motion to convert and call to Mr. R. McKnight to
                  advise him about the hearing and to briefly discuss the motion
                  (.3)

10-27-2006        S. Freeman                                                             0.2            102.00
                  Read and respond to e-mails from and to committee member
                  and Mr. R. Charles re conversion motion

10-27-2006        R. Charles                                                             0.4            154.00
                  Skim debtors' draft response to conversion motion (.1); skim
                  FTDF draft response (.1); read memo from Ms. S. Freeman,
                  finalize and direct filing of committee response to conversion
                  motion (.2)

10-29-2006        R. Charles                                                             0.3            115.50
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                  Work with Ms. A. Hansen on deposition of USA Real Estate
                  Group representative (.1); begin to prepare for the October 30
                  hearings (.2)

11-05-2006        R. Charles                                                          0.2                77.00
                  Note hearing date on motion to file under seal (.1); note appeal
                  by Prospect High Income Fund etc. on denial of claim (.1)

11-10-2006        R. Charles                                                          0.1                38.50
                  Work on order for approval of motion on Marlton Square
                  forbearance etc. (.1)

11-11-2006        R. Charles                                                          0.2                77.00
                  Note motion to file under seal by Mr. Milanowski counsel and
                  draft letter to Mr. R. Walker on same

11-12-2006        R. Charles                                                          0.1                38.50
                  Work on Debtors' motion concerning transfer of loans (.1)

11-15-2006        R. Charles                                                          0.3            115.50
                  Note order denying Milanowski/USAIP motion to file under
                  seal (.1); note continued hearing on USA Commercial Real
                  Estate Group motion (.1); draft letter to Ms. Jarvis on Binford
                  suit (.1)

11-20-2006        R. Charles                                                          0.2                77.00
                  Read answer by Gateway Stone (.1); read amended complaint
                  on Standard Property (.1)

11-21-2006        S. Freeman                                                          0.4            204.00
                  Read Mr. R. Charles responses to committee e-mails re lender
                  expenses, plan issues (.1); telephone to S. Nounna re IP
                  litigation preparation issues (.3)

11-21-2006        M. Schoenike                                                        0.3                54.00
                  Review Amended Complaint re Standard Property
                  Development LLC (.2); review Gateway Stone Associates
                  answer to complaint (.1)

11-22-2006        S. Freeman                                                          0.1                51.00
                  Read e-mails from R. Charles, R. Hainsworth re draft
                  complaint and comments on it, and request R. McKirgan
                  review

11-22-2006        R. Charles                                                          0.1                38.50
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                  Work with Ms. E. Monson on the Rule 2004 discovery of
                  USAIP

11-23-2006        S. Freeman                                                            0.1                51.00
                  Read Mr. R. Charles e-mail re IP motion for protective order
                  and read motion

11-24-2006        R. Charles                                                            0.2                77.00
                  Briefly read Milanowski motion for protective order (.1); read
                  memo from Mr. J. Hermann on Milanowski Rule 2004 exam
                  (.1)

11-26-2006        R. Charles                                                            0.3            115.50
                  Work on Reale 2004 motion and draft letter to Debtors' counsel
                  on same (.2); draft letter to Mr. R. Walker on requested
                  protective order (.2)

11-27-2006        M. Schoenike                                                          0.2                36.00
                  Review Ms. P. Rieger input on H&M complaint

11-29-2006        S. Freeman                                                            0.2            102.00
                  Read Mr. R. Charles 2004 request to Reale (.1); read e-mails re
                  2004 exam of Milanowski and order re supplemental
                  disclosures (.1)

11-29-2006        S. Freeman                                                            0.1                51.00
                  Read C. Morrison analysis re 2004 exam issues

11-29-2006        R. Charles                                                            0.2                77.00
                  Review and approve order approving supplemental disclosure
                  (.1); read memo from Ms. E. Monson and read memo from Mr.
                  J. Herman and approve Rule 2004 discovery (.1)

12-04-2006        R. Charles                                                            0.2                77.00
                  Read Binford and Copper Sage motion for temporary
                  allowance of claim for voting purposes (.1); read letter from
                  Mr. A. Smith re e-mail list (.1); read direct lenders' opposition
                  to motion concerning transfer of loans (.1)

12-05-2006        S. Freeman                                                            0.1                51.00
                  Review draft reply to Cangelosi motion and e-mails with
                  comments on it

12-06-2006        R. Charles                                                            0.1                38.50
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                  Read order on Silver Point motion to compel discovery and
                  approve (.1)

12-09-2006        R. Charles                                                             0.5            192.50
                  Note order denying Milanowski protective order (.1); read Hall
                  Financial Group declaration concerning the transfer of loan
                  procedure (.1); read Debt Acquisition Group response to
                  motion (.1); read Debtors' response and work on response on
                  Milanowski motion for a protective order (.2)

12-11-2006        S. Freeman                                                             0.2            102.00
                  E-mail from Mr. C. Hainsworth re settlement conference and
                  meeting, check order and respond re location (.1); e-mails to
                  and from Mr. R. Charles re same and rescheduling meeting (.1)

12-11-2006        R. McKirgan                                                            1.5            637.50
                  Review draft complaint

12-12-2006        S. Freeman                                                             5.0           2,550.00
                  Participate in settlement conference for DTDF - USACM
                  disputes

12-13-2006        R. Charles                                                             0.2                77.00
                  Note status hearing on motion for approval of procedure
                  regarding assignments of direct lenders' interests (.1); read
                  motion for Loob Rule 2004 examination prior to confirmation
                  hearing (.1)

12-15-2006        R. Charles                                                             0.2                77.00
                  Read USAIP motion to quash examinations under Rule 2004
                  (.1); work on motion to extend page limits on reply brief (.1)

12-17-2006        R. Charles                                                             0.4            154.00
                  Work with Mr. J. Hinderaker on Del Bunch 2004 examination
                  (.1); draft memo to Ms. A. Jarvis on Loob deposition planning
                  (.2); work with Ms. Jarvis on Loob deposition and Fifth
                  Amendment (.1)

12-18-2006        R. Charles                                                             0.3            115.50
                  Note order on Del Bunch 2004 exam (.1); read memo from Mr.
                  L. Schwartzer on the deposition scheduling (.1); read
                  Milanowski supplement to motion for protective order (.1)

12-20-2006        R. Charles                                                             0.1                38.50
                  Work on status of adversary complaints
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12-21-2006        M. Schoenike                                                          0.3                54.00
                  Review summons, calendar scheduling conference and
                  deadline to file answer (.2); respond to Mr. R. Charles re
                  adversary report (.1)

12-26-2006        S. Freeman                                                            1.0            510.00
                  Read draft complaint re Royal Hotel and emails re draft from
                  C. Monson, M. Levinson, A. Jarvis, J, Herman and C. Harvick
                  (.3); send email to R. Charles re USACM issue on draft
                  complaint (.1); read R. Charles response to email re Reale
                  complaint, respond to him and read reply (.1); read A.
                  Loraditch email re Royal Hotel sale (.1); analyze potential
                  defense to litigation for discussion with Trustee (.4)

12-26-2006        R. Charles                                                            0.1                38.50
                  Read BAP orders on Standard Property appeal and its potential
                  dismissal (.1)

12-26-2006        M. Schoenike                                                          1.8                 0.00
                  Print adversary dockets, complaints, create filebacks, update
                  index (NO CHARGE)

12-26-2006        M. Schoenike                                                          2.1            378.00
                  Review updated adversary dockets, review complaint, prepare
                  report on causes of action of complaints (1.6); update calendar
                  re adversary deadlines (.5)

12-27-2006        S. Freeman                                                            0.2            102.00
                  Read emails re Royal Hotel complaint and escrow
                  disbursements from M. Tucker, R. Charles, A. Loraditch, M.
                  Levinson, and respond (.2);

12-27-2006        M. Schoenike                                                          1.4            252.00
                  Prepare Notices of Appearance and Request for Notice in all
                  adversary proceedings for Mr. Rob Charles (.7); obtain, review
                  bankruptcy dockets for involuntary proceedings of Tree Moss
                  and US Investors VI involuntaries (.2); review e-mail from Mr.
                  Rob Charles re Royal Hotel matter (.2); draft Notice of
                  Appearance and Request for Notice in involuntaries (.3)

12-28-2006        S. Freeman                                                            0.3            153.00
                  Read Mr. R. Charles changes to draft protective order and send
                  him e-mail with additional comments and suggestions
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12-28-2006        S. Freeman                                                          0.2            102.00
                  Read draft protective order and discuss comments with Mr. R.
                  Charles

12-28-2006        R. Charles                                                          1.6            616.00
                  Listen to the hearing on the application for TRO in USACM
                  and Diversified vs. HMA Sales and Reale (.8); work on
                  language for USAIP/Milanowski protective order and forward
                  to counsel (.7); read memo from Ms. S. Freeman (.1); work on
                  and recirculate protective order (.1)

12-29-2006        S. Freeman                                                          0.1                51.00
                  Read G. Hermann and M. Levinson e-mails re discovery issues

12-29-2006        S. Freeman                                                          0.1                51.00
                  Read draft prejudgment writ pleadings and e-mails re same
                  from debtor and DTDF counsel

12-29-2006        R. Charles                                                          0.5            192.50
                  Read memo from Ms. E. Monson on Milanowski comments on
                  protective order (.1); work with Ms. S. Freeman on same (.1);
                  draft memo to and call to Ms. Monson on same (.2); work with
                  Mr. M. Levinson on issues (.1)

12-29-2006        M. Schoenike                                                        0.7            126.00
                  Edit (eleven) Notices of Appearance and Request for Notices
                  (.6); e-mail to Mr. R. Charles re same (.1)

01-01-2007        R. Charles                                                          0.5            192.50
                  Read memo from Mr. M. Levinson and work on stipulated
                  protective order requested by USAIP and Milanowski (.3);
                  work with Ms. M. Schoenike on Nevada State Bank discovery
                  for USACM and Haspinov financials (.2); read and draft memo
                  to Mr. L. Schwartzer on Great White discovery (.1)

01-02-2007        S. Freeman                                                          0.4            204.00
                  Read revised draft protective order and e-mail from E. Monson
                  re same, e-mails from and to M. Levinson, and respond with
                  proposal to handle (.2); e-mail to G. Berman re issues and
                  impact on him as trustee (.1); telephone from G. Berman re
                  same (.1)

01-02-2007        S. Freeman                                                          0.2            102.00
                  Read M. Levinson, J. Hermann and R. Charles e-mails re
                  protective order issues, and respond with comments on waiver
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01-02-2007     S. Freeman                                                           1.2            612.00
               Read e-mails from S. Smith, R. Charles, S. Strong re holdback
               issue; read and respond to M. Levinson e-mail re protective
               order (.1); read E. Morrison e-mail re privilege for IP, and
               check for research re same (.3); review cases and send to E.
               Morrison and others with explanation (.8)

01-02-2007     R. Charles                                                           1.3            500.50
               Work on motion for protective order with Ms. S. Freeman (.1);
               work with Mr. M. Levinson and Ms. S. Freeman on protective
               order issues (.1); read memo from Ms. E. Monson on records
               and protective order issues (.1); begin research of waiver of
               attorney-client privilege in joint control/ownership situations
               (Westlaw) (.4); read Debtors' notice of filing direct lender
               information under seal (.1); work on Walch and Kehl
               adversaries and draft memo to Debtors counsel (.1); read
               memos from Mr. M. Levinson, Ms. E. Monson, and Ms. S.
               Freeman on the Milanowski protective order (.3); continue
               research on waiver of attorney-client privilege (.2)

01-02-2007     M. Schoenike                                                         1.2            216.00
               Work on Notices of Appearance in adversary cases (.9); file,
               docket, serve notices (.3)

01-03-2007     R. Charles                                                           1.7            654.50
               Read stipulated order continuing dispute as to assignments of
               loan interests (.1); skim Debtors' proposed changes to the
               USAIP/Milanowski protective order (.1); work with Ms. S.
               Freeman on the confidentiality/privilege issues raised (.1);
               meet with Mr. T. Allison, Mr. M. Levinson, Ms. E. Monson,
               Ms. A. Jarvis, Mr. C. Harvick, Ms. S. Smith on issues in the
               proposed protective order (.8); then meet with Mr. R. Walker,
               USAIP counsel, Mr. Levinson, Ms. Monson and Ms. Jarvis on
               the protective order (.3); work on draft protective order and
               circulate to Debtors' and committee's counsel (.3)

01-04-2007     S. Freeman                                                           3.2          1,632.00
               Read revised draft of protective order and discuss concerns
               with Mr. R. Charles (.2); work on revisions to protective order
               (1.1); discuss concerns with Mr. R. Charles (.1); further revise
               and send to him (1.2); telephone from Mr. M. Levinson re
               additional changes to draft protective order (.3); revise draft
               and send to DTDF and Mr. R. Charles with comments (.3)

01-04-2007     R. Charles                                                           0.5            192.50
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               Work on issues in the Milanowski/USAIP protective order and
               privilege concerns (.2); work on electronic "documents" and
               privilege issues (.1); work on preserving the privilege against
               USAIP review (.1); review revisions to protective order and
               forward to Debtors' and Diversified's counsel for suggestions
               (.1)

01-05-2007     R. Charles                                                          0.8            308.00
               Note order denying Standard Property motion to expedite (.1);
               work with Ms. J. Chubb and Mr. S. Strong on Kehl adversary,
               objection to claim, and then after with Ms. Chubb on Colt and
               related issues (.5); draft memo to debtors' counsel on additional
               transfers to Reale (.2); read memo from Mr. Strong on same
               (.1)

01-05-2007     M. Schoenike                                                        1.0                 0.00
               Review of conflicts for adversary matters (NO CHARGE)

01-08-2007     S. Freeman                                                          2.4          1,224.00
               Return Mr. M. Levinson call re protective order (message) (.1);
               telephone from Mr. M. Levinson re protective order issues (.2);
               work on revisions to draft protective order and send to E.
               Monson and M. Levinson (.9); telephone from E. Monson re
               protective order issues (.8); further revise protective order and
               send redline to E. Monson and M. Levinson to discuss (.4)

01-08-2007     R. Charles                                                          0.2                77.00
               Read memo from Ms. E. Monson on protective order and work
               with Ms. S. Freeman and Mr. M. Levinson on same (.1); work
               with Ms. Freeman on the electronic records issue (.1); call to
               Mr. M. Pugsley on meeting with SEC (.1)

01-08-2007     M. Ruth                                                             4.4            880.00
               Research re ability of Mr. Milanowski or IP to claim privilege
               for documents stored with USACM documents (3.5); draft
               memo re same (.9)

01-09-2007     S. Freeman                                                          0.3            153.00
               Read E. Monson e-mail to IP counsel re transmittal of draft
               protective order, and send to committee members and to Mr. G.
               Berman with explanation (.2); respond to e-mails from Mr. G.
               Berman and P. Rieger (.1)

01-09-2007     S. Freeman                                                          0.5            255.00
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               Read E. Monson response e-mail, and M. Levinson e-mail re
               protective order reply re same (.1); e-mail draft to R. Charles
               for additional input, review his changes (.1); discuss protective
               order and litigation issues with R. Charles (.1); read E. Monson
               e-mail re final draft for circulation and respond and incorporate
               R. Charles changes, redline and send with explanation (.2)

01-09-2007     S. Freeman                                                          0.1                51.00
               Read e-mail from E. Monson re additional changes and
               analysis and send reply

01-09-2007     S. Freeman                                                          2.4          1,224.00
               Participate in call with Mr. M. Levinson and E. Monson re
               protective order and changes to draft (1.2); further revise draft
               protective order and resend (.9); telephone from Mr. R. Charles
               re allocation of overbid dispute (.1); read e-mails between Mr.
               R. Charles and C. Hainsworth re document production when
               I'm in Las Vegas (.1); read debtor opposition to motion to
               quash and follow-up for related documents (.1)

01-09-2007     S. Freeman                                                          0.2            102.00
               Telephone from Mr. M. Levinson re additional changes to draft
               protective order (.1); make changes and resend to E. Monson
               and M. Levinson (.1)

01-09-2007     R. Charles                                                          0.7            269.50
               Note entry of Rule 2004 order (.1); draft memo to Mr. C.
               Hainsworth on discovery sought from Nevada State Bank (.1);
               work with Ms. S. Freeman on Milanowski protective order
               issues (.2); review Milanowski request for a protective order
               and evidentiary support (.1); work on discovery stipulation
               with USAIP (.2)

01-09-2007     M. Schoenike                                                        0.5                90.00
               Review e-mails from and respond to Mr. R. Charles re Nevada
               State Bank 2004 production of documents (.1); draft Amended
               order re Nevada State Bank production, finalize, and e-mail to
               Mr. Rob Charles for review (.3); upload order (.1)

01-10-2007     S. Freeman                                                          2.5          1,275.00
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               Read e-mail from Mr. M. Levinson, K. Breen re debtor
               concerns on protective order and Mr. R. Charles e-mail and call
               Mr. R. Charles re same (.2); telephone to Mr. M. Levinson re
               issues, and attempt to join K. Breen (.3); return Mr. C.
               Hainsworth call re protective order issue (.2); call with Mr. M.
               Levinson, in part K. Breen and in part R. Charles re protective
               order (.6); work on redraft (.4); further discuss issues with Mr.
               R. Charles (.2); telephone from Mr. M. Levinson and add Mr.
               R. Charles re agreement in court on protective order (.3); e-
               mail to and call from K. Breen and add Mr. M. Levinson to
               further discuss protective order issues (.2); read J. Herman
               report on litigation hearing and e-mail report to G. Berman on
               protective order status (.1)

01-10-2007     S. Freeman                                                           0.1                51.00
               Read and respond to G. Berman e-mail re protective order

01-10-2007     R. Charles                                                           0.5            192.50
               Read memo from Mr. K. Breen on protective order (.1);
               telephone call from Mr. M. Levinson on same (.1); draft memo
               to Mr. Breen (.1); telephone call from Mr. Breen on protective
               order (.1); work with Mr. Levinson and Ms. S. Freeman on
               strategy for USAIP and Milanowski protective order and
               privilege claims (.2)

01-10-2007     M. Schoenike                                                         0.2                36.00
               Review draft protective order and e-mail from Ms. S. Freeman
               re same

01-11-2007     S. Freeman                                                           0.2            102.00
               E-mails from and to Mr. M. Levinson re protective order
               revisions from IP

01-11-2007     R. Charles                                                           0.2                77.00
               Read memo from Mr. K. Breen on production and protective
               order (.1); skim Mr. Breen's redraft and respond to inquiry
               from Mr. M. Levinson on same (.1)

01-12-2007     S. Freeman                                                           0.1                51.00
               E-mail to K. Breen re protective order issue for M. Levinson
               and committee

01-12-2007     S. Freeman                                                           0.2            102.00
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               Read e-mails from Mr. R. Charles and L. Schwartzer re
               dismissal of Hautges complaint v. USACM (.1); read draft
               supplement to objection to USA Realty distribution motion and
               e-mail re same (.1)

01-12-2007     S. Freeman                                                          1.0            510.00
               Telephone to Mr. M. Levinson (message) and telephone from
               Mr. M. Levinson re protective order issues (.7); follow-up call
               from Mr. M. Levinson to further discuss protective order (.3)

01-12-2007     S. Freeman                                                          0.1                51.00
               Review and mark notes on IP draft of protective order for
               discussion

01-12-2007     R. Charles                                                          0.1                38.50
               Work with Ms. S. Freeman and Ms. E. Monson on status of IP
               protective order; read memo from Ms. S. Freeman on same;
               read memo from Ms. Monson on same

01-13-2007     S. Freeman                                                          2.3          1,173.00
               Mark revisions to IP version of protective order and send to A.
               Diamond, G. Berman and R. Charles with lengthy explanation
               of issues and background information (1.9); send e-mail to K.
               Breen re some of issues with IP version of protective order,
               copy to Monson and Levinson (.3); e-mail to A. Diamond, G.
               Berman and R. Charles re same and comments (.1)

01-15-2007     S. Freeman                                                          0.3            153.00
               Read e-mail from K. Breen re protective order comments and
               forward to A. Diamond with request (.1); return M. Levinson
               call re protective order follow-up (.1); read E. Monson call re
               protective order issues (.1)

01-16-2007     S. Freeman                                                          0.1                51.00
               E-mail to and from E. Madden re privilege issues

01-16-2007     S. Freeman                                                          2.5          1,275.00
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               Participate in call with M. Levinson, E. Monson and in part K.
               Breen re protective order issues, while drafting language for
               notice to court (1.1); telephone to R. Charles re protective order
               proposal (.1); read e-mails from M. Levinson , E. Monson and
               K. Breen re same (.1); review revised draft language for court
               notice re protective order and send e-mail to K. Breen, M.
               Levinson and E. Monson re same (.1); work on revisions to
               draft protective order and e-mail to E. Monson and M.
               Levinson (.8); telephone from M. Levinson re same (.1); send
               redraft with redline to Breen, M. Levinson, E. Monsoon with
               comments (.2)

01-16-2007     S. Freeman                                                           0.2            102.00
               Read Mr. E. Madden comments on protective order and discuss
               by phone with him

01-16-2007     R. Charles                                                           0.3            115.50
               Work with Ms. E. Monson, Mr. M. Levinson, Ms. S. Freeman
               on USAIP protective order and privilege review (.1); read
               exchanges among counsel on USAIP protective order and work
               with Ms. Freeman on dealing with the documents (.1); work
               with Ms. Freeman on Diamond McCarthy views on protective
               order (.1)

01-17-2007     S. Freeman                                                           1.1            561.00
               Read supplement to objection to Crow distribution (.1); read
               letter re motion for appellate stay to BAP (.1); read M.
               Levinson and S. Strong e-mails re stay issues and opt out (.1);
               participate in call with committee and debtor professionals re
               opt out and stay (.8)

01-17-2007     S. Freeman                                                           0.2            102.00
               Respond to K. Breen re status of protective order review (.1);
               read M. Levinson e-mail re protective order and K. Breen reply
               (.1)

01-17-2007     S. Freeman                                                           0.1                51.00
               Read M. Levinson and E. Karasik e-mails re stay arguments
               and cases

01-17-2007     S. Freeman                                                           0.1                51.00
               Read Mr. M. Levinson e-mail re DTDF view of temporary stay
               and S. Strong and E. Karasik e-mails re same

01-17-2007     S. Freeman                                                           0.1                51.00
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               Read and respond to e-mails from Mr. J. McPherson, Mr. R.
               Charles, Mr. E. Karasik re responding to BAP inquiry re
               temporary stay

01-17-2007     R. Charles                                                           0.2                77.00
               Note dismissal of third party complaint against USACM by
               Hantges and Milanowski in the Nevada State Bank action (.1);
               finalize joinder in opposition to USA CREG distribution and
               direct filing and service (.1); read correspondence as to USAIP
               protective order (.1)

01-18-2007     S. Freeman                                                           4.2          2,142.00
               Read Mr. R. Charles e-mail re known information about stay
               request and order and e-mails from Mr. M. Levinson and Mr.
               E. Karasik re strategy (.1); telephone to Mr. R. Charles re stay
               issues (.1); read order granting temporary stay and Mr. R.
               Charles e-mail re expediting logistics (.1); read debtor's
               elections to district court and A. Jarvis, C. Carlyon and R.
               Charles e-mails re same (.1); read letter to BAP and e-mails re
               same (.1); read draft motion to quash and begin edits (.9);
               obtain and review motion for stay (.3); e-mail to Ms. J.
               McPherson re timing of BAP ruling and letter to BAP (.1);
               telephone to Ms. J. McPherson per her response, and discuss
               BAP action (.2); further work on draft motion to quash and
               send e-mail of draft opening to all (1.3); read Mr. M. Levinson
               response and proposed language (.1); further revise draft
               motion, redline and send to all for comment (.6); read Mr. R.
               Charles additions to draft (.1); read Ms. J. McPherson e-mails
               re BAP filing and e-mail from S. Strong re BAP docket (.1)

01-18-2007     S. Freeman                                                           1.1            561.00
               Read Ms. J. McPherson e-mail re appeal and transcripts of
               confirmation hearing for citations (.2); read P. Hunt revised
               draft of motion to quash (.1); read A. Palen e-mail and bond
               calculation (.1); participate in call with debtors and committees
               re motion to quash and bond (.5); e-mail to A. Parlan re
               additional language for motion to quash (.1); read A.
               Schwartzer additional language and notice of transfer (.1)

01-18-2007     S. Freeman                                                           0.5            255.00
               Telephone from Mr. M. Levinson re protective order issues
               (.2); review new draft of motion to quash and C. Carlyon
               addition (.1); e-mail my response and suggested change (.1);
               read final changes from Mr. M. Levinson and send e-mail to all
               with authorization to sign (.1)
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01-19-2007     S. Freeman                                                           1.0            510.00
               Respond to M. Levinson e-mail re protective order (.1); work
               on revisions to protective order, redline and send to E. Monson
               and M. Levinson (.9)

01-19-2007     S. Freeman                                                           0.3            153.00
               Review K. Breen markup of draft protective order (.1); e-mail
               to E. Madden, from E. Madden and reply re same (.1); respond
               to E. Monson e-mail re protective order revisions (.1)

01-19-2007     S. Freeman                                                           0.2            102.00
               Telephone from Mr. M. Levinson re proposed amendments to
               protective order

01-19-2007     S. Freeman                                                           1.6            816.00
               Telephone from Mr. M. Levinson and E. Monson re protective
               order issues (.3); further revise protective order, redline, and
               send with explanation of changes to K. Breen (.5); forward to
               A. Diamond with note (.1); read e-mails from E. Karasik, G.
               Gordon re B. Russell loan proposal; read e-mails from L.
               Schwartzer, E. Karasik re appeal reassigned (.1); telephone to
               Mr. R. Charles re hearing attendance (.1); respond to e-mails re
               hearing and new judge and read responses from other counsel
               (.1); read LPG opposition to motion to quash and evaluate
               agreements (.2); telephone to Mr. R. Charles re delay changes,
               forms at hearing and preparation, and in part add J. Merola (.2)

01-19-2007     S. Freeman                                                           0.2            102.00
               Review filings re stay on appeal and contacting court to
               expedite and e-mails re same

01-21-2007     S. Freeman                                                           2.9          1,479.00
               Revise draft opposition to stay and e-mail to all professionals
               (2.0); review draft reply re motion to quash and e-mail
               comments re same (.3); read revised draft of reply and send e-
               mail to S. Strong and C. Schwartzer re timing issue (.1);
               respond to return e-mail from S. Strong re question on same
               (.1); read numerous e-mails re draft briefs from S. Strong, J.
               Herman, G. Gordon and R. Charles and respond to G. Gordon's
               points (.2); respond to S. Strong e-mail re case law (.1); read A.
               Jarvis and C. Carlyon e-mails and revisions re points to cover,
               and F. Mersla, J. Herman, R. Charles and G. Gordon e-mails re
               views on same (.1)

01-21-2007     R. Charles                                                           0.1                38.50
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               Read order denying Binford motion for preliminary injunction
               and continuing restraint on funds in account

01-22-2007     S. Freeman                                                             1.0            510.00
               Read G. Gordon e-mail re proposed edits to stay objection, and
               respond (.1); read R. Charles e-mails re unable to get to hearing
               and C. Carlyon e-mails re pre hearing call (.1); telephone to R.
               Charles to discuss and strategy (.1); respond to C. Hainsworth
               e-mail re handling hearing (.1); read DTDP joinder in motion
               to quash and send e-mail to R. Charles re same (.1); review IP's
               revised draft of protective order and e-mail (.1); review E.
               Madden e-mail re Diamond input on protective order (.1); send
               e-mail to M. Levinson and E. Monson re thoughts on IP's
               redraft and comments (.1); send e-mail to E. Madden and A.
               Diamond re analysis of issues in IP redraft (.2)

01-22-2007     S. Freeman                                                             1.7            867.00
               Participate in strategy call with professionals re motion for
               protective order hearing arguments (1.1); respond to K. Breen
               e-mail re status of protective order draft (.1); read revised draft
               of opposition to stay motion and e-mail my comments to
               drafters (.2); review comments and suggested changes from
               other professionals, and e-mail my suggestions back (.3)

01-23-2007     S. Freeman                                                             0.1                51.00
               Read M. Levinson's email regarding protective order
               confidentiality issue and forward to E. Madden with inquiry
               (.1)

01-23-2007     S. Freeman                                                             2.7          1,377.00
               Read Kvarda and Allison declarations and final opposition to
               stay brief, and email to R. Charles regarding same (.1); work
               on outline of additional points for appellate stay argument to be
               made for UCC (1.8); telephone call from C. Hainsworth
               regarding stay issues (.2); further revise outline and send to R.
               Charles for input (.4); Review form of order granting Motion to
               Quash (.1); read emails from R. Charles , A. Jarvis, J. Meida
               regarding LPG's Notice of Intent Motion to Seek Further Stay,
               and read Notices (.1); emails from and to C. Hainsworth
               regarding appeal and stay (.1)

01-23-2007     S. Freeman                                                             2.6          1,326.00
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               Telephone call from M. Levinson regarding protective order
               issues (.1); work on revisions to protective order draft (.3); read
               and respond to E. Madden's emails regarding same (.1); read E.
               Monson's email regarding electronic document issue and
               forward to E. Madden (.1); participate in call with M.
               Levinson, E. Madden and E. Monson regarding protective
               order issues (.7); further revise protective order and send with
               redline and comments to M. Levinson, E. Madden and E.
               Monson (.9); Read email from E. Madden regarding imaging
               timing (.1); check cases for privilege issue for protective order
               (.2); read USACM's Amended Complaint v. Reale (.1)

01-23-2007     M. Schoenike                                                          0.2                 0.00
               Review Reale Amended Complaint (NO CHARGE)

01-24-2007     S. Freeman                                                            4.0          2,040.00
               Read email from E. Madden regarding protective order issue
               and respond (.1); revise protective order redlining and send for
               approval by E. Monson with explanation (.2); read email from
               E. Monson and draft explanatory email to K. Breen regarding
               protective order changes and reasons (.3); email to E. Monson,
               M. Levinson and E. Madden regarding further concern and
               proposed alternate (.2); read their response (.1); further revise
               and redline protective order (.5); revise and send email to K.
               Breen (.2); work on revisions to draft Allocation Motion and
               Fasel Declaration (2.4)

01-25-2007     S. Freeman                                                            0.1                51.00
               Read motion for restrain foreclosure and Mr. R. Charles e-mail
               to committee re same

01-25-2007     S. Freeman                                                            4.2          2,142.00
               Review e-mails, analyses and drafts relating to allocation issue
               to prepare motion re same (3.9); discuss questions re same with
               Mr. R. Charles and joint call to S. Strong (.3)

01-25-2007     S. Freeman                                                            4.0          2,040.00
               Telephone from Mr. M. Levinson re any response from K.
               Breen and read his e-mail re same (.2); further work on
               allocation motion and declaration (2.4); send draft declaration
               to debtor's counsel and W. Fasel to discuss with debtor their
               computations' attachments (.2); discuss allocation issues with
               Mr. R. Charles (.3); e-mail to Mr. T. Burr re allocation analysis
               issues with attachments (.2); further work on draft motion re
               allocation (.7)
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01-26-2007     S. Freeman                                                          2.1          1,071.00
               Revise draft supplemental disclosure and e-mail to Mr. R.
               Charles/Ms. M. Schoenike re same (.1); read e-mail from Mr.
               R. Charles re FTDF motion re allocation, motion, declaration
               and notice, and note issues (.2); e-mail to Mr. R. Charles re
               same (.1); review and revise draft minutes of meeting (.2); read
               draft HMA complaint and e-mail my suggestions to Mr. R.
               Charles, passed to J. Herman and L. Schwartzer (.2); review
               revised allocation analysis by Mr. T. Burr and send e-mail to
               him re same (.2); read IP revision to draft protective order and
               note concerns (.1); discuss by phone with E. Monson (.2); mark
               proposed changes to draft and prepare redline (.3); send e-mail
               to Mr. M. Levinson, E. Monson, E. Madden and Mr. R. Charles
               re concerns and proposals for new language (.1); draft
               proposed explanation e-mail to IP and send to E. Monson, M.
               Levinson, E. Madden and R. Charles for comment (.2);
               participate in follow-up call re further revisions with Mr. M.
               Levinson, E. Monson and Mr. R. Charles (.2)

01-26-2007     R. Charles                                                          0.7            269.50
               Read memo from Ms. S. O'Connell on protective Order (.1);
               read memo from Ms. S. Freeman (.1) in order to participate in
               call with Mr. M. Levinson, Ms. E. Monson, Mr. E. Madden and
               Mr. B. Molinski on IP protective order (.3); work on memo to
               USAIP counsel on revision (.1); work with Mr. Levinson on
               revision (.1); read memo from Ms. Monson and finalize memo
               to IP counsel (.1); read memo from IP counsel (.1)

01-29-2007     S. Freeman                                                          0.1                51.00
               Read Mr. R. Charles e-mail to debtors re allocation
               depositions, and respond to all re timing

01-29-2007     S. Freeman                                                          0.2            102.00
               Telephone to Mr. M. Levinson (message) and send e-mail to
               USAIP re status and information needed (.1); telephone from
               Mr. M. Levinson re same and changes to draft (.1)

01-29-2007     S. Freeman                                                          0.6            306.00
               Revise draft protective order per discussions with Mr. M.
               Levinson and redline and send to our side for review (.3); read
               e-mail from E. Monson re client review, and send e-mail to Mr.
               G. Berman for approval (.1); correct errors and e-mail to IP for
               input on revisions to protective order (.2)

01-29-2007     S. Freeman                                                          0.1                51.00
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               Read BAP order re Standard Property appeal

01-29-2007     S. Freeman                                                         0.6            306.00
               Read proposed revision to protective order and materials from
               Ablamo LLC from IP counsel and read E. Madden analysis and
               proposal re information request (.2); read IP request for urgent
               reply and e-mail my response and suggestions to our side for
               input (.2); read Mr. R. Charles e-mail re interpleader fee
               request, Mr. G. Berman e-mail re same (.1); respond to Mr. G.
               Berman re interpleader, read his response and send reply (.1)

01-29-2007     R. Charles                                                         0.3            115.50
               Read correspondence on USAIP protective order and electronic
               documents (.1); read memos on Bunch discovery requests (.1);
               read Cross Development opposition to motion to stay Texas
               foreclosure (.1)

01-30-2007     S. Freeman                                                         0.7            357.00
               Discuss concerns with protective order with C. Harwick and E.
               Monson, and draft revised language (.3); calls with E. Monson
               to IP counsel and reach agreement on protective order language
               (.2); joint review of protective order by e-mail and confirm
               authorization to sign for committees (.2)

01-30-2007     B. Griffin                                                         0.5            170.00
               Begin analyzing motion to confirm plan and cited cases about
               binding nature of the plan

02-02-2007     S. Freeman                                                         0.1                51.00
               Review motion to dismiss appeal as filed and e-mails from T.
               Allison, F. Merola, A. Jarvis re Cangelosi statements

02-02-2007     S. Freeman                                                         0.2            102.00
               Read R. Charles and E. Karasik e-mails re implementation
               motion and appellate standing, call R. Charles and add E.
               Karasik re same

02-02-2007     S. Freeman                                                         0.3            153.00
               Read G. Berman e-mail re DTDF discovery and attachment,
               second e-mail re same, and send response (.2); read E. Karasik
               e-mail re appeal, G. Gordon e-mail re Standard Property, e-
               mails form committees re motion to liquidate claims and
               approval to expedite (.1)

02-02-2007     R. Charles                                                         0.1                38.50
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               Read memo from Ms. E. Monson on production of USAIP
               documents to Reale

02-02-2007     M. Schoenike                                                        0.4                72.00
               Review e-mails re Binford Medical adversary, calendar status
               hearing and settlement conference (.2); review e-mails and
               respond to Mr. R. Charles re district court appeal (.2)

02-04-2007     R. Charles                                                          0.2                77.00
               Read Arnold and Gorts motion to enforce settlement,
               declarations and notice of hearing and draft memo to Ms. A.
               Jarvis on same (.2)

02-05-2007     S. Freeman                                                          0.4            204.00
               Read T. Burr e-mail re Standard Property, R. Charles e-mail to
               K. Breen re WULA stay issue (.1); read M. Levinson, E.
               Monson e-mails re HMA sales and review motion to dismiss
               that complaint and e-mail ideas to R. Charles for discussion of
               response (.2); read E. Monson e-mail re HMA litigation and
               call R. Charles to discuss (.1)

02-07-2007     M. Schoenike                                                        0.2                36.00
               Review order Scheduling Settlement Conference, calendar
               settlement conference deadlines and status hearing

02-09-2007     S. Freeman                                                          0.3            153.00
               Read e-mails from G. Berman, C. Harwick and M. Levinson re
               Compass agreement, draft motions to dismiss appeals (.1); read
               R. Charles letter re servicing fees and USAIP opposition to
               dismissal of appeal and R. Charles e-mail re same (.1); read J.
               Herman e-mails re HMA litigation, R. Charles and G. Berman
               e-mails re same (.1)

02-09-2007     R. Charles                                                          0.1                38.50
               Work on HMA Sales discovery issues

02-12-2007     S. Freeman                                                          4.2          2,142.00
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               Read A. Loraditch e-mail re settlement conference and
               telephone from M. Levinson re same (.1); telephone to G.
               Berman re availability concern on specified date (.2); e-mail to
               A. Loraditch re same, respond to R. Charles e-mail re same
               (.1); read e-mail from R. Charles re settlement conference dates
               and e-mail from A. Loraditch re court clerk explanation (.1);
               read draft allocation brief, and work on revisions (1.1);
               telephone to R. Charles re issues and potential evidence (.1);
               further revise draft allocation brief and draft T. Burr
               declaration, checking documents for additional references
               (2.3); e-mails to R. Charles and T. Burr re same (.1); read J.
               Herman e-mail re appeal issue (.1)

02-13-2007     S. Freeman                                                          0.2            102.00
               Read litigation memos from E. Madden (.1); read E. Monson
               letter to R. Walker re subpoena and G. Berman and E. Madden
               e-mails re document index issues (.1)

02-13-2007     S. Freeman                                                          0.2            102.00
               Read T. Burr and R. Charles e-mails re allocation response, and
               read response as filed and Burr declaration

02-13-2007     M. Schoenike                                                        0.1                18.00
               Review Mr. E. Madden inquiry re rescheduling of status
               conference

02-16-2007     M. Schoenike                                                        0.6            108.00
               Draft joinder in Debtor's opposition to motion to enforce order
               approving settlement and for reasonable attorneys fees ,
               alternatively for order of contempt upon USACMC (.4); e-mail
               to Mr. Rob Charles for review (.1); review docket, obtain
               debtor's service list, e-mail to Mr. Rob Charles re service (.1)

02-19-2007     S. Freeman                                                          0.1                51.00
               Read e-mail from D. Stacy and draft re settlement conference
               (.1); read R. Charles and L. Lackland e-mails re taint team and
               respond

02-20-2007     S. Freeman                                                          0.2            102.00
               Read draft settlement proposal to Reale and respond to R.
               Charles e-mail re same; read his reply

02-20-2007     S. Freeman                                                          0.2            102.00
               Telephone from L. Lackland re taint team review
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02-20-2007     L. Lackland                                                         0.2                61.00
               Read and respond to e-mails from Mr. R. Charles and
               telephone conference with Ms. S. Freeman re document review
               for privilege (.1) review portions of review protocol (.1)

02-21-2007     S. Freeman                                                          0.9            459.00
               Read E. Madden inquiry re protective order issue, and review
               final order and prior e-mails and prepare response re same (.4);
               respond to e-mail from E. Madden re protective order and
               respond to e-mail from T. Burr re Compass escrows (.1); read
               his reply and respond to e-mail from G. Berman re trust inquiry
               and read further responses from E. Madden and A. Diamond
               (.2); locate information for L. Lackland re taint team review
               and forward to her and request information (.2)

02-21-2007     S. Freeman                                                          0.7            357.00
               Per information from L. Lackland, prepare and e-mail to
               debtors and send DTDF re taint team review procedures (.2);
               read and respond to M. Levinson e-mail re 1142 order language
               (.1); read and revise draft settlement filing for court re HMA
               settlement conference (.3); read and respond to e-mails from E.
               Madden, R. Charles, G. Berman, A. Diamond re Website
               document issue (.1)

02-21-2007     S. Freeman                                                          0.7            357.00
               Read E. Monson comments on settlement filing and C. Larsen
               draft filing (.1); follow up e-mail to debtors and DTDF re taint
               team, read response from E. Monson (.1); read response from
               M. Levinson re taint team and forward to L. Lackland to
               confirm dates (.1); read and respond to E. Madden e-mail re
               taint team and M. Levinson response re 1142 motion (.1);
               review draft outline for answering brief and send comments
               and suggestions to A. Parlan re same (.3)

02-21-2007     S. Freeman                                                          0.1                51.00
               Read Reale settlement offer, and DTDF settlement offer

02-22-2007     S. Freeman                                                          0.1                51.00
               Read E. Monson, R. Charles e-mails re settlement conference,
               and Reale response to settlement offer

02-22-2007     S. Freeman                                                          0.6            306.00
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               Review e-mails from L. Lackland, M. Levinson, E. Monson, D.
               Griffith re taint team, and send e-mail to all re taint team
               procedures (.3); read R. Charles response, and read M.
               Levinson e-mail re motion on premises (.1); send e-mail to
               taint team participants re premises issue (.1); read e-mails from
               M. Levinson re same and respond and e-mail to R. Charles re
               same (.1)

02-22-2007     R. Charles                                                           0.9            346.50
               Telephone to Ms. A. Jarvis on status of Haspinov lease (.1);
               read memo from Mr. B. Kotter with draft motion to extend (.1);
               read memo from Mr. M. Levinson and read memo from Ms. S.
               Freeman on motion to extend occupancy (.1); read and respond
               to memo from Ms. S. Smith on Compass use of premises and
               associated cost (.2); draft memo to Mr. Kotter with comments
               on motion (.2); read memo from Mr. J. Hermann and draft
               memo to counsel on motion to extend lease (.1); read memo
               from Ms. A. Jarvis and read memo from Ms. J. Chubb on
               scheduling conference in Kehl adversary (.1)

02-22-2007     L. Lackland                                                          0.2                61.00
               Read and respond to e-mails with Ms. S. Freeman and begin
               review of background documents

02-23-2007     S. Freeman                                                           0.2            102.00
               Read D. Griffith e-mail re taint team review dates, and e-mail
               to J. Lackland and J. Houpt and M. Levinson re same (.1); per
               their responses, respond to D. Griffith re timing of review (.1)

02-23-2007     S. Freeman                                                           0.1                51.00
               Read E. Monson and C. Harwick e-mails re protective order
               scope, and respond

02-23-2007     S. Freeman                                                           0.2            102.00
               Read M. Levinson e-mail to A. Jarvis re Colt Gateway status,
               A. Jarvis response, further e-mails between them re filing
               motion (.1); read joinder in motion for continued lease access
               (.1)

02-23-2007     S. Freeman                                                           0.7            357.00
               Further work on analysis of stay issues and damages and send
               to P. Hunt (.6); e-mail to G. Berman, A. Diamond, E. Madden
               re same and declaration (.1)

02-23-2007     S. Freeman                                                           0.5            255.00
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               Read draft letter to LPG and JV counsel from P. Hunt and
               respond with suggestion (.2); read responses and suggestions
               for language changes from M. Levinson, J. Herman and
               responses from A. Jarvis and P. Hunt (.1); telephone from A.
               Jarvis and add M. Levinson and G. Garman re strategy on draft
               letter (.2)

02-23-2007     S. Freeman                                                               0.5            255.00
               E-mail to debtors and committees' counsel re call to discuss
               strategy and read responses (.1); participate in call to discuss
               strategy on letter and brief (.4)

02-23-2007     L. Lackland                                                              0.1                30.50
               Read and respond to e-mails pertaining to taint team review

02-23-2007     M. Schoenike                                                             1.8            324.00
               File, docket and serve joinder in opposition to motion to
               enforce order approving settlement and for reasonable attorney
               fees (.2); work on certificate of mailing (.2); review order
               setting expedited hearing on the motion for limited stay
               pending appeal, calendar response and hearing (.2); review
               order scheduling settlement conferences and discovery,
               calendar response/reply deadlines and continued hearing dates
               (.2); review, identification and processing of documents
               received for filing (.4); work on joinder in motion to permit
               debtor to remain on leased premises for limited post-effective
               date period, e-mail to Mr. Rob Charles (.3); file, docket and
               serve joinder (.3)

02-27-2007     S. Freeman                                                               0.4            204.00
               Read and respond to R. Charles re A. Jarvis e-mails on reserve,
               and read and respond to G. Berman e-mail re same (.1); read
               and respond to further e-mails from E. Karasik and G. Berman
               re reserves (.1); respond to D. Griffith e-mail re effective date
               (.1); read e-mail and draft filings from D. Monson re need for
               approval on Colt filing, and respond (.1)

02-27-2007     S. Freeman                                                               0.1                51.00
               Read G. Berman and G. Schwartzer e-mails re USACM v.
               Lowe litigation and R. Charles e-mail re taint team review

02-27-2007     L. Lackland                                                              0.1                30.50
               Read e-mails pertaining to taint team review

02-27-2007     M. Schoenike                                                             0.9            162.00
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               Review e-mail from and respond to Mr. E. Madden re 2004
               examinations (.2); review, edit, upload stipulated order
               vacating and rescheduling the status conference (.3); draft
               Disclosure Statement of Interest parties to appeal (.4)

02-28-2007     M. Schoenike                                                          2.2            396.00
               Review, edit motion for 2004 examination and production of
               documents (.3); , e-mail to Mr. Rob Charles and Mr. E.
               Madden re 2004 motions (.2); review revised disclosure of
               interested parties, file, docket and serve (.3); draft joinder in
               Debtors' Opposition to Motion for Limited Appellants Stay
               Pending Appeal (.3); edit, reformat (nine) 2004 motions, orders
               (1.1)

03-01-2007     M. Schoenike                                                          1.9            342.00
               Draft Notice of Entry of Stipulated Order with Certificate of
               Service (.3); review registered agent service list for 2004
               motions, orders, and respond to Mr. E. Madden re same (.3);
               review revised motions, orders, exhibits, reformat and finalize
               for filing (.6); file 2004 motions, upload orders (.3); work on
               subpoenas for 2004 examination (.3); , e-mail to Mr. Rob
               Charles re service (.1)

03-02-2007     M. Schoenike                                                          0.5                90.00
               Edit Notice of Entry of Stipulated Order and Certificate of
               Service (.2); e-mail same to Mr. Rob Charles for review (.1);
               file, docket and serve Notice of Entry (.2)

03-05-2007     R. Charles                                                            0.2                77.00
               Work with Mr. Madden and Ms. M. Schoenike on Rule 2004
               discovery and input from Judge Riegle

03-05-2007     M. Schoenike                                                          1.3            234.00
               Review e-mails re Compass and Litigation (.1); telephone from
               Judge Riegle's Judicial Assistant re 2004 motions and orders, e-
               mail to Mr. E. Madden and Mr. Rob Charles re same (.3); work
               on revisions (three) 2004 motions, orders (.6); file and docket
               2004 motions, upload orders (.3)

03-06-2007     S. Freeman                                                            0.2            102.00
               Read G. Berman e-mail re privilege issue and interviews and
               respond to A. Jarvis re same (.1); read A. Jarvis response re
               privilege and interviews and G. Berman e-mail re same, and
               send reply (.1)
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03-06-2007     S. Freeman                                                           1.3            663.00
               E-mail re IP dismissal order re check transcript, and respond
               (.2); read A. Jarvis e-mail re privilege issue, check plan
               documents and orders, 1142 motion and order, and respond
               (.5); send e-mail to G. Berman, R. Charles and Diamond
               McCarthy lawyers re privilege issue, analysis and documents
               (.2); discuss privilege and related litigation issues with R.
               Charles (.1); read A. Jarvis e-mail re delay in effective date and
               telephone to G. Berman re privilege issue (.1); draft e-mail to
               A. Jarvis and Mesirow re resolution of privilege issue (.1); read
               revised form of order dismissing IP appeal, and P. Hunt and E.
               Karasik e-mails re same, and send my approval (.1)

03-06-2007     S. Freeman                                                           0.9            459.00
               Study appeal and revise draft order dismissing appeal, and send
               to RQN with explanation (.7); read R. Charles e-mail re HMA
               Sales litigation issue, and call E. Monson (message) re same
               (.1); read R. Charles response to L. Schwartzer e-mail on
               Standard Property (.1)

03-06-2007     S. Freeman                                                           0.2            102.00
               Read draft order dumping stay and send e-mail re approval (.1);
               read L. Schwartzer e-mail and R. Holley letter re discovery,
               and respond re same (.1)

03-06-2007     M. Schoenike                                                         0.6            108.00
               E-mail to Mr. E. Madden and Mr. Rob Charles re exhibit to
               2004 motions (.1); telephone to United States Bankruptcy
               Court re removal of exhibit (.1); e-mail to Mr. E. Madden and
               Mr. Rob Charles re filing amended motions (.1); draft, file,
               docket (three) second amended motions for 2004 examination
               (.3)

03-07-2007     S. Freeman                                                           0.1                51.00
               Respond to e-mails from A. Diamond and E. Madden re
               privilege issues

03-07-2007     S. Freeman                                                           0.1                51.00
               Respond to L. Lackland e-mail re taint team, and forward to
               Diamond McCarthy

03-07-2007     L. Lackland                                                          0.2                61.00
               E-mails and discussions with Ms. F. Freeman and Mr. A.
               Diamond re taint team review
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03-07-2007     M. Schoenike                                                        2.7            486.00
               E-mail to Mr. E. Madden and Mr. Rob Charles re subpoenas
               (.3); draft Stipulated Motion to Extend Deadline to File
               Response/Reply to Objection to Additional Designation of
               Additional Items for Record on Appeal and draft order (1.1);
               work with Mr. E. Madden's office re 2004 motions, orders on
               Bryan Cave, Richard McKnight, Santoro Driggs, and Kummer
               Kaempfer, reformat motions and orders (.8); e-mail to Mr. E.
               Madden's office re Nevada requirements (.2); file, docket (four)
               2004 motions, upload orders (.3);

03-08-2007     S. Freeman                                                          0.7            357.00
               Read e-mails re stay pending appeal from committee and
               debtor professionals and respond (.1); telephone from G.
               Berman re meetings with USACM, effective date and stay
               issues (.3); respond to e-mails from J. Herman, E. Karasik re
               same (.1); send e-mail to P. Hunt, read response and send reply
               re transcript (.1); telephone from R. Charles re stay and re
               debtor disbursement calculations (.1)

03-08-2007     S. Freeman                                                          0.2            102.00
               Read P. Hunt e-mail re Bunch appeal extension, and send e-
               mail to R. Holley re status (.1); read L. Schwartzer e-mails re
               Reale and Gateway Stone MSJs and send e-mail to R. Charles
               re handling (.1)

03-08-2007     S. Freeman                                                          0.1                51.00
               Read and respond to P. Hunt e-mail re effective date notice, R.
               Charles e-mail to E. Madden re MSJ and R. Charles e-mail to
               A. Jarvis re input from Compass (.1)

03-09-2007     S. Freeman                                                          0.2            102.00
               Read M. Tucker, E. Monson, J. McPherson re Reale tax return
               production (.1); read R. Charles e-mail to L. Schwartzer re
               hearing on transfer of Placer (.1)

03-09-2007     S. Freeman                                                          0.1                51.00
               Skim C. Larson draft response to motion and e-mail comment
               back

03-09-2007     L. Lackland                                                         0.6            183.00
               Review stipulated protective order and other documents in
               preparation for privilege document review

03-09-2007     M. Schoenike                                                        0.7            126.00
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                  Obtain, review (seven) Orders Granting 2004 Examinations
                  (.3); e-mail to Mr. E. Madden re service and documents
                  production (.2); assist Ms. M. Mancino re appeal document
                  (.1); respond to Mr. R. Charles re subpoena (.1)

03-12-2007        M. Schoenike                                                       0.8            144.00
                  Follow up with Mr. E. Madden re 2004 subpoenas (.2); review
                  2004 motions, orders re Meier & Fine, LLC and Goold
                  Patterson, et al, and telephone call to Mr. E. Madden re same
                  (.4); assist Mr. E. Madden re telephonic appearance for
                  adversary hearing (.2)

                      TOTAL FOR TASK CODE B190                                     181.9         73,831.00


             B195 NON-WORKING TRAVEL

08-03-2006        R. Charles                                                         2.0            770.00
                  Travel to Phoenix (BILLED AT 50%)

08-03-2006        R. Charles                                                         0.8            308.00
                  Travel to Las Vegas for meetings and hearings (BILLED AT
                  50%)

08-03-2006        R. McKirgan                                                        1.3            552.50
                  Travel to Las Vegas (BILLED AT 50%)

08-04-2006        R. Charles                                                         1.3            500.50
                  Return from Las Vegas (BILLED AT 50%)

08-05-2006        R. Charles                                                         1.3            500.50
                  Travel to LA for meeting (BILLED AT 50%)

08-08-2006        R. Charles                                                         1.6            616.00
                  Travel from Pasadena to Stutman Treister offices and return to
                  Tucson (BILLED AT 50%)

08-15-2006        R. Charles                                                         1.5            577.50
                  Travel to Las Vegas (BILLED AT 50%)

08-17-2006        R. Charles                                                         1.5            577.50
                  Return to Tucson (BILLED AT 50%)

08-31-2006        S. Freeman                                                         2.5          1,275.00
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               Return travel to Phoenix (lengthy airline delays) (BILLED AT
               50%)

09-13-2006     R. Charles                                                            2.2            847.00
               Travel to LV for hearings (2.0); return from Tucson (2.4)
               (BILLED AT 50%)

09-28-2006     S. Freeman                                                            1.0            510.00
               Return trip to Phoenix (BILLED AT 50%)

10-11-2006     R. Charles                                                            2.0            770.00
               Travel to LV for meeting with potential buyer; return from LV
               from meeting with potential buyer (Billed at 50% of standard
               rate)

10-12-2006     R. Charles                                                            1.2            462.00
               Travel to LA to meet on plan at Stutman (Billed at 50% of
               standard rate)

10-13-2006     R. Charles                                                            1.8            693.00
               Return from LAX (Billed at 50% of standard rate)

10-19-2006     R. Charles                                                            1.5            577.50
               Travel to LV for hearings (.7) ; return from LV from hearings
               (2.4) (Billed at 50% of standard rate)

10-25-2006     R. Charles                                                            2.4            924.00
               Travel to LV for continued hearing (1.5); return to Tucson
               (3.2) (Billed at 50% of standard rate)

10-30-2006     R. Charles                                                            2.0            770.00
               Travel to Las Vegas for Oct. 30 hearings (2.0); return to
               Tucson (2.0) (Billed at 50% of standard rate)

11-09-2006     R. Charles                                                            2.8          1,078.00
               Travel to LV for USA Commercial Real Estate Group
               deposition (.8) and return to Tucson after deposition (flight
               delayed) (2.0) (BILLED AT 50%)

11-13-2006     R. Charles                                                            1.6            616.00
               Travel to LV for hearings return to Tucson (BILLED AT 50%)

11-27-2006     S. Freeman                                                            1.0            510.00
               Return trip to Phoenix (BILLED AT 50%)
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12-08-2006     R. Charles                                                           0.7            269.50
               Return from LV from hearing on auction (BILLED AT 50%)

12-12-2006     S. Freeman                                                           1.3            663.00
               Travel to Las Vegas (flight delays) (BILLED AT 50%)

12-12-2006     S. Freeman                                                           0.8            408.00
               Return travel to Phoenix (BILLED AT 50%)

12-12-2006     R. Charles                                                           1.5            577.50
               Travel to LV for Diversified settlement conference (1.1); return
               from settlement conference (1.9) (BILLED AT 50%)

12-18-2006     R. Charles                                                           0.5            192.50
               Travel to LV for confirmation hearing (BILLED AT 50%)

12-18-2006     J. Hinderaker                                                        2.2            748.00
               Return to Tucson from 2004 Examination in Las Vegas
               (BILLED AT 50%)

12-18-2006     J. Hinderaker                                                        1.1            374.00
               Prepare for, travel to and attend 2004 Examination of Ms. V.
               Loob (BILLED AT 50%)

12-20-2006     R. Charles                                                           1.2            462.00
               Return to Tucson after confirmation hearing (BILLED AT
               50%)

12-27-2006     R. Charles                                                           0.7                0.00
               Travel for meeting with Mr. G. Berman (NO CHARGE)

01-02-2007     R. Charles                                                           0.7            269.50
               Travel to Las Vegas for hearings and meeting of committee
               (BILLED AT 50%)

01-04-2007     R. Charles                                                           1.1            423.50
               Return to Tucson from meeting with Trust Oversight
               Committee and the Trustee (BILLED AT 50%)

01-11-2007     S. Freeman                                                           1.5            765.00
               Return trip to Phoenix from meeting to interview and choose
               trust litigation counsel (BILLED AT 50%)
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01-17-2007     S. Freeman                                                           1.1            561.00
               Return trip to Phoenix from hearings (BILLED AT 50%)

01-17-2007     S. Freeman                                                           1.3            663.00
               Travel to Las Vegas and to court for hearing (BILLED AT
               50%)

01-30-2007     S. Freeman                                                           1.2            612.00
               Travel to Las Vegas for meetings with Debtors and trustee on
               transition issues, and hearings (BILLED AT 50%)

01-31-2007     S. Freeman                                                           2.8          1,428.00
               Return to Phoenix (airport delays) (BILLED AT 50%)

02-07-2007     R. Charles                                                           2.7          1,039.50
               Travel to LV for district court hearing on motion to dismiss
               appeal (1.6); return to Tucson (flight delayed) (2.1) (BILLED
               AT 50%)

02-09-2007     R. Charles                                                           1.9            731.50
               Travel to LV for district court hearing on emergency motion to
               dismiss USAIP appeal (motion granted) (1.8); return to Tucson
               from hearing (2.0) (BILLED AT 50%)

02-13-2007     S. Freeman                                                           2.7          1,377.00
               Travel to Las Vegas and return trip to Phoenix from meetings
               in Las Vegas with S. Bice and professionals for debtors and
               committees (travel delays) (BILLED AT 50%)

02-15-2007     S. Freeman                                                           2.5          1,275.00
               Travel to Las Vegas for hearing (airport delay) (2.8); return to
               airport and Phoenix (2.2) (BILLED AT 50%)

02-19-2007     R. Charles                                                           0.3            115.50
               Travel to LV for meetings with USACM Trustee, DTDF
               Committee, and Debtors (BILLED AT 50%)

02-20-2007     R. Charles                                                           0.9            346.50
               Return from Las Vegas meetings with DTDF, Debtors, Mr. G.
               Berman and DSI, and Mr. E. Madden and Diamond McCarthy
               on transition issues (BILLED AT 50%)

02-26-2007     R. Charles                                                           1.4            539.00
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                  Travel to Las Vegas for Reale settlement conference (.9);
                  return to Tucson (1.9) (BILLED AT 50%)

03-01-2007        S. Freeman                                                           1.8            918.00
                  Return to Phoenix (flight delay) (BILLED AT 50%)

03-01-2007        R. Charles                                                           1.5            577.50
                  Travel to LV for hearings on sect. 1142 motion, lease
                  extension, stay pending appeal, and allocation motion (1.0);
                  return from LV after hearings (2.0) (BILLED AT 50%)

03-07-2007        R. Charles                                                           0.6            231.00
                  Travel to Las Vegas for witness and trustee meetings (BILLED
                  AT 50%)

03-08-2007        R. Charles                                                           0.6            231.00
                  Return from meetings with Mr. G. Berman, Mr. M. Sorenson,
                  Diamond McCarthy and investigators (BILLED AT 50%)

                      TOTAL FOR TASK CODE B195                                        69.9         29,233.00


             B210 BUSINESS OPERATIONS

08-22-2006        R. Charles                                                           0.2                77.00
                  Skim operating reports for each of the five debtors, particularly
                  USACM, for July, particularly as to loan collections, accruing
                  payables, and operating losses (.2)

                      TOTAL FOR TASK CODE B210                                         0.2                77.00


             B220 EMPLOYEE BENEFITS/PENSIONS

09-06-2006        R. Charles                                                           0.1                38.50
                  Read Debtors' motion to approve successor trustee and freeze
                  defined benefit pension plan benefits and note hearing

09-06-2006        R. Charles                                                           0.1                38.50
                  Draft memo to Ms. A. Jarvis on defined benefit pension plan
                  (.1)

09-19-2006        S. Freeman                                                           0.3            153.00
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                  Read T. Burr memo and debtor's memo and analysis on
                  employee retention and e-mail response with my views (.2);
                  read e-mails from T. Burr and P. Reiger re employee benefits
                  issue (.1)

09-19-2006        R. Charles                                                          0.1                38.50
                  Work with Mr. T. Burr and Ms. S. Freeman on response to
                  Mesirow proposal concerning employee retention program (.1)

09-20-2006        S. Freeman                                                          0.1                51.00
                  Read e-mails from T. Burr, others re employee bonus issues

09-21-2006        S. Freeman                                                          0.1                51.00
                  Read T. Burr/S. Smith e-mail re employee benefits issues

10-03-2006        S. Freeman                                                          0.2            102.00
                  Review analysis of proposed employee retention plan and
                  committee e-mails re same, and note concerns

10-20-2006        S. Freeman                                                          0.2            102.00
                  Read draft reply memo on retention of employees motion and
                  e-mail my comments to Mr. R. Charles

                      TOTAL FOR TASK CODE B220                                        1.2            574.50


             B230 FINANCING

10-20-2006        M. Schoenike                                                        0.2                36.00
                  Review stipulated order re continued use of cash (.1); e-mail to
                  Mr. Rob Charles re counsel approval, upload order (.1)

10-24-2006        M. Schoenike                                                        0.1                18.00
                  Review Debtor's Fourth Revised Budget

                      TOTAL FOR TASK CODE B230                                        0.3                54.00


             B310 CLAIMS ADMIN/OBJECTIONS

08-02-2006        M. Schoenike                                                        0.3                54.00
                  Review schedules, respond to Dr. Goldworth re scheduled
                  amount of claim

08-17-2006        S. Freeman                                                          0.1                51.00
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               Direct M. Schoenike regarding reconciliation of claims

08-17-2006     M. Schoenike                                                          1.1            198.00
               Begin work on analysis of schedules to claims filed

08-18-2006     M. Schoenike                                                          1.3            234.00
               Continue working on analysis of schedules to claims, including
               obtaining proofs of claims

08-21-2006     M. Schoenike                                                          0.3                54.00
               Review assignment of claims

08-22-2006     M. Schoenike                                                          0.5                90.00
               Continue working on claims analysis

08-24-2006     M. Schoenike                                                          3.3            594.00
               Work on schedule v. claim analysis (1.0); meeting with Ms. M.
               Lilly re problem with Excel document, work on edit and
               reformatting of schedule v. claims analysis (2.3)

08-28-2006     M. Schoenike                                                          3.0            540.00
               Work on claims analysis and reconciliation to claims (2.8), e-
               mail to Ms. S. Freeman and Mr. R. Charles re status (.2)

08-29-2006     M. Schoenike                                                          1.6            288.00
               Meet with Ms. M. Lilly re edits to schedule v claims analysis
               (.4); work on proof of analysis chart (1.2)

08-30-2006     M. Schoenike                                                          3.6            648.00
               Review proofs of claim, identify basis of claim for claims
               analysis

09-01-2006     S. Freeman                                                            0.2            102.00
               Work with Ms. M. Schoenike re claims analysis issues

09-01-2006     M. Schoenike                                                          5.3            954.00
               Continue preparation of analysis of schedules to claims (1.0);
               memo to Ms. S. Freeman re analysis (.4); finalize analysis of
               schedules to claims (3.9)

09-02-2006     R. Charles                                                            0.1                38.50
               Work on bar date order with Mr. L. Schwartzer and Ms. C.
               Carlyon's input
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09-05-2006     S. Freeman                                                          0.2            102.00
               Review draft order re proof of claim bar date (.1); e-mail
               response re date correction (.1)

09-05-2006     R. Charles                                                          0.1                38.50
               Work on order for claims bar date

09-08-2006     S. Brown                                                            0.6            192.00
               Work on various responses re claims inquiries

09-11-2006     R. Charles                                                          0.2                77.00
               Work on notices and forms for claims for various types of
               claims in the three main cases

09-11-2006     S. Brown                                                            0.4            128.00
               Work on responses to claims inquiries

09-12-2006     S. Freeman                                                          0.2            102.00
               Review debtor proof of claim and interest forms and notices

09-22-2006     S. Brown                                                            0.2                64.00
               Respond to e-mails and telephone calls re investor inquiries re
               status of claims

09-26-2006     S. Brown                                                            0.3                96.00
               Review and respond to correspondence from unsecured
               creditor re filing proof of claim

09-29-2006     S. Brown                                                            0.3                96.00
               Review proof of claim forms

10-02-2006     S. Brown                                                            0.1                32.00
               Review various correspondence re claims inquiries

10-03-2006     S. Brown                                                            0.3                96.00
               Address committee inquiry issues (.1); continue analysis of
               proof of claim process (.2)

10-05-2006     R. Charles                                                          0.4            154.00
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               Read letter from Mr. N. Pereos on the Standard Property
               Development stay relief motion and litigation (.1); draft letter
               to Ms. A. Jarvis on his assertions as to direct lender claims
               arising out of the litigation (.1); read Highland Funds response
               on claims objections, skim exhibits re potential claims against
               USACM (.2)

10-06-2006     S. Brown                                                             0.1                32.00
               Review and respond to investor inquiries about status of claims
               and distributions

10-09-2006     S. Freeman                                                           0.1                51.00
               Read and respond to E. Karasik and M. Levinson e-mails re
               inter-company claim

10-09-2006     S. Brown                                                             1.2            384.00
               Review and respond to creditor inquiries

10-10-2006     S. Freeman                                                           0.3            153.00
               Review and revise draft response to inter-company claims
               motion, and e-mail to Mr. R. Charles re same

10-10-2006     S. Freeman                                                           0.2            102.00
               Telephone from H. Allison, unsecured creditor re proof of
               claim question

10-10-2006     S. Freeman                                                           0.4            204.00
               Call with M. Levinson and E. Karasik re inter-company claims

10-13-2006     R. Charles                                                           0.1                38.50
               Work with Ms. M. Schoenike on claims analysis

10-16-2006     R. Charles                                                           0.3            115.50
               Work with Mr. T. Burr on analysis of Diversified claim to IP
               note, collateral and related negotiation issues (.3)

10-16-2006     M. Schoenike                                                         1.2            216.00
               Proof analysis (.4); memorandum to Mr. C. Jordan re
               preparation of analysis of schedules to claims (.7); respond re
               task code (.1)

10-17-2006     S. Freeman                                                           0.2            102.00
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               Read e-mail exchange between Mr. R. Charles and committee
               and follow-up with member re unsecured claims and check
               chart

10-17-2006     R. Charles                                                          0.4            154.00
               Work with Mr. D. Walker and read memo from Ms. M.
               Schoenike on claims analysis (.2); telephone call from Mr. B.
               Olson on objection to Highland Capital claims (.2)

10-17-2006     C. Jordan                                                           1.5                82.50
               Review debtor filings to prepare analysis of claims for attorney
               R. Charles

10-18-2006     C. Jordan                                                           2.7            148.50
               Review proof of claims and work with M. Schoenike regarding
               claims analysis for attorney R. Charles

10-18-2006     M. Schoenike                                                        0.2                36.00
               Obtain claims register, e-mail to Mr. D. Walker

10-19-2006     R. Charles                                                          0.4            154.00
               Prepare for hearing on Diversified Fund's objection to Prospect
               High Income Fund claim by rereading motion, declaration,
               Highland response, Diversified Fund's reply and Debtors'
               joinder and analyze similar objection by USACM estate (.4)

10-19-2006     C. Jordan                                                           4.6            253.00
               Review proof of claims and work with M. Schoenike regarding
               claims analysis for attorney R. Charles

10-19-2006     M. Schoenike                                                        2.0            360.00
               Review response re BMC claim register, forward to Mr. C.
               Jordan and work with Mr. Jordan on analysis (.7); work with
               BMC re claims search (.3); continue working with Mr. Jordan
               re schedule/claims spreadsheet (1.0);

10-20-2006     R. Charles                                                          0.2                77.00
               Work on inquiry from Ms. P. Rieger on the Amesbury loan and
               potential lender claims (.2)

10-20-2006     C. Jordan                                                           4.0            220.00
               Review proof of claims and work with M. Schoenike regarding
               claims analysis for attorney R. Charles

10-22-2006     R. Charles                                                          0.1                38.50
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               Draft letter to Ms. C. Cunningham requesting withdrawal of
               Highland Capital proof of claim

10-23-2006     R. Charles                                                          0.3            115.50
               Work on claims filed against USACM, and on the letter to
               Prospect High Income Fund counsel requesting release of $20
               million claim (.2); work with Mr. C. Jordan on questions about
               filed proofs of claim (.1)

10-23-2006     C. Jordan                                                           5.6            308.00
               Review proof of claims and work with M. Schoenike regarding
               claims analysis for attorney R. Charles

10-23-2006     M. Schoenike                                                        0.9            162.00
               Work with Mr. C. Jordan re claims analysis (numerous
               telephone calls)

10-24-2006     R. Charles                                                          0.2                77.00
               Read letter from Ms. C. Cunningham on disallowance of
               Highland Capital claim (.1); work with Mr. J. Hinderaker on
               Diversified claims (.1)

10-24-2006     M. Schoenike                                                        0.7            126.00
               Work with Mr. C. Jordan re claims analysis

10-25-2006     M. Linarez                                                          2.5            137.50
               Work with C. Jordan printing proof of claims for claims
               analysis for attorney R. Charles

10-25-2006     C. Jordan                                                           5.0            275.00
               Review proof of claims and work with M. Schoenike regarding
               claims analysis for attorney R. Charles

10-25-2006     M. Schoenike                                                        0.3                54.00
               Telephone from Mr. C. Jordan re input of schedule F

10-26-2006     M. Linarez                                                          2.5            137.50
               Work with C. Jordan on proof of claims for claims analysis for
               attorney R. Charles

10-26-2006     C. Jordan                                                           5.5            302.50
               Review proof of claims and work with M. Schoenike regarding
               claims analysis for attorney R. Charles
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10-27-2006     C. Jordan                                                         5.5            302.50
               Review proof of claims and work with M. Schoenike regarding
               claims analysis for attorney R. Charles

10-30-2006     C. Jordan                                                         3.5            192.50
               Review proof of claims and work with M. Schoenike regarding
               claims analysis for attorney R. Charles

10-31-2006     R. Charles                                                        0.6            231.00
               Read draft order and correspondence on extending bar date for
               claims; draft memo to Ms. B. Higgins approving same (.2);
               read notice by USA Commercial Real Estate Group, draft letter
               to counsel on same (.2) and draft letter to counsel for witness
               on issues omitted (.2)

10-31-2006     C. Jordan                                                         3.5            192.50
               Review proof of claims and work with M. Schoenike regarding
               claims analysis for attorney R. Charles

11-01-2006     R. Charles                                                        0.1                38.50
               Read memo from Mr. J. Herman on 10-90 note (.1)

11-01-2006     M. Linarez                                                        2.5            137.50
               Work with C. Jordan printing proof of claims for claims
               analysis for attorney R. Charles

11-01-2006     C. Jordan                                                         4.5            247.50
               Analyze proofs of claim and interest

11-02-2006     R. Charles                                                        0.1                38.50
               Read memo from Mr. C. Harvick with 10-90 note and
               amendment (.1)

11-02-2006     C. Jordan                                                         4.5            247.50
               Analyze proofs of claim and interest

11-02-2006     K. Francis                                                        2.3            126.50
               Analyze proofs of claim and interest

11-03-2006     R. Charles                                                        0.2                77.00
               Read memo from Ms. A. Hansen on USA Real Estate
               documents and forward to Debtors and Committees for
               discussion (.2)
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11-03-2006     C. Jordan                                                            5.5            302.50
               Analyze proofs of claim and interest

11-03-2006     K. Francis                                                           1.0                55.00
               Analyze proofs of claim and interest

11-05-2006     R. Charles                                                           0.2                77.00
               Read memo from Ms. A. Hansen on scheduling and read memo
               from Ms. Hansen with additional documents from USA
               Commercial Real Estate Group (.2); work on scheduling
               examination

11-06-2006     R. Charles                                                           0.3            115.50
               Read memo from Ms. S. Smith on reconciling balances (.1);
               read memo from Ms. Smith on the diverted principal and
               prepaid interest amounts (.1); note appeal by Highland Income
               Fund referred to BAP (.1)

11-06-2006     C. Jordan                                                            4.5            247.50
               Analyze proofs of claim and interest

11-07-2006     R. Charles                                                           0.1                38.50
               Read memo from Ms. J. Johnson on lender claims (.1); work
               on claims analysis with Ms. S. Smith (.1)

11-07-2006     C. Jordan                                                            4.0            220.00
               Analyze proofs of claim and interest

11-08-2006     R. Charles                                                           0.4            154.00
               Work with Mr. C. Jordan on claims project (.1); review
               summary of claims (.1) and respond to inquiry on claims
               estimate in the disclosure statement (.1); read reply by USA
               Real Estate Group on motion for disbursement of funds (.1)

11-08-2006     S. Brown                                                             0.9            288.00
               Review and respond to various correspondence re claim and
               distribution inquiries

11-08-2006     C. Jordan                                                            4.5            247.50
               Analyze proofs of claim and interest

11-08-2006     K. Francis                                                           1.5                82.50
               Analyze proofs of claim and interest
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11-08-2006     M. Schoenike                                                          0.3                54.00
               Review updated spreadsheet (.2); respond to Mr. C. Jordan and
               forward to Mr. D. Walker (.1)

11-09-2006     R. Charles                                                            4.1          1,578.50
               Prepare for deposition of representative of USA Commercial
               Real Estate Group in respect of its claims against the estate and
               its motion for disbursement of loan collections (1.2);
               conference with counsel and depose representative (Mr. J.
               Milanowski) (2.8); read memo from Ms. S. Carlyon on transfer
               of claims/interests (.1)

11-09-2006     C. Jordan                                                             3.7            203.50
               Analyze proofs of claim and interest

11-10-2006     S. Brown                                                              1.1            352.00
               Work on website issues (.6); review and respond to creditor
               inquiries (.5)

11-10-2006     C. Jordan                                                             5.0            275.00
               Analyze proofs of claim and interest

11-10-2006     M. Schoenike                                                          0.2                36.00
               Telephone from Mr. C. Jordan re spreadsheet

11-13-2006     C. Jordan                                                             5.5            302.50
               Analyze proofs of claim and interest

11-13-2006     K. Francis                                                            4.5            247.50
               Analyze proofs of claim and interest

11-14-2006     R. Charles                                                            0.1                38.50
               Return call to the bankruptcy court on Diversified settlement
               conference (.1)

11-14-2006     M. Linarez                                                            3.0            165.00
               Analyze proofs of claim and interest

11-14-2006     C. Jordan                                                             3.1            170.50
               Analyze proofs of claim and interest

11-14-2006     K. Francis                                                            0.3                16.50
               Analyze proofs of claim and interest
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11-15-2006     R. Charles                                                           0.3            115.50
               Read memo from Mr. M. Levinson on settlement conference
               (.1) and draft memo to committee on Diversified settlement
               conference possibility (.1); draft letter to Ms. A. Jarvis and Ms.
               E. Karasik on information needed to evaluate lender claims (.1)

11-15-2006     M. Linarez                                                           2.0            110.00
               Analyze proofs of claim and interest

11-15-2006     C. Jordan                                                            4.5            247.50
               Analyze proofs of claim and interest

11-15-2006     K. Francis                                                           1.1                60.50
               Analyze proofs of claim and interest

11-16-2006     M. Linarez                                                           1.5                82.50
               Analyze proofs of claim and interest

11-16-2006     C. Jordan                                                            4.3            236.50
               Analyze proofs of claim and interest

11-17-2006     R. Charles                                                           0.1                38.50
               Work with Mr. M. Levinson and Ms. A. Loraditch on
               Diversified settlement conference (.1)

11-17-2006     C. Jordan                                                            4.5            247.50
               Analyze proofs of claim and interest

11-19-2006     R. Charles                                                           0.1                38.50
               Work on Binford claim issues

11-20-2006     R. Charles                                                           0.3            115.50
               Work on Rule 2004 discovery for Reale (.1); read memo from
               Mr. D. Walker and review summary of claims scheduled and
               filed (.2)

11-20-2006     C. Jordan                                                            6.1            335.50
               Analyze proofs of claim and interest

11-20-2006     K. Francis                                                           4.6            253.00
               Analyze proofs of claim and interest

11-20-2006     M. Schoenike                                                         0.8            144.00
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               E-mail updated claims v. schedules analysis to Mr. D. Walker
               (.2); telephone from Ms. C. Jordan re Mesirow request for
               additional data (.3); review and respond to Mr. D. Walker re
               methodology of claims analysis spreadsheet (.2); telephone call
               to Mr. C. Jordan re same (.1)

11-21-2006     R. Charles                                                         0.4            154.00
               Work on ADR agreement (.3); read memo from Mesirow on
               claims analysis (.1)

11-21-2006     M. Schoenike                                                       0.9            162.00
               Obtain, review Mesirow template, and data contained (.8);
               telephone call to Mr. C. Jordan re same (.1);

11-22-2006     R. Charles                                                         0.2                77.00
               Work with Mr. T. Burr on claims analysis (.1); forward claims
               analysis to Mesirow (.1)

11-22-2006     S. Brown                                                           0.2                64.00
               Draft correspondence re creditor inquiry

11-22-2006     C. Jordan                                                          5.5            302.50
               Analyze proofs of claim and interest

11-27-2006     R. Charles                                                         1.3            500.50
               Work with Ms. E. Wooley of Mesirow on claims objection (.1);
               meet with Ms. Wooley, Mr. C. Jordan, Ms. M. Schoenike on
               preparing the data for claims objections (.8); meet with Mr.
               Garman and Ms. B. Higgins, transfer of loan interests and
               related issues (.3)

11-27-2006     C. Jordan                                                          2.5            137.50
               Analyze proof of claim and interest

11-27-2006     M. Schoenike                                                       1.0            180.00
               Respond to Mr. R. Charles re conference call (.1); conference
               call Mr. R. Charles, Mr. C. Jordon, Ms. E. Woosley re omnibus
               objection to claims (.8); respond to Mr. C. Jordan re analysis
               (.1)

11-28-2006     S. Brown                                                           0.1                32.00
               Review and respond to creditor inquiries from website

11-29-2006     R. Charles                                                         0.8            308.00
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               Read order on Diversified settlement conference (.1); work on
               ADR Agreement (.3); work with Mr. M. Levinson on timing
               for settlement offers (.1); work on ADR agreement with input
               from Mr. Garman and reading memo from Ms. A. Jarvis (.2);
               work with Mr. Garman on ADR agreement and respond to Ms.
               Jarvis on same (.1)

11-30-2006     R. Charles                                                           0.1                38.50
               Skim Liberty Bank proof of claim (.1)

12-01-2006     S. Freeman                                                           0.4            204.00
               Review proposed DTDF settlement proposal and T. Burr e-
               mail and discuss with R. Charles (.3); read e-mails from A.
               Jarvis, M. Levinson, R. Charles re claims objection and call
               today to discuss (.1)

12-01-2006     S. Freeman                                                           1.3            663.00
               Calls to all trustee candidates re committee decision (.4); e-
               mails to and from G. Berman re engagement agreement (.1);
               review next draft of trust agreement and H. Taylor and R.
               Charles e-mails re same (.7); read T. Burr and R. Charles e-
               mails re claims issue and send e-mail re tracing concern; read
               reply (.1)

12-02-2006     S. Freeman                                                           0.5            255.00
               Telephone from Mr. M. Levinson re DTDF settlement issues
               (.2); e-mail to him re list of topics (.1); prepare and send
               response to Ms. A. Nounna inquiry re fee process (.2)

12-02-2006     R. Charles                                                           0.1                38.50
               Read memo from Mr. T. Burr to Ms. S. Smith and Mr. C.
               Harvick on Oak Valley accounting (.1); read memo from Ms.
               S. Freeman on same; read DTDF analysis of Oak Valley
               advances (.1)

12-04-2006     S. Freeman                                                           0.6            306.00
               Study supporting documents for DTDF tracing claim (.2);
               discuss documents and impact on settlement letter with Mr. R.
               Charles (.2); work on revisions to settlement letter, and e-mail
               to Mr. R. Charles re same (.2)

12-04-2006     R. Charles                                                           1.1            423.50
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               Work on settlement letter to DTDF (.2); read memo from Mr.
               T. Burr with FTI information on Oak Mesa and work on
               settlement letter (.2); work with Mr. D. Walker on Marquis
               Hotel and Diversified (.1); read memo from Ms. S. Smith and
               Mr. T. Burr on Diversified inquiry (.1); telephone call from Mr.
               S. Ostrow for Liberty Bank on information requested (.1); read
               memo from Ms. P. Rieger on and draft memo to Ms. Jarvis on
               claims objections (.2); work on Diversified settlement letter
               (.2)

12-04-2006     S. Brown                                                           0.1                32.00
               Review and respond to various correspondence re claim and
               plan inquiries

12-06-2006     S. Freeman                                                         0.3            153.00
               Read DTDF tracing documentation from Hawick and T. Burr

12-06-2006     S. Freeman                                                         0.1                51.00
               E-mail to DTDF re Royal Hotel and Oak Valley tracing
               evidence

12-06-2006     R. Charles                                                         4.8          1,848.00
               Work on settlement letter on DTDF Committee disputes (2.1);
               continue work on letter and supporting information (1.1);
               review order re settlement conference (.1); conference with Mr.
               M. Levinson (.1); extensively revise the confidential
               Diversified settlement conference statement (1.4)

12-07-2006     S. Freeman                                                         0.2            102.00
               Read draft settlement conference memorandum and e-mail to
               Mr. R. Charles re same (.1); read C. Hainsworth comments on
               draft (.1)

12-07-2006     R. Charles                                                         0.3            115.50
               Continue work on letter to Judge Glover and confidential
               settlement conference statement (.3); read memo from Mr. D.
               Walker on same

12-07-2006     S. Brown                                                           0.3                96.00
               Review and respond to various correspondence re creditor
               inquiries re claims

12-08-2006     S. Brown                                                           0.1                32.00
               Review and respond to various creditor correspondence
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12-09-2006     S. Freeman                                                          0.1                51.00
               Read Mr. R. Charles, G. Garman, Ms. A. Jarvis e-mails re
               objection to D. Bunch unsecured claim

12-09-2006     R. Charles                                                          0.3            115.50
               Read Del Bunch proof of claim (.1); research transfers and
               draft memo to committees on issues (.2)

12-11-2006     S. Freeman                                                          0.2            102.00
               Review ballot report and telephone to Mr. R. Charles re
               handling of claims objections

12-11-2006     R. Charles                                                          0.5            192.50
               Skim draft objection to Standard Property claim (.1); read
               memo from Ms. S. Smith and Del Bunch schedule (.1); read
               objections to Del Bunch (.1); two borrowers (.1) and Nevada
               litigants' claims (.1) ; read memo from Mr. G. Berman and
               skim Lehman opinion re Diversified issues (.1)

12-11-2006     S. Brown                                                            0.3                96.00
               Review committee website re inquiries

12-11-2006     M. Schoenike                                                        0.4                72.00
               Work on service of Supplemental Plan Disclosures

12-12-2006     R. Charles                                                          6.9          2,656.50
               Prepare for settlement conference on Diversified claim (1.2);
               participate in mediation of Diversified claims and issues with
               Judge Glover, Ms. S. Freeman, Mr. D. Walker, Mr. C.
               Hainsworth, Mr. T. Burr and Diversified representatives (4.7)

12-12-2006     S. Brown                                                            0.2                64.00
               Review and respond to correspondence re creditor inquiry

12-13-2006     R. Charles                                                          0.1                38.50
               Read notices of hearing on several claims objections

12-13-2006     S. Brown                                                            0.4            128.00
               Draft summary of secured versus unsecured claims

12-14-2006     S. Brown                                                            0.2                64.00
               Continue drafting response re secured/unsecured questions

12-15-2006     S. Brown                                                            0.2                64.00
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               Work on creditor inquiries

12-18-2006     R. Charles                                                         0.7            269.50
               Read Walch complaint, exhibits and summons (.4); read Kehl
               complaint (.3)

12-18-2006     S. Brown                                                           0.1                32.00
               Work on response re creditor inquiry

12-19-2006     S. Freeman                                                         0.1                51.00
               Read two e-mail reports on D. Bunek 2004

12-20-2006     R. Charles                                                         0.2                77.00
               Read memo from Mr. L. Schwartzer and opposition to motion
               to estimate Bunch claim (.1); read memo from Mr. L.
               Schwartzer on Bunch deposition (.1)

12-26-2006     S. Brown                                                           0.2                64.00
               Review and respond to creditor inquiries

12-27-2006     R. Charles                                                         0.1                38.50
               Forward Walch complaint and exhibits to Mr. G. Berman re
               servicing fee dispute (.1)

12-29-2006     R. Charles                                                         0.1                38.50
               Work with Ms. S. Freeman on the Bunch objection to claim

01-02-2007     R. Charles                                                         0.3            115.50
               Read declaration of Ms. S. Smith on Bunch claim (.1); read
               Bunch supplemental response and supplemental declaration
               (.1); read Debtors' supplemental response on motion for
               temporary allowance of Bunch claim (.1)

01-03-2007     R. Charles                                                         2.2            847.00
               Work with Mr. S. Strong on Kehl complaint and claims
               objection (.1); attend hearings on omnibus objections to claims
               by Debtors and the Diversified equity committee (.8); attend
               continued hearing on objection to Del Bunch claim and motion
               to estimate the Bunch claim for voting purposes (1.0); read
               memo from Mr. S. Strong on answer to the Walch complaint
               (.1); work with Ms. C. Carlyon on USA Commercial Real
               Estate (.1); work on Standard Property settlement outlined by
               Mr. T. Allison (.2)
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01-04-2007     R. Charles                                                          0.5            192.50
               Read memo from Mr. S. Strong on procedure for dealing with
               the Kehl complaint and claim objection (.1); read memo from
               Mr. L. Schwartzer on Standard Property settlement proposal
               (.1) and respond (.1); calls to Mr. T. Burr (.1) and Mr.
               Schwartzer on the Standard Property issue (.1); read memo
               from Ms. J. Chubb and Mr. Strong on Kehl

01-06-2007     R. Charles                                                          0.6            231.00
               Review Walch adversary and draft stipulated order on
               scheduling conference continuance (.1); draft letter to Mr. S.
               Strong and Mr. G. Walch (.1); review Kehl adversary and draft
               stipulated order on scheduling conference continuance (.1);
               draft letter to Mr. Strong and Ms. J. Chubb (.1); discuss
               proposed Standard Property settlement and another sale issue
               with Ms. Karasik (.2); respond to inquiry from Ms. Karasik on
               Standard Property fee issue (.1)

01-07-2007     R. Charles                                                          0.1                38.50
               Work with Mr. S. Cummings on pending adversary
               proceedings and claim objections (.1)

01-09-2007     R. Charles                                                          0.2                77.00
               Work on Standard Property claim materials after discussions
               with Ms. E. Karasik (.2); identify materials and issues for
               Standard Property claims analysis and work with Mr. J.
               Hinderaker on same (.5) (NC)

01-09-2007     J. Hinderaker                                                       0.4            136.00
               Meeting with Mr. R. Charles to discuss new matter involving
               Standard Property (.4)

01-09-2007     E. Simpson                                                          3.1            914.50
               Confer with Mr. R. Charles re factual background of
               bankruptcy case (.5); review adversary proceeding documents
               related to Gateway Stone Associates, LLC (1.5); review and
               analyze underlying agreement between Gateway and USA
               Commercial Mortgage (.6); review promissory note (.5)

01-10-2007     S. Freeman                                                          0.1                51.00
               Read and respond to Mr. R. Charles e-mails re claims
               objections and RQN meeting and follow-up response and reply

01-10-2007     R. Charles                                                          2.4            924.00
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               Draft memo to Ms. A. Jarvis on claims issues following up our
               Tuesday call (.2); draft memo to Ms. Jarvis on BMC (.1); read
               memo from Ms. S. Freeman on claims litigation (.1); draft
               memo to Mr. J. Belanger on Del Bunch claim and potential
               objections and locate pleadings, declarations and Rule 2004
               transcript for investigation of the objections (.4); work with
               Ms. Jarvis on Standard Property proposal (.1); work with Ms.
               S. Freeman on claims objections (.1); read memo from Mr. S.
               Strong on stipulation (.1); read memo from Mr. G. Walch on
               stipulation, and work with Mr. Walch on claim and its
               resolution (.3) and revise and circulate stipulation on Walch
               complaint (.1); read memo from and return call to Ms. Karasik
               on Standard Property (.1); read memo from Mr. S. Cummings
               and draft objection to Callister & Reynolds administrative
               claim (.2); skim BMC billings and Mr. Burr's summary for
               objections and draft memo to Mr. Burr on expenses (.2);
               analyze original motion to employ and amended employment
               order (.1); work on Kehl stipulation with input from Mr. Strong
               and Ms. J. Chubb and circulate revision (.2)

01-11-2007     R. Charles                                                           1.0            385.00
               Work with Mr. S. Strong and Mr. T. Burr on BMC billings
               (.1); read memo from Ms. J. Chubb, read memo from Mr. S.
               Strong (.1) and finalize and recirculate Kehl stipulation (.1);
               read memo from Mr. G. Walch (.1) and finalize and recirculate
               Walch stipulated order (.1); note Debtors' objection to Callister
               administrative expense and finalize joinder (.1); note order
               allowing Copper Canyon claim for voting purposes (.1); work
               with Ms. Chubb on ADR agreement and servicing fee dispute
               (.2); read memo from Jones Vargas on ADR procedure (.1);
               draft memo to Mr. G. Berman on issue of servicing fees and
               ADR agreement (.2); draft memo to Ms. A. Jarvis on objection
               to Weddell/Spectrum claim (.1); work with Mr. Burr on LSA
               disputes (.1)

01-12-2007     S. Freeman                                                           0.1                51.00
               Read Mr. R. Charles and Mr. A. Jarvis e-mails re Standard
               Property and Weddell

01-12-2007     R. Charles                                                           1.0            385.00
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               Read memo from Ms. E. Monson and read memo from Mr. L.
               Schwartzer on Rolland Weddell claims (.1); note filing of
               Weddell supplemental declaration (.1); work with Ms. S.
               Freeman on USA Realty after reading memos from Ms. A.
               Jarvis and Ms. C. Carlyon (.1); read memo from Mr. T. Burr
               with breakdown of BMC expenses (.1); work with Mr. G.
               Berman on ADR issues (.5); read memo from Ms. Freeman and
               propose rescheduled meeting (.1); read memo from Mr. M.
               Yoder on IT transition issues (.1); read memo from Ms. S.
               Smith on BMC travel (.1); read memo from Mr. S. Cummings
               on pending adversaries and claim objections (.1)

01-12-2007     E. Simpson                                                        0.8            236.00
               Review pleadings related to Spectrum Financial claim

01-13-2007     J. Hinderaker                                                     1.3            442.00
               Review and analyze documents related to adversary
               proceedings Standard Property Development

01-14-2007     E. Simpson                                                        4.6          1,357.00
               Review and analyze claims and counterclaims in Fourth
               Amended Complaint filed by Mr. R. Weddell and Spectrum
               Financial (3.0); work on memorandum summarizing analysis
               (1.6)

01-15-2007     J. Hinderaker                                                     2.3            782.00
               Telephone with Mr. L. Schwartzer regarding 2004
               examinations in Las Vegas and what is expected to happen (.4);
               analyze whether to attend 2004 examinations in Las Vegas (.3);
               work on review and analysis of SPD's claim (1.6)

01-15-2007     E. Simpson                                                        7.2          2,124.00
               Review and analyze claims in Fourth Amended Complaint;
               work on memorandum re review and analysis of claims; legal
               research re statutory claims

01-16-2007     S. Freeman                                                        0.1                51.00
               Read A. Schwartzer supplemental brief on objection to Bunch
               claim and send him e-mail with requested change

01-16-2007     J. Hinderaker                                                     2.4            816.00
               Work on review and analysis of SPD's claims

01-16-2007     E. Simpson                                                       11.6          3,422.00
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               Work on memorandum concerning Weddell/Spectrum claims
               (3.0); review pleadings and related claim documents re Binford
               Medical Developers, LLC claims in adversary proceeding
               (2.0); work on memorandum outlining Binford adversary
               proceeding (2.1); review pleadings related to Gateway Stone
               Associates' claim and USACM's adversary proceeding against
               Gateway (4.5)

01-17-2007     J. Hinderaker                                                      0.9            306.00
               Work on memorandum summarizing claim by Standard
               Property Development

01-17-2007     E. Simpson                                                         2.5            737.50
               Analyze pleadings in adversary proceedings and claims in
               USACM bankruptcy proceedings related to Gateway Stone
               Associates, Binford Medical Developers, and
               Weddell/Spectrum Group Financial

01-18-2007     S. Freeman                                                         0.1                51.00
               Read proposed order re Bunch objection hearing and respond
               to L. Dorsey re concerns

01-18-2007     S. Freeman                                                         0.1                51.00
               Read R. Halley e-mail re alternative language for Bunch order,
               and respond re same

01-18-2007     S. Freeman                                                         0.4            204.00
               Read form of order re continued hearing on Bunch claim
               objection, mark proposed changes (.2); e-mail to R. Halley and
               L. Dorsey with explanation (.2)

01-18-2007     S. Freeman                                                         0.3            153.00
               Read J. Hollay response re Bunch objection order, further
               revise order and respond to him and to L. Dorsey re same and
               response to his issues

01-18-2007     R. Charles                                                         0.1                38.50
               Read memo from Mr. R. Holley on discovery concerning the
               objection to the Bunch claim

01-18-2007     J. Hinderaker                                                      3.7          1,258.00
               Work on analysis of Standard Property Development's claim
               against USACM and the Direct Lenders

01-18-2007     E. Simpson                                                         0.9            265.50
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               Work on memorandum outlining Weddell/Spectrum Group
               complaint; review filings in Gateway Stone Associates
               adversary action

01-19-2007     S. Freeman                                                            0.2            102.00
               Read L. Schwartzer e-mail re Bunch claim order and form of
               order, and R. Holly e-mails re same (.1); sign and send form to
               order to Schwartzer and Holly with e-mail re lodging priority
               (.1)

01-19-2007     S. Freeman                                                            0.1                51.00
               Read e-mail from L. Dorsey re lodged order on Bunch claim
               objections

01-19-2007     E. Simpson                                                            6.3          1,858.50
               Review and analyze pleadings in Binford Medical Developers;
               revise memorandum; review loan servicing agreement with
               direct lenders; review pleadings related to Gateway Stone
               Associates' proof of claim

01-21-2007     J. Hinderaker                                                         2.5            850.00
               Work on analysis and summary of claims by SPD

01-21-2007     E. Simpson                                                            6.1          1,799.50
               Work on analysis of claims and legal arguments in Gateway
               Stone Associates' adversary action and related to Gateway's
               proof of claim

01-22-2007     A. Vigil                                                              1.9            494.00
               Prepare for, travel to, and attend hearing on motion to quash
               stay pending appeal

01-23-2007     S. Freeman                                                            0.1                51.00
               Read C. Dorsey and R. Halley's emails regarding change of
               Brunch hearing date and respond (.1)

01-23-2007     S. Brown                                                              0.2                64.00
               Work on response re website inquiry from creditors

01-23-2007     E. Simpson                                                            1.1            324.50
               Work on memorandums concerning Binford Medical
               Developers and Gateway Stone Associates adversary actions

01-24-2007     E. Simpson                                                            0.5            147.50
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               Work on memorandum re Gateway Stone Associates' claim
               and adversary action by USACM

01-25-2007     R. Charles                                                           0.2                77.00
               Read memo from Ms. L. Dorsey and read Bunch request for
               production; draft memo to Ms. A. Jarvis on same (.1); read
               memo from Mr. L. Schwartzer on discovery; read memo from
               Ms. S. Smith on tax returns; read memo from Mr. Schwartzer
               on same (.1)

01-25-2007     S. Brown                                                             1.1            352.00
               Respond to creditor inquiry re claims status (.2); follow up on
               deadlines and status of claims objections (.1); review materials
               re Mr. H. Bunch (.8)

01-26-2007     S. Freeman                                                           0.3            153.00
               Discuss handling of claim objection with Mr. S. Brown and
               Mr. J. Belanger (.2); forward several e-mails to them re
               discovery on claim (.1)

01-26-2007     J. Belanger                                                          1.3            500.50
               Initial review of pleadings for preference/ fraudulent transfer/
               equitable subordination claim

01-26-2007     S. Brown                                                             0.4            128.00
               Continue analysis re claims objections re Mr. D. Bunch

01-26-2007     E. Simpson                                                           6.2          1,829.00
               Legal research concerning issues in Binford Medical
               Developers (3.5); work on memorandum analyzing issues (2.7)

01-28-2007     J. Hinderaker                                                        1.1            374.00
               Work on memorandum regarding claims by Standard Property
               Development

01-28-2007     E. Simpson                                                           7.4          2,183.00
               Legal research re claims and defenses available in Binford
               Medical Developers and Gateway Stone Associates (3.2); work
               on memorandum concerning Binford Medical Developers (4.2)

01-29-2007     R. Charles                                                           0.5            192.50
               Note order on Bunch claim objection hearing (.1); read PBGC
               proofs of claim (.2), work with Ms. A. Jarvis on analysis of
               PBGC claims (.1); work with Mr. T. Burr on PBGC claim (.1)
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01-29-2007     J. Belanger                                                         1.9            731.50
               Review documents re objection to claim

01-29-2007     J. Hinderaker                                                       3.1          1,054.00
               Work on memorandum evaluating standard property
               development's claims

01-29-2007     S. Brown                                                            0.1                32.00
               Review correspondence and pleadings re Mr. D. Bunch claim

01-29-2007     E. Simpson                                                          9.9          2,920.50
               Legal research re termination and assumption of agency
               relationship (4.5); work on memorandum concerning legal
               issues in Binford Medical Developers adversary action (5.4)

01-30-2007     R. Charles                                                          0.3            115.50
               Return call to Ms. C. Carlyon on misfiled claims (.1); read
               memo from Ms. C. Carlyon and approve draft order regarding
               the Objection to Compromised Claims (.1); read proposed
               order on claims resolved by the plan (.1); work on Standard
               Property claim objection and adversary status (.1)

01-30-2007     J. Hinderaker                                                       3.8          1,292.00
               Review SCG notice of claim; work on SCG claim analysis;
               review and comment on Binford claim analysis prepared by
               Ms. E. Simpson

01-30-2007     S. Brown                                                            2.8            896.00
               Continue analysis re Mr. D. Bunch claim (1.1); continue
               reviewing pleadings and various discovery documents re same
               (1.7)

01-30-2007     E. Simpson                                                          8.1          2,389.50
               Legal research re principal liability for fraudulent conduct of
               agents (2.8); work on revisions to Binford Medical Developers
               memorandum (3.1); work on Gateway Stone Associates
               memorandum (1.5); legal research re parole evidence rule (.7)

01-31-2007     R. Charles                                                          0.4            154.00
               Work with Mr. J. Hinderaker on objection to Standard Property
               claim (.1); work with Ms. S. Freeman on Callister & Reynolds
               claim (.1); work with Ms. C. Carlyon on order on the FTDF
               Misfiled Claims Objections (.1); work with Ms. M. Schoenike
               on deadline for claims arising from contract rejection (.1); note
               continued hearing on Standard Property claim objection (.1)
